Case: 6:17-cv-00184-REW-HAI Doc #: 108-20 Filed: 02/10/20 Page: 1 of 463 - Page
                                 ID#: 5018



                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                  LONDON DIVISION



The Estate of JESSIE MILLS,              )
                                         )
           Plaintiff,                    )      Case No. 17-CV-184
                                         )
           v.                            )      Hon. ROBERT E. WIER
                                         )
KNOX COUNTY, ET AL.,                     )
                                         )      JURY TRIAL DEMANDED
           Defendants.                   )




                                EXHIBIT 20
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                               NO. 17-cv-84

                 AMANDA HOSKINS, ET AL.
                                      V.

                    KNOX COUNTY, ET AL.


                              DEPONENT:

                           JOHN PICKARD


                                  DATE:

                             March 22, 2018




                                                                        PL 813
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·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· · · · · · ·FOR THE EASTERN DISTRICT OF KENTUCKY
·3· · · · · · · · · · · · ·NO. 17-cv-84
·4· · · · · · · · · · ·HON. DAVID L. BUNNING
·5· · · · · · · · · · ·HON. CANDACE J. SMITH
·6
·7· · · · · · · · · ·AMANDA HOSKINS, ET AL.,
·8· · · · · · · · · · · · · PLAINTIFFS
·9
10· · · · · · · · · · · · · · · V.
11
12· · · · · · · · · · ·KNOX COUNTY, ET AL.,
13· · · · · · · · · · · · · DEFENDANTS
14
15
16
17
18
19
20
21
22
23· ·DEPONENT:· JOHN PICKARD
24· ·DATE:· · · MARCH 22, 2018
25· ·REPORTER:· JESSICA VAN TILBURG




                                                                             PL 814
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·1· · · · · · · · · · · · ·APPEARANCES
·2
·3· ·ON BEHALF OF THE PLAINTIFFS, AMANDA HOSKINS, ET AL.:
·4· ·ELLIOT SLOSAR
·5· ·AMY ROBINSON STAPLES
·6· ·LOEVY & LOEVY
·7· ·311 NORTH ABERDEEN STREET, THIRD FLOOR
·8· ·CHICAGO, ILLINOIS 60607
·9· ·TELEPHONE NO.:· (312) 243-5900
10· ·E-MAIL:· ELLIOT@LOEVY.COM
11
12· ·ON BEHALF OF THE DEFENDANTS, BRIAN JOHNSON, MARK
13· ·MEFFORD, JACKIE JOSEPH, AND DALLAS EUBANKS:
14· ·SHAWNA VIRGIN KINCER
15· ·CODY WEBER
16· ·KENTUCKY STATE POLICE GENERAL COUNSEL
17· ·919 VERSAILLES ROAD
18· ·FRANKFORT, KENTUCKY 40601
19· ·TELEPHONE NO.:· (502) 573-1636
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21
22
23
24
25




                                                                                 PL 815
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·1· · · · · · · · · · ·APPERANCES CONTINUED
·2
·3· ·ON BEHALF OF THE DEFENDANTS, REUBEN YORK AND JASON
·4· ·BUNCH:
·5· ·DERRICK T. WRIGHT
·6· ·STURGILL, TURNER, BARKER & MOLONEY, PLLC
·7· ·333 WEST VINE STREET, SUITE 1500
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10· ·E-MAIL:· DWRIGHT@STURGILLTURNER.COM
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12· ·ON BEHALF OF THE DEFENDANTS, MIKE BROUGHTON AND CITY OF
13· ·BARBOURVILLE:
14· ·LICHA H. FARAH, JR.
15· ·WARD, HOCKER & THORNTON
16· ·333 WEST VINE STREET, SUITE 1100
17· ·LEXINGTON, KENTUCKY 40507
18· ·TELEPHONE NO.:· (859) 422-6000
19· ·E-MAIL:· LFARAH@WHTLAW.COM
20
21
22
23
24
25




                                                                                 PL 816
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·1
·2· · · · · · · · · · ·APPEARANCES CONTINUED
·3
·4· ·ON BEHALF OF THE DEFENDANTS, JOHN PICKARD AND DEREK
·5· ·EUBANKS:
·6· ·JASON WILLIAMS
·7· ·JOHN F. KELLEY
·8· ·WILLIAMS, FARMER & TOWE
·9· ·303 SOUTH MAIN STREET
10· ·LONDON, KENTUCKY 40743
11· ·TELEPHONE NO.:· (606) 877-5291
12· ·E-MAIL:· JOHN@WFTLAW.COM
13
14
15
16
17
18
19
20
21
22
23· ·ALSO PRESENT:· DEREK EUBANKS, DEFENDANT; MIKE BROUGHTON,
24· ·DEFENDANT; AMANDA HOSKINS, PLAINTIFF; LACEE TOWNSEND,
25· ·VIDEOGRAPHER




                                                                                 PL 817
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·1· · · · · · · · · · · · ·STIPULATION
·2
·3
·4· ·THE VIDEOTAPED DEPOSITION OF JOHN PICKARD TAKEN AT THE
·5· ·HOLIDAY INN EXPRESS & SUITES, 506 MINTON DRIVE, LONDON,
·6· ·KENTUCKY 40741 ON THURSDAY, THE 22ND DAY OF MARCH, 2018
·7· ·AT APPROXIMATELY 9:37 A.M.; SAID VIDEOTAPED DEPOSITION
·8· ·WAS TAKEN PURSUANT TO THE FEDERAL RULES OF CIVIL
·9· ·PROCEDURE.
10· ·IT IS AGREED THAT JESSICA VAN TILBURG, BEING A NOTARY
11· ·PUBLIC AND COURT REPORTER FOR THE STATE OF KENTUCKY, MAY
12· ·SWEAR THE WITNESS AND THAT THE READING AND SIGNING OF
13· ·THE COMPLETED TRANSCRIPT BY THE WITNESS IS NOT WAIVED.
14
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                                                                                 PL 820
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI
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·1· · · · · · ·PROCEEDINGS
·2· · · · VIDEOGRAPHER:· My name is Lacee Townsend.· I'm
·3· ·the video technician today.· Jessica Van Tilburg is
·4· ·the court reporter.· Today is the 21st [sic] day of
·5· ·March, 2018.· We are at the Holiday Inn Express
·6· ·located in London, Kentucky to take the deposition
·7· ·of John Pickard in the matter of Amanda Hoskins, et
·8· ·al. v. Knox County, et al., pending in the United
·9· ·States District Court of the Eastern District of
10· ·Kentucky, number 17-cv-84.· Will counsel please
11· ·identify themselves for the record?
12· · · · MS. STAPLES:· Amy Robinson Staples and Elliot
13· ·Slosar for the plaintiffs.
14· · · · MR. WILLIAMS:· Jason Williams, here on behalf
15· ·of Defendant Pickard, Derek Eubanks, and Knox
16· ·County.
17· · · · MR. WRIGHT:· Derrick Wright on behalf of
18· ·Defendants Jason York and Jason Bunch.
19· · · · MS. KINCER:· Shawna Kincer on behalf of
20· ·Defendants Mark Mefford, Dallas Eubanks, Kelly
21· ·Farris, Jackie Joseph, Brian Johnson.
22· · · · MR. FARAH:· Licha Farah on behalf of Mike
23· ·Broughton and the City of Barbourville.
24· · · · VIDEOGRAPHER:· Sir, will you please raise your
25· ·right hand to be sworn in by the reporter?




                                                                               PL 821
                                                                                YVer1f
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·1· · · · · · ·COURT REPORTER:· Do you solemnly swear or
·2· · · · affirm the testimony you're about to give will be
·3· · · · the truth, the whole truth, and nothing but the
·4· · · · truth?
·5· · · · · · ·THE WITNESS:· Yes.
·6· · · · · · ·COURT REPORTER:· Thank you.
·7· · · · · · · · · DIRECT EXAMINATION
·8· ·BY MR. SLOSAR:
·9· · · · Q· · Good morning, Mr. Pickard.
10· · · · A· · Good morning.
11· · · · Q· · I would like to go over some of the rules
12· ·first, before we get started.· Does that sound okay to
13· ·you?
14· · · · A· · That's fine.
15· · · · Q· · Okay.· Have you ever given a deposition
16· ·before?
17· · · · A· · One time.
18· · · · Q· · Okay.· And how long ago was that?
19· · · · A· · It was probably around 2007 or '8.
20· · · · Q· · Was it in a lawsuit?
21· · · · A· · Yes.
22· · · · Q· · Was that -- were you a party to that lawsuit?
23· · · · A· · Yes.
24· · · · Q· · What kind of case was that?
25· · · · A· · It was where two horses got taken by the




                                                                                PL 822
                                                                                 YVer1f
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·1· ·county and I -- I kept the horses where I lived and took
·2· ·care of them.
·3· · · · Q· · And somebody filed a lawsuit about that?
·4· · · · A· · Yeah.· The guy that owned the horses.
·5· · · · Q· · Did that guy used to be a former officer at
·6· ·the Knox County Sheriff's Department?
·7· · · · A· · No.
·8· · · · Q· · What was the person's name who filed that
·9· ·lawsuit?
10· · · · A· · I -- I can't remember.· It's been -- it was an
11· ·over the road truck driver.· I don't remember his name.
12· · · · Q· · It'll -- I tend -- you've been to a couple of
13· ·depositions now, right?
14· · · · A· · Yes.
15· · · · Q· · Where you watched them --
16· · · · A· · Yes.
17· · · · Q· · And as you know, I'm sure, by now, I tend not
18· ·to ask questions perfectly.· So if I ask you a question
19· ·and you don't understand it, please let me know, and
20· ·I'll ask it a better way, okay?
21· · · · A· · Yes.
22· · · · Q· · If you answer the question, I'm going to under
23· ·-- I'm going to assume that you understood what I was
24· ·asking you.· Is that fair?
25· · · · A· · Yes.




                                                                                PL 823
                                                                                 YVer1f
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·1· · · · Q· · Okay.· If at any point in time you want to
·2· ·take a break and use the restroom or consult with your
·3· ·lawyer, please just let me know, all right?
·4· · · · A· · Yes.
·5· · · · Q· · The only thing that I'll ask is if there's a
·6· ·question pending, that you answer the question before
·7· ·taking a break.· Is that okay?
·8· · · · A· · Yes, that's fine.
·9· · · · Q· · All right.· And you're doing a great job, but
10· ·just continuing answering questions verbally instead of,
11· ·you know, a head nod or a uh-huh, uh-uh --
12· · · · A· · Yes.
13· · · · Q· · -- you know.· Affirmative answers are helpful
14· ·for the court reporter, okay?
15· · · · A· · Yes.
16· · · · Q· · Okay.· Mr. Pickard, would you agree that
17· ·innocent people shouldn't be charged for crimes they
18· ·didn't commit?
19· · · · · · ·MR. WRIGHT:· Object to form.
20· · · · · · ·MR. WILLIAMS:· Join.
21· · · · Q· · You can answer.
22· · · · A· · Yes.
23· · · · Q· · Yeah.· And in fact, do you recall having a
24· ·conversation with a woman by the name of Lisa Evans,
25· ·before William Anderson's trial?




                                                                                PL 824
                                                                                 YVer1f
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·1· · · · A· · Yes.
·2· · · · Q· · And I'm going to -- is it your understanding
·3· ·that that conversation is -- was recorded?
·4· · · · A· · Yes.
·5· · · · Q· · Okay.· I'm going to play a part of that
·6· ·conversation.· This will be Exhibit number 22.· It's
·7· ·PL29737.
·8· · · · · · · · · ·(EXHIBIT 22 MARKED FOR IDENTIFICATION)
·9· · · · · · ·MR. WILLIAMS:· Elliot, let me just make a
10· · · · continuing objection before you start, to the
11· · · · extent that you intend to play snippets of
12· · · · recordings that may be just portions are taken out
13· · · · of context, that we may ask that other portions of
14· · · · it, in fairness, be played in order that the
15· · · · defendant can understand the context of the
16· · · · question.
17· · · · · · ·MR. SLOSAR:· Sure.
18· · · · · · ·MR. WILLIAMS:· Thank you.
19· · · · · · ·MR. WRIGHT:· Join that objection.
20· ·BY MR. SLOSAR:
21· · · · Q· · Please listen to this, and I'm going to ask
22· ·you a few questions --
23· · · · A· · Okay.
24· · · · Q· · -- when we're done, okay?
25· · · · · · · · · ·(AUDIO PLAYED)




                                                                                PL 825
                                                                                 YVer1f
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·1· · · · Q· · Was that your voice on there?
·2· · · · A· · Yes.
·3· · · · Q· · Okay.· And do you agree with the statement
·4· ·that you said on there, that if you're guilty, you
·5· ·should hang, but if you're not, I don't think you should
·6· ·get in trouble?
·7· · · · A· · Yes.
·8· · · · Q· · Okay.· At the time of the Katherine Mills
·9· ·death in December of 2010, what agency were you employed
10· ·with?
11· · · · A· · Knox County Sheriff's Office.
12· · · · Q· · And what was your position at that time?
13· · · · A· · Knox County Sheriff.
14· · · · Q· · Is that an elected position?
15· · · · A· · Yes.
16· · · · Q· · Okay.· And Ms. Mills was found dead at her
17· ·home on December 20, 2010 in the City of Barbourville,
18· ·right?
19· · · · A· · Yes.
20· · · · Q· · And was the City of Barbourville, in 2010, a
21· ·part of Knox County?
22· · · · A· · Yes.
23· · · · Q· · Was Ms. Mills' residence within your sheriff's
24· ·department's jurisdiction?
25· · · · A· · Yes.




                                                                                PL 826
                                                                                 YVer1f
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·1· · · · Q· · Mr. Pickard, who was the lead investigator in
·2· ·the investigation into Katherine Mills' death?
·3· · · · A· · To best of my knowledge, it would have been
·4· ·Jason York.
·5· · · · Q· · And fair to say that you assisted Jason York
·6· ·in his investigation?
·7· · · · A· · I helped him some, locating people, yes.
·8· · · · Q· · And is it fair to -- and did you help Mr. York
·9· ·also interview some people, as well?
10· · · · A· · I sat in on one, I know for sure.
11· · · · Q· · Fair to say that your agency, the Knox County
12· ·Sheriff's Department, assisted Jason York and the
13· ·Kentucky State Police in the investigation into
14· ·Katherine Mills' death?
15· · · · A· · I -- we didn't assist in the investigation. We
16· ·just, you know, like I say, he was -- when he -- he had
17· ·some names he needed to talk, and he didn't know the
18· ·people and I did, and I just rode with him and helped
19· ·him find them.
20· · · · Q· · Was one of those people Kayla Mills?
21· · · · A· · Yes.
22· · · · Q· · Was one of those people Allen Helton?
23· · · · A· · Yes.
24· · · · Q· · Was one of those people Jonathan Taylor?
25· · · · A· · Yes.




                                                                                PL 827
                                                                                 YVer1f
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·1· · · · Q· · Was one of those people Bob Smith?
·2· · · · A· · Yes.
·3· · · · Q· · Mr. Pickard, I'm going to show you what we'll
·4· ·mark as Exhibit number 13.· And this is the
·5· ·interrogatory responses --
·6· · · · · · ·MS. STAPLES:· Is 13 correct?
·7· · · · · · ·COURT REPORTER:· It's from the previous.
·8· · · · Q· · -- that you did in this case.· I'll give a
·9· ·copy to your counsel.· Sir, do you recognize this
10· ·document?
11· · · · · · · · · ·(EXHIBIT 13 MARKED FOR IDENTIFICATION)
12· · · · A· · Yes.
13· · · · Q· · Okay.· And did you sign this document on the
14· ·last page?· It might be on the back of that.· Sorry,
15· ·it's double-sided.
16· · · · A· · Yeah.· That's my signature.
17· · · · Q· · Okay.· Sorry, I had to travel down here.                I
18· ·try to double-side things, save my back.· When you
19· ·signed that, did you understand that the -- that your
20· ·answers were done under oath?
21· · · · A· · Yes.
22· · · · Q· · Okay.· Just like you're under oath here today,
23· ·right?
24· · · · A· · Yes.
25· · · · Q· · I'm going to ask you to turn to -- it has page




                                                                                PL 828
                                                                                 YVer1f
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·1· ·number 5 at the bottom, that's interrogatory number 6.
·2· ·Are you there?
·3· · · · A· · Yes.
·4· · · · Q· · Okay.· And that question asks, "Do you contend
·5· ·that Plaintiffs' participating -- bad question.· "Do you
·6· ·contend that Plaintiffs' participating in killing in
·7· ·Katherine Mills or committed any other illegal act
·8· ·relating to the incidents in Plaintiffs' complaint." And
·9· ·then there's a second part of that question.· Your
10· ·answer is, "I have no direct knowledge that either
11· ·Plaintiff acted in killing Katherine Mills."· Do you see
12· ·that, sir?
13· · · · A· · Yes.
14· · · · Q· · Okay.· Sitting here today, do you have any
15· ·direct knowledge that Amanda Hoskins or Jonathan Taylor
16· ·participated in -- participated in killing Katherine
17· ·Mills?
18· · · · A· · No, I don't have any direct knowledge.· No.
19· · · · Q· · Okay.· Mr. Pickard, you know Linda Taylor,
20· ·right?
21· · · · A· · Yes.
22· · · · Q· · Ms. Hoskins' mom, right?
23· · · · A· · Yes.
24· · · · Q· · Yeah.· And you had a conversation with Linda
25· ·Taylor outside of the courtroom in February of 2012; is




                                                                                PL 829
                                                                                 YVer1f
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·1· ·that right?
·2· · · · A· · Yes.· I remember being there, yes.
·3· · · · Q· · Yeah.· And at the time, Ms. Hoskins was
·4· ·actually inside the courtroom dealing with one of her
·5· ·criminal cases at the time?
·6· · · · A· · Yes.
·7· · · · Q· · In your conversation with Ms. Taylor, isn't it
·8· ·true that you told her that two years before, you would
·9· ·have put Ms. Hoskins under the jail, but by that time,
10· ·you believe that she was actually innocent of the
11· ·Katherine Mills' homicide?
12· · · · A· · I don't remember that conversation.
13· · · · Q· · Well, did you ever tell Ms. Taylor anything to
14· ·the effect that you believe that Ms. Hoskins didn't have
15· ·anything to do with the murder of Katherine Mills?
16· · · · A· · I don't remember saying that.
17· · · · Q· · So you're not saying that you didn't say it,
18· ·you just don't recall, right?
19· · · · A· · I just don't recall.
20· · · · · · ·MR. WRIGHT:· Object to form.
21· · · · · · ·MR. KELLEY:· I'll join.
22· · · · Q· · Mr. Pickard, is it fair to say that you didn't
23· ·personally charge Amanda Hoskins and Jonathan Taylor
24· ·with the murder of Katherine Mills?
25· · · · A· · No, I did not.




                                                                                PL 830
                                                                                 YVer1f
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·1· · · · Q· · And that's because in March of 2012, you
·2· ·didn't believe that Amanda Hoskins and Jonathan Taylor
·3· ·killed Katherine Mills, right?
·4· · · · · · ·MR. WRIGHT:· Object to form.
·5· · · · · · ·MR. KELLEY:· Join.
·6· · · · A· · At that time, I didn't know.· I mean, I -- I
·7· ·don't know.· I didn't know who killed her.· We were just
·8· ·trying to -- you know, like I say, I -- I helped Jason -
·9· ·- Detective York, but I mean, he worked the case. And --
10· ·but I -- I don't know.
11· · · · Q· · You didn't have control over Jason York
12· ·charging Ms. Hoskins and Mr. Taylor, correct?
13· · · · A· · That's correct.
14· · · · Q· · And you didn't have the power to stop Jason
15· ·York from initiating those charges against Ms. Hoskins
16· ·and Mr. Taylor, right?
17· · · · A· · Right.· That was totally his case.
18· · · · Q· · And in fact, you know, a few moments ago, you
19· ·testified that you didn't know, as of March 2012, who
20· ·really did the murder, right?
21· · · · A· · Right.
22· · · · Q· · So, fair to say that in March of 2012, you
23· ·didn't believe that there was probable cause to initiate
24· ·charges against Amanda Hoskins and Jonathan Taylor for
25· ·the murder of Katherine Mills?




                                                                                PL 831
                                                                                 YVer1f
     Case: 6:17-cv-00184-REW-HAI
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·1· · · · · · ·MR. WRIGHT:· Object to form.
·2· · · · · · ·MR. KELLEY:· Join.
·3· · · · A· · I -- I don't know what all the -- Jason worked
·4· ·the case.· He had all -- a lot of information I don't
·5· ·know about or didn't know about.
·6· · · · Q· · Based on what you knew, and what you
·7· ·participated in by that time, did you believe that there
·8· ·was probable cause to initiate charges against Amanda
·9· ·Hoskins and Jonathan Taylor for the murder of Katherine
10· ·Mills?
11· · · · · · ·MR. WRIGHT:· I'll just object to form.
12· · · · · · ·MR. KELLEY:· Join.
13· · · · A· · There could have been.
14· · · · Q· · Okay.· Well, you were present when Allen
15· ·Helton's statement was given, right?
16· · · · A· · Yes.
17· · · · Q· · Yeah.· And during that interview, Jason York
18· ·was telling Mr. Helton what to say, right?
19· · · · · · ·MR. WRIGHT:· Object to form and foundation.
20· · · · · · ·MR. KELLEY:· Join.
21· · · · A· · I don't remember telling him what to say, no.
22· · · · Q· · Okay.· We're going -- I'm going to play the
23· ·recording for you a little bit later, we'll listen to it
24· ·together, all right?
25· · · · A· · Okay.




                                                                                PL 832
                                                                                 YVer1f
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·1· · · · Q· · Did you -- you were present during that March
·2· ·8, 2012 interview with Jason York and Allen Helton,
·3· ·correct?
·4· · · · A· · Yes.
·5· · · · Q· · It took place in your office, right?
·6· · · · A· · Yes.
·7· · · · Q· · Okay.· Did you believe the statement that
·8· ·Allen Helton gave that day to Jason York?
·9· · · · · · ·MR. KELLEY:· Object to the form.
10· · · · · · ·MR. WRIGHT:· Join.
11· · · · A· · At the time, I did.
12· · · · Q· · You did?
13· · · · A· · Yes.
14· · · · Q· · Okay.· Even though Allen Helton -- you talked
15· ·to Allen Helton a number of times before taking --
16· ·before you and Detective York took that statement from
17· ·him on March 8, 2012, right?
18· · · · A· · I think I might have talked to him one time.
19· · · · Q· · Uh-huh.· And Allen Helton never told you
20· ·anything like what he said on March 8, 2012, correct?
21· · · · A· · Not before that, no.
22· · · · Q· · Sir, did you ever tell Detective York at any
23· ·time, that you believed Amanda Hoskins and Jonathan
24· ·Taylor did not commit the murder of Katherine Mills?
25· · · · A· · I don't ever remember saying something like




                                                                                PL 833
                                                                                 YVer1f
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·1· ·that, no.
·2· · · · Q· · Did you -- at any point in time, did you tell
·3· ·Detective York that you didn't believe probable cause
·4· ·existed to initiate or continue charges against Amanda
·5· ·Hoskins or Jonathan Taylor?
·6· · · · A· · No.
·7· · · · Q· · Did you take any steps to stop the prosecution
·8· ·of Amanda Hoskins and Jonathan Taylor for the murder of
·9· ·Katherine Mills?
10· · · · · · ·MR. KELLEY:· Object to the form of the
11· · · · question.
12· · · · A· · No.
13· · · · Q· · Did you ever have any conversations with the
14· ·prosecutor, Jackie Steele, about stopping the
15· ·prosecution against Amanda Hoskins and Jonathan Taylor?
16· · · · · · ·MR. WILLIAMS:· Object to the form.
17· · · · A· · No.
18· · · · Q· · Mr. Pickard, you've been to the Appalachian
19· ·Children's Home before, right?
20· · · · A· · Yes.
21· · · · Q· · Yeah.· And do you know a person there by the
22· ·name of Steve Erie (phonetic)?
23· · · · A· · Not off the top of my head, I don't.
24· · · · Q· · Do you know the owner of the children's home?
25· · · · A· · I don't, no.




                                                                                PL 834
                                                                                 YVer1f
     Case: 6:17-cv-00184-REW-HAI
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·1· · · · Q· · During the underlying investigation into
·2· ·Katherine Mills' death, do you recall going to the
·3· ·children's home with Detective York to see if a blue car
·4· ·was there?
·5· · · · A· · Yes, I remember going there.
·6· · · · Q· · What do you remember about going there with
·7· ·Detective York?
·8· · · · A· · I know we talked to some guy, but I can't
·9· ·remember the name.· But I do remember -- I remember
10· ·being there to talk to him.· I just don't remember -- I
11· ·don't remember their conversation.
12· · · · Q· · Well, were you and Detective York there to see
13· ·if Amanda Hoskins had access to a blue vehicle?
14· · · · A· · Yes.
15· · · · Q· · Okay.· And did you have a conversation -- did
16· ·you and Detective York have a conversation with someone
17· ·at the children's home, about who was in possession of
18· ·the blue vehicle on the day in question?
19· · · · A· · Yes.
20· · · · Q· · Okay.· And were you and Detective York shown
21· ·receipts indicating that maintenance men from the
22· ·children's home had access to the car, the blue car, on
23· ·the day in question?
24· · · · · · ·MR. WRIGHT:· I'll object to form and
25· · · · foundation.




                                                                                PL 835
                                                                                 YVer1f
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·1· · · · · · ·MR. WILLIAMS:· Join.
·2· · · · A· · I remember that vaguely, but yes.
·3· · · · Q· · Just can't remember all the specifics, right?
·4· · · · A· · Right.
·5· · · · Q· · Okay.· Did you take any notes when you were
·6· ·learning about these maintenance men having possession
·7· ·of the car on December 20, 2010?
·8· · · · A· · No.
·9· · · · · · ·MR. WRIGHT:· Object to form and foundation on
10· · · · that.
11· · · · Q· · Did you take --
12· · · · · · ·MR. WILLIAMS:· I'll join.
13· · · · Q· · -- any of the receipts that were show to you
14· ·by individuals of the children's home?
15· · · · A· · No, I didn't.
16· · · · Q· · Did Detective York?
17· · · · A· · I just -- I don't recall whether he did or
18· ·not.
19· · · · Q· · Okay.· Was Detective York taking any notes?
20· · · · A· · I can't remember.
21· · · · Q· · Did you and Detective York have any
22· ·conversation about who was going to be responsible for
23· ·drafting a police report based upon the information that
24· ·you and him learned that day?
25· · · · A· · No.




                                                                                PL 836
                                                                                 YVer1f
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·1· · · · · · ·MR. WILLIAMS:· Object to the form of the
·2· · · · question and to the word "responsibility," it has a
·3· · · · legal connotation.· Go ahead.
·4· · · · · · ·MR. WRIGHT:· I'll join.
·5· · · · A· · No, I don't remember anything like that.
·6· · · · Q· · Prior to conducting this interview, or this
·7· ·investigation into who had the blue car from the
·8· ·children's home on December 20, 2010, did you and
·9· ·Detective York have a discussion about whether this
10· ·Interview would be recorded or not recorded?
11· · · · A· · Not that I remember, no.
12· · · · Q· · And did you make any notes about this
13· ·interview that you would have kept in a police file?
14· · · · A· · No, I didn't.
15· · · · Q· · And was that consistent with the training that
16· ·you received?
17· · · · A· · No.
18· · · · Q· · So based on the training you received, should
19· ·you have taken notes during that interview?
20· · · · A· · No.· It wasn't my -- it was his case.· I just
21· ·-- I didn't take any notes at all.
22· · · · Q· · Okay.· So the fact that you didn't take notes,
23· ·was that consistent with your understanding of the
24· ·training that you received at the Knox County Sheriff's
25· ·Department?




                                                                                PL 837
                                                                                 YVer1f
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·1· · · · A· · Yes.
·2· · · · Q· · Okay.· It seems like you're saying that if
·3· ·it's not -- if you're not in charge of the
·4· ·investigation, that you're not required to take notes,
·5· ·is that what your testimony is?
·6· · · · A· · I guess you could say that, yes.
·7· · · · Q· · Okay.· So the fact that you participated in
·8· ·this interview but didn't take notes, was that
·9· ·consistent with your understanding of the policies and
10· ·procedures at the Knox County Sheriff's Department?
11· · · · A· · Repeat that again.
12· · · · Q· · Sure.· With you not taking notes during this
13· ·interview at the Appalachian Children's Home, was that
14· ·consistent with your understanding of the policies and
15· ·procedures of the Knox County Sheriff's Department?
16· · · · A· · I'm not going -- no.· I mean, I just, you
17· ·know, I didn't take any notes, period, through this
18· ·whole thing, and -- I mean, Jason did all that.               I
19· ·didn't do any of that.· I was just there.
20· · · · Q· · Yeah.· In all these interviews, you never took
21· ·a single note, right?
22· · · · A· · No.
23· · · · Q· · All these interactions that you had with Kayla
24· ·Mills, Bob Smith, Allen Helton, Jonathan Taylor, never
25· ·created a single police report, right?




                                                                                PL 838
                                                                                 YVer1f
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·1· · · · A· · That's right.
·2· · · · Q· · And is that consistent with the training that
·3· ·you received at the Knox County Sheriff's Department?
·4· · · · A· · I didn't get any training at the sheriff's
·5· ·department.· I -- I went -- I went through some classes,
·6· ·you know, through Eastern, but that's it.
·7· · · · Q· · Well, in any of the classes that you went
·8· ·through, were you ever instructed that you were required
·9· ·to document interviews in a homicide investigation?
10· · · · A· · I don't ever remember taking a class like
11· ·that.
12· · · · Q· · Okay.· And I'm going to ask you some questions
13· ·about the -- you've seen policies and procedures at the
14· ·Knox County Sheriff's Department, right?
15· · · · A· · Yes.
16· · · · Q· · Okay.· I saw your signature on the top of one,
17· ·so I assumed that you were going to say yes to that. I'm
18· ·going to be asking you some questions about the policies
19· ·and procedures.· You understand what those are, correct?
20· · · · A· · Yes, I understand what you're talking about.
21· · · · Q· · Okay.· And fair to say that there wasn't a
22· ·policy or procedure at Knox County that required you to
23· ·document information that you learned in a homicide
24· ·investigation?
25· · · · A· · I couldn't say.




                                                                                PL 839
                                                                                 YVer1f
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·1· · · · Q· · We're going to go through it.· But sitting
·2· ·here today, do you recall a single policy or procedure
·3· ·that gives you instructions on how to conduct a homicide
·4· ·investigation?
·5· · · · A· · No.
·6· · · · Q· · Okay.· Sitting here today, do you recall a
·7· ·single policy or procedure that gives you instructions
·8· ·to document interviews conducted during a homicide
·9· ·investigation?
10· · · · A· · I don't recall anything like that.
11· · · · Q· · Uh-huh.· We're going to go through it, so I'll
12· ·-- we'll get there.· Mr. Pickard, when did you graduate
13· ·high school?
14· · · · A· · 1971.
15· · · · Q· · Okay.· And where did you go to high school?
16· · · · A· · Knox Central.
17· · · · Q· · And after high school, did you receive any
18· ·other additional education?
19· · · · A· · No.
20· · · · Q· · Okay.· And at some point in your career, you
21· ·went to EKU; is that right?
22· · · · A· · No, I didn't go there.
23· · · · Q· · You took some courses relating to law
24· ·enforcement there?
25· · · · A· · Not there.· It was -- it -- that's where my




                                                                                PL 840
                                                                                 YVer1f
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·1· ·records ended up.· I didn't go there for --
·2· · · · Q· · You didn't go there.
·3· · · · A· · No.
·4· · · · Q· · Okay.· Sorry.· Let me -- where did you get
·5· ·some law enforcement training at?
·6· · · · A· · Most of the time, it was in Bowling Green or
·7· ·sometimes it was in Louisville.· And that was the
·8· ·sheriff's convention.· That's all I
·9· · · · Q· · And you went there for three years, right? The
10· ·sheriff's convention?· I think it was 2007, 2008, 2009.
11· ·Does that seem right?
12· · · · A· · No, I went more than that.
13· · · · Q· · You went more than that?
14· · · · A· · I went up to '13, I think.
15· · · · Q· · You think you went to 13 different
16· ·conventions?
17· · · · A· · No, up to 2013.
18· · · · Q· · Oh, to 2013.· Okay.
19· · · · A· · Yes.
20· · · · Q· · I see what you're saying.· I'll show you what
21· ·we'll mark as Exhibit number 23.· Here you go, Mr.
22· ·Pickard.
23· · · · A· · Thanks.
24· · · · Q· · Have you seen this before, this document?
25· · · · · · · · · ·(EXHIBIT 23 MARKED FOR IDENTIFICATION)




                                                                                PL 841
                                                                                 YVer1f
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·1· · · · A· · I don't think so.
·2· · · · Q· · Well, I'm going to, you know, this is -- these
·3· ·documents have been handed over during the course of
·4· ·this litigation, and this is apparently what the
·5· ·Department of Criminal Justice Training produced when
·6· ·your counsel requested your training files, okay?
·7· · · · A· · Okay.
·8· · · · Q· · All right.· So I'm going to ask you to turn to
·9· ·page 3 of this.· Are you there?
10· · · · A· · I think so.
11· · · · Q· · Okay.· And it's got your name at the top,
12· ·right, John Pickard?
13· · · · A· · Yes.
14· · · · Q· · Okay.· And according to this training history,
15· ·it looks like you went to the sheriff's conference in
16· ·2009.· Does that seem right?
17· · · · A· · Yes.
18· · · · Q· · Do you recall what you learned at the
19· ·sheriff's conference in 2009?
20· · · · A· · I couldn't -- I can't recall what classes I
21· ·took, no.
22· · · · Q· · Okay.· Do you recall what topics you were
23· ·trained on there?
24· · · · A· · Not right off, no.
25· · · · Q· · Okay.· If I ask you those same questions about




                                                                                PL 842
                                                                                 YVer1f
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·1· ·the sheriff's conference in 2008, would you answer the
·2· ·same way?
·3· · · · A· · Same way.
·4· · · · Q· · Okay.· I'm going to ask you, again, would you
·5· ·give those same answers if I asked you about what you
·6· ·learned at the sheriff's conference in 2007?
·7· · · · A· · Yes.
·8· · · · Q· · Okay.· Memory's not getting better the farther
·9· ·back we go, right?
10· · · · A· · No, it's getting worse.
11· · · · Q· · Yeah.· Me, too.· It looks like in 2005, you
12· ·took a mandatory training by videotape.· Do you see
13· ·that?
14· · · · A· · Yes.
15· · · · Q· · Okay.· What did you learn on that videotape?
16· · · · A· · I don't -- I don't recall.
17· · · · Q· · Okay.· And it looks like you completed that in
18· ·May of 2005; is that right?
19· · · · A· · I guess so, yes.
20· · · · Q· · Yeah.· And it looks like you took a class on
21· ·stress management in 2004; is that right?
22· · · · A· · That's what it says, yes.
23· · · · Q· · Can you teach me how to manage some of my
24· ·stress from that course?
25· · · · A· · No, I need a dose of it myself.




                                                                                PL 843
                                                                                 YVer1f
     Case: 6:17-cv-00184-REW-HAI
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·1· · · · Q· · Do you recall what you learned there?
·2· · · · A· · No, I don't.
·3· · · · Q· · Okay.· Do you recall if it helped you manage
·4· ·your stress at all?
·5· · · · A· · No.
·6· · · · Q· · Okay.· Looks like you did some mandatory
·7· ·training by videotape in 2004.· Do you recall what you
·8· ·learned there?
·9· · · · A· · No.
10· · · · Q· · Okay.· Aside from the training listed here,
11· ·Mr. Pickard, do you recall any additional training that
12· ·you received prior to the investigation into the death
13· ·of Katherine Mills?
14· · · · A· · No.
15· · · · Q· · Mr. Pickard, have you attended any outside
16· ·investigation schools?
17· · · · A· · Not that I recall, no.
18· · · · Q· · You have -- for instance, have you ever
19· ·attended the Reid Interrogation School?
20· · · · A· · No.
21· · · · Q· · Have you ever heard of the Reid Technique?
22· · · · A· · No.
23· · · · Q· · Have you ever served in the military?
24· · · · A· · No.
25· · · · Q· · When did you first join the Knox County




                                                                                PL 844
                                                                                 YVer1f
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·1· ·Sheriff's Department?
·2· · · · A· · January of 2003.
·3· · · · Q· · And were you hired or elected?
·4· · · · A· · Elected.
·5· · · · Q· · Okay.· Prior to being elected as the Knox
·6· ·County sheriff in January 2003, have you had any
·7· ·experience in law enforcement?
·8· · · · A· · No, sir.
·9· · · · Q· · What did you do in your prior career?
10· · · · A· · Worked for Delta Natural Gas.
11· · · · Q· · Where's that at?
12· · · · A· · It's the main office in Winchester.
13· · · · Q· · What did you do there?
14· · · · A· · I was a customer service representative.
15· · · · Q· · And how long did you work as a customer
16· ·service representative?
17· · · · A· · 18 years.
18· · · · Q· · That's a long time.
19· · · · A· · Long time.
20· · · · Q· · What made you want to be a sheriff?
21· · · · A· · It's just something I always wanted to do.
22· · · · Q· · Were you interested in law enforcement when
23· ·you were a kid?
24· · · · A· · Yeah, I was interested.· Yes.
25· · · · Q· · Ever want to be a cop?




                                                                                PL 845
                                                                                 YVer1f
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·1· · · · A· · Yes.
·2· · · · Q· · What sort of training did you receive after
·3· ·being elected as the Knox County sheriff?
·4· · · · A· · I can't recall.
·5· · · · Q· · Were you sent to any outside training schools?
·6· · · · A· · I went to the sheriff's convention is all I
·7· ·did.
·8· · · · Q· · Okay.· And you don't remember what you learned
·9· ·at those conventions, right?
10· · · · A· · It was on different subjects.· No, I don't
11· ·remember.
12· · · · Q· · Did you ever have to take any tests there?
13· · · · A· · Yeah, I took tests.
14· · · · Q· · You took tests there.· You recall what you
15· ·took tests in, or on?
16· · · · A· · No, it's -- the classes they give us, at the
17· ·end of it, you just had a little, like, a one-page test
18· ·or something.
19· · · · Q· · After becoming the Knox County sheriff, were
20· ·you ever trained on how to interview witnesses?
21· · · · A· · No, I was never trained.
22· · · · Q· · After becoming the Knox County sheriff, were
23· ·you ever trained on how to document witness interviews?
24· · · · A· · No.
25· · · · Q· · After becoming Knox County sheriff, were you




                                                                                PL 846
                                                                                 YVer1f
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·1· ·ever trained on how to interview or interrogate
·2· ·suspects?
·3· · · · A· · Not that I recall.
·4· · · · Q· · After you became Knox County sheriff, were you
·5· ·ever trained on whether you're allowed to make promises
·6· ·of leniency to witnesses or suspects in a homicide
·7· ·investigation?
·8· · · · A· · No.
·9· · · · Q· · Were you ever provided any training, after
10· ·becoming the Knox County sheriff, on how to prepare
11· ·police reports?
12· · · · A· · No.
13· · · · Q· · After becoming Knox County sheriff, were you
14· ·ever provided any training on what information should be
15· ·documented in a police report?
16· · · · A· · Not that I recall.
17· · · · Q· · After becoming Knox County sheriff, did you
18· ·receive any training on interrogation techniques?
19· · · · A· · Not that I recall.
20· · · · Q· · After becoming Knox County sheriff, did you
21· ·receive any training on how do you conduct lineups?
22· · · · A· · No.
23· · · · Q· · After becoming Knox County sheriff, did you
24· ·receive any training on how to conduct photo arrays?
25· · · · A· · No.




                                                                                PL 847
                                                                                 YVer1f
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·1· · · · Q· · After becoming Knox County sheriff, did you
·2· ·receive any training on how to conduct lineups or photo
·3· ·arrays without doing so in an unduly suggestive manner?
·4· · · · A· · Not that I recall.
·5· · · · Q· · After becoming Knox County sheriff, did you
·6· ·have any training on the retention of physical evidence
·7· ·in a homicide investigation?
·8· · · · A· · Not that I recall.
·9· · · · Q· · Mr. Pickard, have you ever heard of a Supreme
10· ·Court case named Brady v. Maryland?
11· · · · A· · Not that I recall.
12· · · · Q· · After becoming Knox County sheriff, did you
13· ·have any training on the requirements for police
14· ·officers to disclose exculpatory evidence to the
15· ·prosecution or defense?
16· · · · A· · Not that I recall.
17· · · · Q· · Do you know what Brady v. Maryland requires
18· ·police officers to do?
19· · · · A· · No, I don't.
20· · · · Q· · I'm going to ask you some questions about
21· ·preparing for today's deposition, Mr. Pickard, but I
22· ·don't want to invade the sacred space that you have with
23· ·your counsel, Mr. Williams, or Mr. Kelley.· So please
24· ·don't tell me anything about the conversations you've
25· ·had with them, okay?




                                                                                PL 848
                                                                                 YVer1f
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·1· · · · A· · Okay.
·2· · · · Q· · Okay.· What did you do to prepare for today's
·3· ·deposition?
·4· · · · A· · I just kind of rethought everything, looked
·5· ·through a few papers that I have, and just kind of went
·6· ·over it a little bit.
·7· · · · Q· · Do you recall what papers you looked at?
·8· · · · A· · Not really.
·9· · · · Q· · Did you read any police reports?
10· · · · A· · No.
11· · · · Q· · Did you review any of your notes?
12· · · · A· · I didn't have any notes.
13· · · · Q· · Okay.· That was a trick question, right?
14· · · · A· · Yes.
15· · · · Q· · Did listen to any audio recordings?
16· · · · A· · No.· I don't have any recordings, either.
17· · · · Q· · No.· Did you read any of Mr. York's
18· ·deposition?
19· · · · A· · I read some of it.
20· · · · Q· · Okay.· What parts of it did you look at?
21· · · · A· · I just kind of looked through it.· I don't --
22· ·no particular part.
23· · · · Q· · It was a long day, right?
24· · · · A· · It was too long.
25· · · · Q· · You think I'm being a little bit nicer to you




                                                                                PL 849
                                                                                 YVer1f
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·1· ·than I was to him?
·2· · · · A· · You seem a little nicer, yeah.
·3· · · · Q· · Okay.
·4· · · · A· · I hope you stay that way.
·5· · · · Q· · Did you meet with your lawyer to prepare?
·6· · · · A· · Yes.
·7· · · · Q· · Again, I'm not going to ask you anything about
·8· ·your conversations, okay?
·9· · · · A· · Okay.
10· · · · Q· · How many times did you meet with your lawyer
11· ·to prepare for the deposition?
12· · · · A· · I think twice.
13· · · · Q· · So how is it that you became sheriff in 2003?
14· · · · A· · I think -- I don't know, I just got a elected.
15· ·People wanted a change, I guess.
16· · · · Q· · Divine intervention?
17· · · · A· · I guess.· I just got lucky, I guess.· I don't
18· ·know.
19· · · · Q· · Who did you run against back then?
20· · · · A· · Wilbur Bingham.
21· · · · Q· · What's his name?
22· · · · A· · Wilbur Bingham.
23· · · · Q· · Wilbur, okay.· And when did you stop being
24· ·sheriff?
25· · · · A· · In January of 2014.




                                                                                PL 850
                                                                                 YVer1f
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·1· · · · Q· · Was it just election related, or where you
·2· ·retiring?
·3· · · · A· · I got beat.
·4· · · · Q· · Got beat.· I don't know.· Was it a close race?
·5· · · · A· · Not real close.
·6· · · · Q· · Not real close.· Were you the democratic
·7· ·candidate or the republican candidate?
·8· · · · A· · Republican.
·9· · · · Q· · Okay.· I know very little about Knox County
10· ·politics, so I know Mr. Eubanks is running and that you
11· ·used to be sheriff, that's the extent of it.· As sheriff
12· ·of Knox County in 2010, when the Mills homicide
13· ·investigation began back in December of 2010, what were
14· ·your duties as sheriff?
15· · · · · · ·MR. WILLIAMS:· Let me just make a continuing
16· · · · objection as where duties may have a legal
17· · · · connotation. With that objection made and
18· · · · continuing, you can answer the question.
19· · · · A· · To my recollection, collect taxes and work the
20· ·courts.
21· ·BY MR. SLOSAR:
22· · · · Q· · Collect taxes and work the courts?
23· · · · A· · Yes.
24· · · · Q· · What does "work the courts" mean?
25· · · · A· · It's like a bailiff for trials, court hearings




                                                                                PL 851
                                                                                 YVer1f
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·1· ·or whatever, yet -- you know, where the bailiffs that do
·2· ·that.
·3· · · · Q· · What -- were you in charge of supervising your
·4· ·deputies, sheriffs?
·5· · · · A· · Yes.
·6· · · · Q· · Okay.· And in December of 2010, who were the
·7· ·sheriffs at the Knox County -- sheriff's department that
·8· ·you would have been supervising?· Do you remember who
·9· ·was there?
10· · · · A· · I can't -- 2010, I went through a lot of
11· ·deputies.· I -- I can't remember.
12· · · · Q· · Was Derek Eubanks one of the deputies that you
13· ·supervised during the time of the Mills homicide
14· ·investigation?
15· · · · A· · Yes.
16· · · · Q· · Okay.· Do you recall the names of any of the
17· ·other deputies?
18· · · · A· · I think Jed Wagner was one, Gary Bates.
19· · · · Q· · Did any of those officers work on the Mills'
20· ·homicide investigation with you?
21· · · · A· · No.
22· · · · · · ·MR. WILLIAMS:· Object to the form of the
23· · · · question.
24· · · · · · ·MR. SLOSAR:· Can we go off the record real
25· · · · quick?




                                                                                PL 852
                                                                                 YVer1f
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·1· · · · · · ·VIDEOGRAPHER:· Off the record.
·2· · · · · · · · · ·(OFF THE RECORD)
·3· · · · · · ·VIDEOGRAPHER:· Back on the record.
·4· ·BY MR. SLOSAR:
·5· · · · Q· · Mr. Pickard, I'm going to hand you what we'll
·6· ·mark as Exhibit number 1.· This is a lawsuit by David
·7· ·Cornett v. Ronnie Sizemore, yourself, Raven Smith [sic],
·8· ·Knox County, Knox County Sheriff's Department, Knox
·9· ·County Fiscal Court, that was filed March 26, 2004. Can
10· ·you take a look at this complaint, sir?· Have you seen
11· ·this document before?
12· · · · · · · · · ·(EXHIBIT 1 MARKED FOR IDENTIFICATION)
13· · · · A· · I don't recall seeing it, but I probably have.
14· ·I mean, I could have.
15· · · · Q· · Okay.· Well, you were -- that's one of the
16· ·lawsuits that you disclosed in your interrogatory
17· ·response, right, Mr. Pickard?
18· · · · A· · Yes.
19· · · · Q· · Okay.· And you're a defendant in that lawsuit?
20· · · · A· · Yes.
21· · · · Q· · Okay.· Do you recall what the ultimate
22· ·resolution of that lawsuit was?
23· · · · · · ·MR. WILLIAMS:· And let me just enter an
24· · · · objection to the extent of, if you know whether it
25· · · · was a confidential settlement, Mr. Pickard, you




                                                                                PL 853
                                                                                 YVer1f
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·1· · · · also need to let him know that.
·2· ·BY MR. SLOSAR:
·3· · · · Q· · So you don't have to tell me the amount, but
·4· ·did the case resolve itself through a settlement?
·5· · · · A· · Yes.
·6· · · · Q· · Okay.· And were you a defendant at the time
·7· ·that it resolved itself in the settlement?
·8· · · · A· · Yes.
·9· · · · Q· · And was the settlement amount publicly known?
10· · · · A· · Not that I know of.· I don't know.
11· · · · Q· · Okay.· I'm going to hand you what we'll mark
12· ·as -- and generally, do you recall the allegations of
13· ·that lawsuit --
14· · · · A· · Yes.
15· · · · Q· · -- that settled?· What was it, generally?
16· · · · A· · It was over those horses I was talking about.
17· · · · Q· · This was the horse thing you were talking
18· ·about.
19· · · · A· · Yes.
20· · · · Q· · Okay.· All right.
21· · · · · · ·MR. WRIGHT:· Elliot, before you move on, are
22· · · · these documents that we don't -- not going to --
23· · · · don't have extras?· I can just note that these are
24· · · · Exhibits 1 and 2 to keep track of things?
25· · · · · · ·MR. SLOSAR:· Yeah.· So this is 1, and I'll be




                                                                                PL 854
                                                                                 YVer1f
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·1· · · · happy to send it to you electronically.
·2· · · · · · ·MR. WRIGHT:· You don't have to do that.
·3· · · · · · ·MR. SLOSAR:· Okay.
·4· · · · · · ·MR. WRIGHT:· We can get it through a copy with
·5· · · · the court reporter.
·6· · · · · · ·MR. SLOSAR:· Okay.
·7· · · · · · ·MR. WRIGHT:· I just don't want to lose track.
·8· ·BY MR. SLOSAR:
·9· · · · Q· · Okay.· Yeah.· No, this is Exhibit 1.· Exhibit
10· ·2, I'm going to hand you right now, Mr. Pickard.· This
11· ·is a lawsuit, it's 04-CV-278.· Reona Bledsoe v. James
12· ·Meyer [sic], Ronnie Sizemore, Charles Doan, the Knox
13· ·County Sheriff's Department, and Sheriff John Pickard.
14· ·That was filed in June of 2004.· Mr. Pickard, do you
15· ·recognize this document?
16· · · · · · · · · ·(EXHIBIT 2 MARKED FOR IDENTIFICATION)
17· · · · A· · Yes, I know about it.
18· · · · Q· · Okay.
19· · · · A· · I forgot it, but I did know about it.
20· · · · Q· · Were you a defendant in that case as well,
21· ·sir?
22· · · · A· · No, I don't think so.
23· · · · Q· · Okay.· At the bottom of the caption, it has
24· ·you, right?· Is that your name?
25· · · · A· · Oh, yeah.· Yes.




                                                                                PL 855
                                                                                 YVer1f
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·1· · · · Q· · Okay.· I understand -- I'm not -- I haven't
·2· ·looked deeply into the allegations of the complaint so
·3· ·maybe you were just sued in your official capacity as
·4· ·sheriff --
·5· · · · A· · I -- I would think so.
·6· · · · Q· · -- and not individually.· Do you recall what
·7· ·the resolution of this lawsuit was?
·8· · · · A· · No, I don't.
·9· · · · Q· · Okay.· One of the co-defendants there is a
10· ·person by the name of Ronnie Sizemore, right?
11· · · · A· · Yes.
12· · · · Q· · What relation does Ronnie Sizemore have to
13· ·James Otis Sizemore?
14· · · · A· · I don't think that -- they may not -- if
15· ·they're kin, I don't know.
16· · · · Q· · Okay.
17· · · · A· · I don't think they were.
18· · · · Q· · Do you recall the general allegations of this
19· ·lawsuit, Mr. Pickard?
20· · · · A· · No, I don't.
21· · · · Q· · Do you recall how it resolved itself?
22· · · · A· · No, I don't.
23· · · · Q· · Okay.· I think that I gave you -- let me make
24· ·sure I did.· This -- I'm going to show you what's been
25· ·marked as Exhibit number 3.· This is a status update




                                                                                PL 856
                                                                                 YVer1f
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·1· ·form.· Have you seen this document before today?
·2· · · · · · · · · ·(EXHIBIT 3 MARKED FOR IDENTIFICATION)
·3· · · · A· · Not that I recall, no.
·4· · · · Q· · Okay.· It looks like Sheriff Mike Smith signed
·5· ·this document at the bottom.· Do you see that?· The
·6· ·bottom of the first page?
·7· · · · A· · Yes, I see that.
·8· · · · Q· · Okay.· And according to this document, you
·9· ·resigned and/or were terminated, effective January 5,
10· ·2015, from the Knox County Sheriff's Department; is that
11· ·right?
12· · · · A· · Yes.
13· · · · Q· · Okay.· And why was that?· Was that because of
14· ·the election?
15· · · · A· · Yes.
16· · · · Q· · Sorry.· Not a trick question.· Did you have to
17· ·sign any documents at the time that you surrendered your
18· ·office to Sheriff Smith?
19· · · · A· · I'm sure I did.· I don't recall right off, no.
20· · · · Q· · When you were sheriff, was it your
21· ·understanding that every employee at the Knox County
22· ·Sheriff's Department was required to have a personnel
23· ·file?
24· · · · A· · Yes.
25· · · · Q· · Okay.· And while you were sheriff, did every




                                                                                PL 857
                                                                                 YVer1f
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·1· ·employee at the Knox County Sheriff's Department have a
·2· ·personnel file?
·3· · · · A· · Yes.
·4· · · · Q· · Okay.· And that was in accordance with one of
·5· ·the policies and procedures for the Knox County
·6· ·Sheriff's Department, correct?
·7· · · · A· · I think so.
·8· · · · Q· · Okay.· Did you yourself have a personnel file
·9· ·while you were sheriff for the Knox County Sheriff's
10· ·Department?
11· · · · A· · Yes.
12· · · · Q· · Okay.· And did you ever look at that file?
13· · · · A· · I don't recall.
14· · · · Q· · Was it your understanding that if citizens
15· ·made complaints against officers of the Knox County
16· ·Sheriff's Department, that a copy of those complaints
17· ·were to be put into the personnel file?
18· · · · A· · They should have been, yes.
19· · · · Q· · Okay.· And the same would hold true for you,
20· ·correct?
21· · · · A· · Yes.
22· · · · Q· · Okay.· So if somebody -- and by the time of
23· ·the investigation into the death of Katherine Mills in
24· ·December of 2010, if citizens had made a -- complaints
25· ·against you, those complaints should have been made in




                                                                                PL 858
                                                                                 YVer1f
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·1· ·your -- those -- a copy of those complaints should have
·2· ·been maintained as part of your personnel file, correct?
·3· · · · A· · Yes, if they had any.
·4· · · · Q· · Okay.· And by the time you left the Knox
·5· ·County Sheriff's Department in March of 2015, is it fair
·6· ·to say that any and all complaints that were ever made
·7· ·against you should have been contained in the personnel
·8· ·file?
·9· · · · · · ·MR. WILLIAMS:· Object to the form and the
10· · · · foundation.· You can answer.
11· · · · A· · I don't remember any complaints.
12· · · · Q· · Sure.· So that's a different question.· But if
13· ·citizens of Knox County had made complaints against you,
14· ·they would have been maintained as part of your
15· ·personnel file, correct?
16· · · · A· · Yes.
17· · · · Q· · Okay.· And the same holds true for any other
18· ·of the employees at the Knox County Sheriff's Department
19· ·while you were sheriff, right?
20· · · · A· · Yes.
21· · · · Q· · Okay.· At the time that you left the sheriff's
22· ·department in March of 2015, did your personnel file
23· ·still exist?
24· · · · A· · I left in January --
25· · · · Q· · In January.




                                                                                PL 859
                                                                                 YVer1f
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·1· · · · A· · -- of '15.
·2· · · · Q· · I'm sorry.· When you left the Knox County
·3· ·Sheriff's Department in January of 2015, did your
·4· ·personnel file still exist there?
·5· · · · A· · Yes.
·6· · · · Q· · And where was it maintained at within the Knox
·7· ·County Sheriff's Department?
·8· · · · A· · I think it was in a filing cabinet.
·9· · · · Q· · Okay.
10· · · · A· · As far as I -- best I can remember it was.
11· · · · Q· · Do you remember a deputy by the name of Mikey
12· ·Ashers (phonetic)?
13· · · · A· · He wasn't a deputy for me.
14· · · · Q· · Was he employed there --
15· · · · A· · No.
16· · · · Q· · -- when you were there?
17· · · · A· · No.
18· · · · Q· · Did you hire him at all?
19· · · · A· · No.
20· · · · Q· · Okay.· Would you have hired him?
21· · · · A· · No.
22· · · · Q· · Why not?
23· · · · A· · I hear too many things about him, I didn't
24· ·like what I heard so
25· · · · Q· · What type of -- did you hear that he was




                                                                                PL 860
                                                                                 YVer1f
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·1· ·involved in police misconduct in other agencies?
·2· · · · A· · No.
·3· · · · Q· · What did you hear about him?
·4· · · · · · ·MR. WILLIAMS:· Again, if what you heard
·5· · · · involves confidential information, just keep that
·6· · · · in mind, but you can answer the question.
·7· · · · A· · I heard like, you know, he had problems
·8· ·dealing with people maybe, or something like that, but I
·9· ·wasn't impressed with him.
10· ·BY MR. SLOSAR:
11· · · · Q· · Did you ever hear that Mikey Ashers, you know,
12· ·let me, actually, strike the question.
13· · · · · · ·Prior to you leaving in January of 2015, did
14· ·you learn that Mikey Ashers had anger management issues?
15· · · · · · ·MR. WILLIAMS:· Object to the form, but you can
16· · · · answer.
17· · · · A· · I wouldn't say that, no.
18· · · · Q· · Well, prior to you leaving in January of 2015,
19· ·did you learn that Mikey Ashers had difficulty dealing
20· ·with people?
21· · · · A· · I had heard that.
22· · · · Q· · And what type of difficulty have you heard
23· ·that he had, dealing with people?
24· · · · A· · I just heard he had problem dealing with
25· ·people and that's all I ever heard.




                                                                                PL 861
                                                                                 YVer1f
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·1· · · · Q· · Did you ever hear any incidents, prior to
·2· ·leaving in 2015, that involved Mikey Ashers using
·3· ·excessive force on people when he was employed at a
·4· ·different agency?
·5· · · · A· · I hadn't heard that.
·6· · · · Q· · No.· Are you aware, sitting here today, that
·7· ·Mikey Ashers killed somebody while he was employed at
·8· ·the Knox County Sheriff's Department after you left?
·9· · · · A· · Yes.
10· · · · Q· · Okay.· What have you heard about that
11· ·incident?
12· · · · A· · I just heard they got in a fight and he got --
13· ·the boy got killed.· That's all I know.
14· · · · Q· · Was there any investigation done into that, to
15· ·the best of your knowledge?
16· · · · A· · I have no idea.
17· · · · Q· · Okay.· So is it fair to say that you wouldn't
18· ·have hired -- based upon the knowledge that you have of
19· ·Mikey Ashers' and his background, is it fair to say that
20· ·you would not have hired him to be a deputy at the Knox
21· ·County Sheriff's Department?
22· · · · A· · He applied one time.· I didn't -- I didn't
23· ·hire him.
24· · · · Q· · Why is it that you didn't hire him?
25· · · · A· · I just didn't want to take a chance.




                                                                                PL 862
                                                                                 YVer1f
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·1· · · · Q· · And as sheriff, were you -- you realize that
·2· ·people working under your supervision had the -- an
·3· ·enormous amount of power to affect citizens' lives in
·4· ·Knox County, right?
·5· · · · A· · Yes.
·6· · · · · · ·MR. WILLIAMS:· Object to the form of the
·7· · · · question.
·8· · · · · · ·MR. WRIGHT:· I join that.
·9· ·BY MR. SLOSAR:
10· · · · Q· · And were you worried that Mikey Ashers might
11· ·abuse that power if he was hired at the Knox County
12· ·Sheriff's Department?
13· · · · A· · Yes.
14· · · · Q· · I'm going to ask you a little bit about when
15· ·you were a -- when you were the sheriff and how you
16· ·interacted with some of your employees, okay?
17· · · · A· · Okay.
18· · · · Q· · Do you remember, generally, how many deputies
19· ·worked under your supervision around the time of the
20· ·Mills' homicide in December of 2010?
21· · · · A· · Probably seven or eight.
22· · · · Q· · Okay.· And how did you interact with those
23· ·deputies during the normal course of operating there in
24· ·2010?
25· · · · A· · Well, we had to answer 911 calls, that was the




                                                                                PL 863
                                                                                 YVer1f
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·1· ·main thing, but we also did paper service, and they --
·2· ·each day, they worked on them when they had time, if
·3· ·they had time.
·4· · · · Q· · What's paper service, like, subpoenas or
·5· ·something?
·6· · · · A· · Yes.
·7· · · · Q· · Okay.· So you guys -- so the sheriff's
·8· ·department was responsible for securing the courthouse,
·9· ·right?
10· · · · A· · Yes.
11· · · · Q· · Okay.· And how many people did you have
12· ·assigned over to the Knox County Courthouse back in
13· ·2010?
14· · · · A· · Two.
15· · · · Q· · Okay.· And you remember their names?
16· · · · A· · In 2010, I -- I'm not sure.
17· · · · Q· · Okay.
18· · · · A· · They --
19· · · · Q· · That's fine.· I know it was a long time ago.
20· · · · A· · We replaced them a lot there.
21· · · · Q· · Okay.· And then other people under your
22· ·supervision were responsible for investigations --
23· · · · A· · No.
24· · · · Q· · -- out here?· No.
25· · · · A· · We didn't -- well, certain types of




                                                                                PL 864
                                                                                 YVer1f
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·1· ·investigations, burglaries, or something like that, yes.
·2· · · · Q· · What type of investigations in December of
·3· ·2010, would your agency re -- be responsible for
·4· ·investigating?
·5· · · · · · ·MR. WILLIAMS:· I made -- already made a
·6· · · · continuing objection to the word "responsibility,"
·7· · · · but that continues.· Thank you.· You can answer.
·8· · · · A· · We -- they would investigate burglaries or car
·9· ·wrecks, things like that.
10· · · · Q· · Okay.· So smaller investigations --
11· · · · A· · Yes.
12· · · · Q· · -- is that fair to say?· Okay.· So -- and
13· ·we're going to get into the Mills' homicide
14· ·investigation in a little bit, but was it -- would you
15· ·agree that by December 20, 2010, it was pretty rare for
16· ·your agency to be involved in a homicide investigation?
17· · · · A· · Yes, it -- we didn't do it.
18· · · · Q· · Okay.· And what would happen then with the
19· ·homicide investigations?· Would they get referred
20· ·elsewhere?
21· · · · A· · Yes.
22· · · · Q· · What agencies would they get referred to?
23· · · · A· · Kentucky State Police.
24· · · · Q· · Okay.· Did you have any sort of method for
25· ·checking in with your officers about investigations that




                                                                                PL 865
                                                                                 YVer1f
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·1· ·they were conducting?
·2· · · · A· · I would look over paperwork from time to time.
·3· · · · Q· · Okay.· Fair to say there wasn't a daily check-
·4· ·in process to see how investigations were coming along?
·5· · · · A· · No, I didn't do it daily.
·6· · · · Q· · Probably had a lot of things on your plate,
·7· ·right?
·8· · · · A· · Yes.
·9· · · · Q· · Did you ever check in with them at the
10· ·beginning of their shifts to see how investigations were
11· ·coming along?
12· · · · A· · I have before, yes.
13· · · · Q· · Did you do that daily?
14· · · · A· · No, I wouldn't say daily.
15· · · · Q· · Okay.· And how were police reports submitted
16· ·in the investigations that were being conducted at the
17· ·Knox County Sheriff's Department in 2010?
18· · · · A· · We had a -- everything was filed and they --
19· ·they kind of -- each person kept up with their own, and
20· ·when it was -- I guess when it was finished, we -- we --
21· ·well, we kept the file, you know.
22· · · · Q· · Okay.· Where -- what -- like, did you look
23· ·over every police report?
24· · · · A· · No, I didn't.
25· · · · Q· · Okay.· That would have been a lot of police




                                                                                PL 866
                                                                                 YVer1f
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·1· ·reports, right?
·2· · · · A· · (No verbal response.)
·3· · · · Q· · Were officers under your command required to
·4· ·give you their police reports to review?
·5· · · · A· · They wasn't required to, no.
·6· · · · Q· · Where were the investigation files maintained
·7· ·at the Knox County Sheriff's Department in 2010?
·8· · · · A· · We kept -- we kept some of the -- when we
·9· ·would file them away, we kept some in the office, and
10· ·then after a certain period of time, we stored them in
11· ·an outbuilding --
12· · · · Q· · Okay.
13· · · · A· · -- to keep up with them.· We had -- I mean, we
14· ·had to keep them, so we store them out there.
15· · · · Q· · Is there any sort of retention policy on how
16· ·long you -- the Knox County Sheriff's Department was
17· ·required to keep investigation files back in 2010?
18· · · · A· · There is, but I -- I'm not aware of how long.
19· ·Everyone's different.
20· · · · Q· · Probably been a long time, right?
21· · · · A· · Yeah, it has.
22· · · · Q· · I'm going to show you what we'll mark as
23· ·Exhibit number 4.· These are the policies and procedures
24· ·that were produced to us in this litigation. Mr.
25· ·Pickard, if you could take a look at this.




                                                                                PL 867
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·1· · · · · · · · · ·(EXHIBIT 4 MARKED FOR IDENTIFICATION)
·2· · · · · · ·MR. WILLIAMS:· I've got a copy of it.
·3· · · · · · ·MR. SLOSAR:· You sure?· Well, I got an extra
·4· · · · copy.· That's for everybody.
·5· · · · · · ·MR. WILLIAMS:· Oh, I've got one.· I'm good,
·6· · · · thanks.
·7· ·BY MR. SLOSAR:
·8· · · · Q· · Mr. Pickard, do you recognize these?
·9· · · · A· · Yes.
10· · · · Q· · Okay.· And what is this document?
11· · · · A· · It's policy and procedure.
12· · · · Q· · Okay.· And I know on the front of this
13· ·document, it looks like your signature is on there; is
14· ·that right?
15· · · · A· · Yes.
16· · · · Q· · Okay.· And when did you sign this?
17· · · · A· · Looks like 01/17/14.
18· · · · Q· · Okay.· Now, is -- still during the course of
19· ·the Mills' homicide investigation, correct?
20· · · · A· · Yes.
21· · · · Q· · Okay.· Before the case was dismissed, right?
22· · · · A· · Yes.
23· · · · Q· · Okay.· Now, my understanding is that although
24· ·these policies were revised in 2014, that these were the
25· ·actual policies and procedures that were in place from




                                                                                PL 868
                                                                                 YVer1f
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·1· ·the beginning of the Mills' homicide investigation on
·2· ·December 20, 2010, until the case was dismissed in 2016.
·3· ·Is that your understanding, sir?
·4· · · · · · ·MR. WILLIAMS:· Object to the form.
·5· · · · · · ·MR. WRIGHT:· I'll object to form.
·6· · · · A· · Yes.
·7· · · · Q· · Okay.· Sitting here today, do you recall any
·8· ·other policies or procedures from the Knox County
·9· ·Sheriff's Department having been in effect during the
10· ·course of the Mills' homicide investigation?
11· · · · A· · No.
12· · · · Q· · Okay.· And if you can, you know, just briefly
13· ·look through these policies or -- let me know when
14· ·you're done.· I just want to make sure that this is a
15· ·complete set of policies and procedures that were in
16· ·effect, and that no policies and procedures are missing
17· ·from this collection of documents.
18· · · · A· · I think that would be everything.
19· · · · Q· · So nothing's missing, from what you can tell,
20· ·correct?
21· · · · A· · Not that I can tell, no.
22· · · · Q· · Okay.
23· · · · · · ·MR. WILLIAMS:· Oh, Elliot, in the copy that
24· · · · I've got, I didn't see a section six, seven, or
25· · · · eight.




                                                                                PL 869
                                                                                 YVer1f
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·1· · · · MR. SLOSAR:· I've got six.
·2· · · · MR. WILLIAMS:· Mine jumps from five to eight.
·3· · · · MR. SLOSAR:· That might be a copying issue.
·4· ·What does yours have?
·5· · · · MR. FARAH:· Six is on the back of five.
·6· · · · MR. SLOSAR:· Six is just one line.
·7· · · · MS. STAPLES:· No, it looks like some have them
·8· ·and some don't.· Am I --
·9· · · · MR. SLOSAR:· Does -- is yours complete?
10· · · · MS. STAPLES:· Yeah.
11· · · · MR. WILLIAMS:· Oh, I see six now.· Seven's
12· ·blank.
13· · · · MR. SLOSAR:· Yeah, I don't see -- oh, seven --
14· ·but seven's blank on here, too, on your table of
15· ·contents.
16· · · · MR. WILLIAMS:· You're right.
17· · · · MR. SLOSAR:· And then it looks like 15 and 16
18· ·and 20 are blank, too.· And six is just one line.
19· ·Okay.
20· · · · MR. WILLIAMS:· I don't see -- well, it's just
21· ·--
22· · · · MR. SLOSAR:· Which one?
23· · · · MR. WILLIAMS:· Go ahead.· Sorry.
24· · · · MR. SLOSAR:· Is it complete to the table of
25· ·contents?




                                                                               PL 870
                                                                                YVer1f
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·1· · · · · · ·MR. WILLIAMS:· Well, there's --
·2· · · · · · ·MS. STAPLES:· I think it's confusing because
·3· · · · it doesn't list it at the top of the page, like,
·4· · · · what's...
·5· · · · · · ·MR. WILLIAMS:· Yeah.· I don't see traffic
·6· · · · checkpoints.
·7· · · · · · ·MR. SLOSAR:· Which --
·8· · · · · · ·MR. WILLIAMS:· Looks like ten.
·9· · · · · · ·MS. STAPLES:· I think it's --
10· · · · · · ·MR. SLOSAR:· Oh, yeah.· Ten doesn't have a
11· · · · number of pages.
12· · · · · · ·MR. WILLIAMS:· Yeah.· Maybe there isn't
13· · · · anything for that.· 11, uh-huh.· Yeah, it doesn't
14· · · · identify any pages for that section, so
15· ·BY MR. SLOSAR:
16· · · · Q· · All right.· So what's before you is what you
17· ·believe to be the complete policies and procedures that
18· ·were in effect at the time that the Katherine Mills'
19· ·homicide investigation began, and throughout the
20· ·investigation, correct?
21· · · · · · ·MR. WILLIAMS:· Object to the form.
22· · · · Q· · You can answer.
23· · · · A· · Yeah, this -- I think was revised, you know,
24· ·since that -- some, I don't know particularly which
25· ·ones.




                                                                                PL 871
                                                                                 YVer1f
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·1· · · · Q· · Okay.· How are these policies physically
·2· ·stored at the Knox County Sheriff's Department?
·3· · · · A· · They would have been in a cabinet file.
·4· · · · Q· · And you know what cabinet -- do you know what
·5· ·cabinet that would be in?
·6· · · · A· · No, I don't right off.
·7· · · · Q· · Okay.· Who has access to the cabinet at the
·8· ·Knox County Sheriff's -- well, let me strike that
·9· ·question.
10· · · · · · ·In 2010, who had access to the cabinet that
11· ·the Knox County Sheriff's Department's policies and
12· ·procedures would be kept in?
13· · · · A· · Probably, I'm thinking just the -- the office
14· ·manager.· I think we kept it in her office and it was
15· ·locked at night, so
16· · · · Q· · Who was the office manager back then, do you
17· ·remember?
18· · · · A· · My wife.
19· · · · Q· · Oh, your wife.· What was her name?
20· · · · A· · Libby.
21· · · · Q· · Libby?
22· · · · A· · Yes.
23· · · · Q· · Libby Pickard?
24· · · · A· · Yes.
25· · · · Q· · Okay.· It's a good name.· And are the policies




                                                                                PL 872
                                                                                 YVer1f
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·1· ·and procedures provided to employees when they're hired
·2· ·at the Knox County Sheriff's Department?
·3· · · · A· · I -- I'm not sure on that.
·4· · · · Q· · When you were sheriff, were there any sort of
·5· ·requirements that you -- that each of the employees be
·6· ·provided with a copy of the policies and procedures in
·7· ·effect at the time?
·8· · · · A· · Not that I recall.
·9· · · · Q· · Okay.· When you were sheriff, and during the
10· ·course of the Mills' homicide investigation, were
11· ·officers required to be apprised of any revisions to the
12· ·policies and procedures?
13· · · · · · ·MR. WILLIAMS:· Object to the form.
14· · · · A· · Not that I recall.
15· · · · Q· · When you were sheriff, were officers at the
16· ·Knox County Sheriff's Department required to review the
17· ·Knox County Sheriff's Department's policies and
18· ·procedures?
19· · · · A· · I -- I -- I just don't recall what we did or
20· ·not.· I don't remember.
21· · · · Q· · You don't recall any specific requirement that
22· ·would make officers to review the policies and
23· ·procedures that were --
24· · · · A· · No.
25· · · · Q· · And likewise, was there any sort of mandatory




                                                                                PL 873
                                                                                 YVer1f
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·1· ·training to employees of the Knox County Sheriff's
·2· ·Department on how to comply or follow the policies and
·3· ·procedures in effect?
·4· · · · A· · Not that I recall.
·5· · · · Q· · You never conducted one of those trainings,
·6· ·right?
·7· · · · A· · Not that I remember, no.
·8· · · · Q· · Sitting here today, you don't recall ever
·9· ·training any deputy or employee of the Knox County
10· ·Sheriff's Department on the policies or procedures in
11· ·effect, correct?
12· · · · A· · No, not that I remember.
13· · · · Q· · And you don't have any notes or anything at
14· ·home that would help refresh your memory as to whether
15· ·any such training occurred, correct?
16· · · · A· · No.
17· · · · Q· · When you were first hired -- well, let me
18· ·strike that question.
19· · · · · · ·When you were elected, did anybody re -- sit
20· ·you down and say that you were required to review the
21· ·policies and procedures?
22· · · · A· · No.
23· · · · Q· · So sitting here today, you can't recall any
24· ·training having taken place at the Knox County Sheriff's
25· ·Department on the policies or procedures that were --




                                                                                PL 874
                                                                                 YVer1f
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·1· ·that are before you, correct?
·2· · · · A· · Correct.
·3· · · · Q· · Sitting here today, can you think of any
·4· ·formal mechanisms that exist at the Knox County
·5· ·Sheriff's Department prior to 2010, for communicating
·6· ·the official policies and procedures of the Knox County
·7· ·Sheriff's Department to its employees?
·8· · · · A· · No.
·9· · · · Q· · Fair to say that these policies and procedures
10· ·that are before you aren't mandatory to its employees?
11· · · · · · ·MR. WILLIAMS:· Object to the form.
12· · · · A· · No, I wouldn't think so.
13· · · · Q· · Okay.· Fair to say, sitting here today, that
14· ·the policies and procedures that were in effect -- here,
15· ·let me strike that question.
16· · · · · · ·At the time of the Katherine Mills' homicide
17· ·investigation, is it fair to say that Knox County
18· ·employees weren't required to review the policies and
19· ·procedures of the department?
20· · · · · · ·MR. WILLIAMS:· Object to the form.
21· · · · A· · I don't -- they wasn't required to, no.
22· · · · Q· · And is it fair to say that by the time of the
23· ·Katherine Mills' homicide investigation, that employees
24· ·of Knox County weren't even required to follow the
25· ·policies and procedures of the Knox County Sheriff's




                                                                                PL 875
                                                                                 YVer1f
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·1· ·Department?
·2· · · · · · ·MR. WILLIAMS:· Object to the form.
·3· · · · A· · They was required to go by them.
·4· · · · Q· · But there was no requirement -- well, let me
·5· ·strike that question.
·6· · · · · · ·Sitting here today, you can't recall any
·7· ·training having taken place prior to the Katherine
·8· ·Mills' homicide investigation on the policies and
·9· ·procedures, correct?
10· · · · A· · I don't recall it, no.
11· · · · Q· · And sitting here today -- well, you testified
12· ·a few minutes ago, that employees of Knox County weren't
13· ·even required to review the policies and procedures when
14· ·they were hired, right?
15· · · · A· · Not when they was hired, no.
16· · · · Q· · By the time that the Katherine Mills' homicide
17· ·investigation started in December 20, 2010, were you
18· ·aware of any unwritten policies or procedures that
19· ·existed at the Knox County Sheriff's Department?
20· · · · A· · No.
21· · · · Q· · Prior to December 20, 2010, do you recall any
22· ·of the written policies or procedures at the Knox County
23· ·Sheriff's Department having ever been audited for their
24· ·effectiveness?
25· · · · A· · Not that I recall.




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·1· · · · Q· · Do you recall how often the policies and
·2· ·procedures of the Knox County Sheriff's Department were
·3· ·revised?
·4· · · · A· · No.· Derek Eubanks did that and he done all --
·5· ·and we went over them, but it was from time to time.                 I
·6· ·can't -- no, second time.
·7· · · · Q· · Fair to say that by the time that the Knox --
·8· ·the Katherine Mills' homicide investigation began in
·9· ·December 20, 2010, that there were no unwritten policies
10· ·or procedures on how to conduct witness interviews?
11· · · · · · ·MR. WILLIAMS:· Object to the form.
12· · · · A· · None I know of.
13· · · · Q· · Fair to say that at the time that the
14· ·Katherine Mills' homicide investigation be -- began on
15· ·December 20, 2010, that there were no unwritten policies
16· ·or procedures on the documentation of witness interviews
17· ·and police reports?
18· · · · · · ·MR. WILLIAMS:· Object to the form.
19· · · · A· · Not that I know of.
20· · · · Q· · Fair to say that by the time that the
21· ·Katherine Mills' homicide investigation began, there
22· ·were no unwritten policies or procedures on documenting
23· ·promises of leniency to witnesses?
24· · · · A· · No.
25· · · · Q· · Fair to say that by the time the Katherine




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·1· ·Mills' homicide investigation began, that there were no
·2· ·unwritten policies or procedures on interview techniques
·3· ·with witnesses in a homicide investigation?
·4· · · · A· · No.
·5· · · · Q· · Fair to say that by the time that the
·6· ·Katherine Mills' homicide investigation began in
·7· ·December of 2010, that there were no unwritten policies
·8· ·or procedures on how to avoid suggestive lineups or
·9· ·photo arrays?
10· · · · A· · Not --
11· · · · · · ·MR. WILLIAMS:· Object to the form.
12· · · · A· · Not that I recall.
13· · · · Q· · Fair to say that by the time the Katherine
14· ·Mills' homicide investigation began, that there were no
15· ·unwritten policies or procedures on how to conduct a
16· ·lineup or a photo array?
17· · · · A· · Not that I recall.
18· · · · Q· · Fair to say that by the time the Katherine
19· ·Mills' homicide investigation began in December of 2010,
20· ·that there were no unwritten policies or procedures
21· ·which instructed police officers not to fabricate
22· ·evidence?
23· · · · · · ·MR. WILLIAMS:· Object to the form.
24· · · · A· · Not that I recall.
25· · · · Q· · Why did you sign the front page of the




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·1· ·policies and procedures?
·2· · · · A· · I -- I have no idea.
·3· · · · Q· · Somebody tell you to sign it?
·4· · · · A· · I guess, I don't know.· Might have been me.
·5· · · · Q· · All right.· When you signed it, were you
·6· ·signing it as part of your reveal -- review process?
·7· · · · A· · I re -- looked through it before I signed it,
·8· ·but --
·9· · · · Q· · I got a quick question.· You know, earlier you
10· ·asked -- I have a lot of questions, I'm sorry, but this
11· ·one is quick.· Earlier you said that Mikey Ashers, that
12· ·you did not hire him, right?
13· · · · A· · Yes.
14· · · · Q· · Okay.· And that was based upon concerns that
15· ·you had about him being an officer in your department,
16· ·correct?
17· · · · A· · Yes.
18· · · · Q· · Okay.· And Sheriff Mike Smith eventually took
19· ·over for you in 2015, right?
20· · · · A· · Yes.
21· · · · Q· · Okay.· When Sheriff Smith took over to you,
22· ·would he have had access to -- would he have had access
23· ·or knowledge of the fact that Mikey Ashers had applied
24· ·at the Knox County Sheriff's department previously and
25· ·was rejected?




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·1· · · · · · ·MR. WILLIAMS:· Requires him to speculate.
·2· · · · Q· · You can answer.
·3· · · · A· · That -- where he put in for it was there
·4· ·somewhere --
·5· · · · Q· · Yeah.
·6· · · · A· · -- filed somewhere.· But he really wasn't
·7· ·rejected, I just never interviewed him ever.
·8· · · · Q· · Okay.· And you purposely never interviewed him
·9· ·because you had concerns about his -- about whether he
10· ·would be a good police officer or not for your
11· ·department, right?
12· · · · A· · I guess you could say that, yes.
13· · · · Q· · Okay.· And why, again, did you have those
14· ·concerns?
15· · · · · · ·MR. WILLIAMS:· Asked and answered.
16· · · · Q· · You can answer.
17· · · · A· · Well, I just -- I mean, I had heard he was
18· ·hard -- he had problem dealing with people, and I didn't
19· ·want -- I didn't want that.
20· · · · Q· · Do you remember where you heard that from?
21· · · · A· · No, I don't.· Word travels, I don't -- I don't
22· ·remember.
23· · · · Q· · Could it have been from another law
24· ·enforcement agency?
25· · · · A· · It could have been.· I don't -- I don't




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                                                                                 YVer1f
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·1· ·remember.
·2· · · · Q· · Sir, I'm going to just -- let's -- Mr.
·3· ·Pickard, let's go through these policies real quick,
·4· ·okay?· It looks like the first policy and procedure is -
·5· ·- and I'm looking at page 2.· The first policy and
·6· ·procedure deals with personnel records, right?· It's on
·7· ·page 2.
·8· · · · A· · Yes.
·9· · · · Q· · Okay.
10· · · · Q· · This policy requires a personnel file to be
11· ·maintained by the bookkeeper or appropriate designee for
12· ·each employee; is that right?
13· · · · A· · Yes.
14· · · · Q· · And it's your understanding that that would
15· ·include the sheriff himself, right --
16· · · · A· · Uh-huh.· Yes.
17· · · · Q· · -- or herself, if Knox County had a female
18· ·sheriff --
19· · · · A· · Yes.
20· · · · Q· · -- right?· And that when you were employed
21· ·there at the Knox County Sheriff's Department in 2015,
22· ·at the time that you left there in 2015, that you
23· ·yourself had a personnel file that existed, correct?
24· · · · A· · Yes.
25· · · · Q· · Okay.· And that was in conformance with the




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·1· ·first policy and procedure of Knox County which requires
·2· ·a personnel file to be kept for each employee, right?
·3· · · · A· · Yes.
·4· · · · Q· · Okay.· Now, let's -- the next policy and
·5· ·procedure deals with false credentials; is that right?
·6· · · · A· · Yes.
·7· · · · Q· · Okay.· And it's fair to say that that sort of
·8· ·-- if somebody lies during the application process this,
·9· ·you know, gives the sheriff's department a way to
10· ·terminate that person?
11· · · · A· · Yes.
12· · · · Q· · Okay.· And I'm going to try to skip through
13· ·some of this stuff, but looking at the first seven
14· ·pages, Mr. Pickard, is it fair to say -- well, actually,
15· ·I'm going to ask that you look through the first nine
16· ·pages, which is the first policy and procedure.· And
17· ·when you look through there, the question that I'm going
18· ·to ask is:· Would you agree that none of these policies
19· ·and procedures relate to criminal investigations being
20· ·conducted by the Knox County Sheriff's Department?
21· · · · A· · I don't see anything to that.
22· · · · Q· · Okay.· And it looks like the next policy and
23· ·procedure, which it goes back to change 1 -- page 1, it
24· ·says, Chain of command, so you're on there.· You're on
25· ·that same page, yep.· But you agree that the second




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·1· ·policy and procedure just relates to chain of command;
·2· ·is that right?
·3· · · · A· · Yes.
·4· · · · Q· · Okay.· And again, nothing in this policy or
·5· ·procedure provides any guidance or instruction for
·6· ·officers on how to conduct a criminal investigation; is
·7· ·that right?
·8· · · · A· · Not that I recall, no.
·9· · · · Q· · Okay.· The next policy and procedure on the
10· ·following page relates to discipline; is that right?
11· ·Sorry, it's on the back side.
12· · · · A· · Yes.
13· · · · Q· · Okay.· Did you ever discipline any officer
14· ·under your command, when you were sheriff, for
15· ·fabricating evidence?
16· · · · A· · Not that I remember, no.
17· · · · Q· · When you were sheriff, did you ever discipline
18· ·any officer for withholding exculpatory evidence?
19· · · · A· · No.
20· · · · Q· · When you were sheriff, did you ever discipline
21· ·any officer for coercing witnesses?
22· · · · A· · No.
23· · · · Q· · When you were sheriff, did you ever discipline
24· ·any officer for conducting a suggestive lineup or a
25· ·photo array?




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·1· · · · A· · No, not that I recall.
·2· · · · Q· · When you were sheriff, did you ever discipline
·3· ·any officer for initiating charges against an innocent
·4· ·person?
·5· · · · A· · No.
·6· · · · Q· · Do you recall discipline -- disciplining
·7· ·anyone under your command between 2005 and December 20,
·8· ·2010?
·9· · · · A· · Not that I recall, no.
10· · · · Q· · Do you recall disciplining anyone under your
11· ·command between December 20, 2010 and January of 2015
12· ·when you left?
13· · · · A· · Not that I recall.
14· · · · Q· · Okay.· So the next -- looks like the next
15· ·policy and procedure relates to the use of vehicles,
16· ·that's policy and procedure number 4.· Are you there?
17· ·Oh, you're there.· This page.
18· · · · A· · Number 4?
19· · · · Q· · Yeah.
20· · · · A· · Okay.· Yeah.
21· · · · Q· · Okay.· Would you, you know, browse through
22· ·this section real quick and, you know, the question that
23· ·I pose to you is:· Is it fair to say that nothing in
24· ·this policy and procedure provides any guidance or
25· ·instruction to officers on how to conduct a criminal




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·1· ·investigation?
·2· · · · A· · I don't see anything, no.
·3· · · · Q· · Okay.· I'm going to ask that you turn to the
·4· ·next policy and procedure number 5.
·5· · · · A· · Okay.
·6· · · · Q· · It looks like it's the use of -- really, into
·7· ·the use of firearms.· Are you there?
·8· · · · A· · Yes.
·9· · · · Q· · Okay.· At the bottom, it has some instructions
10· ·on the use of firearms.· Do you see that?
11· · · · A· · Uh-huh.· Yes.
12· · · · Q· · Okay.· And it says, "Officers or employees --
13· ·and employees authorized to handle firearms are
14· ·prohibited from recklessly handling any firearm, dry
15· ·snapping any weapon, except on the firing range, and
16· ·holstering or carrying a weapon in a cock position," do
17· ·you see that?
18· · · · A· · Yes.
19· · · · Q· · Okay.· At the time that you -- well, would you
20· ·agree with me that none of these policies or procedures
21· ·provide any guidance or instruction to officers on how
22· ·to conduct a criminal investigation?
23· · · · A· · Yes.
24· · · · Q· · Okay.· Mr. Pickard, we just went over some
25· ·pretty specific instructions with firearms.· At the time




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·1· ·that you declined to interview and hire Mikey Ashers,
·2· ·did you trust that he would be able to use a firearm at
·3· ·the Knox County Sheriff's Department in conformance with
·4· ·this policy?
·5· · · · · · ·MR. WILLIAMS:· Let me just enter an objection.
·6· · · · I'm having trouble understanding how this line of
·7· · · · questioning regarding Mr. Asher relates to this
·8· · · · lawsuit?
·9· ·BY MR. SLOSAR:
10· · · · Q· · You can answer the question, sir.
11· · · · · · ·MR. WILLIAMS:· Or anything discoverable about
12· · · · it.· Just make a continuing objection to it.
13· · · · A· · I have no idea.· I didn't know him personally.
14· · · · Q· · Okay.· But you worried about how he would
15· ·interact with people, right?
16· · · · A· · That was my main concern, yes.
17· · · · Q· · Did you ever fear that Mr. Ashers would abuse
18· ·his firearm if he was hired at the Knox County Sheriff's
19· ·Department?
20· · · · A· · I have no idea.
21· · · · Q· · I'm going to refer you to the next policy
22· ·that's on use of force.· Are you there?· It's one line.
23· · · · A· · Yes.
24· · · · Q· · Okay.· Now, this policy says, "Use only force
25· ·necessary to effect arrest as trained," is that right?




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·1· · · · A· · Yes.
·2· · · · Q· · Okay.· What -- by the time you left the Knox
·3· ·County Sheriff's Department in 2015, what training was
·4· ·provided to deputies on use of force?
·5· · · · A· · They did 40 hours a week at -- you know, each
·6· ·year, and I'm sure they've had that, but --
·7· · · · Q· · Did the Knox County Sheriff's Department
·8· ·directly train any of its employees by the time you left
·9· ·in 2015, on use of force?
10· · · · A· · No.
11· · · · · · ·MR. WILLIAMS:· Object to the form.
12· · · · Q· · Was there any method by which you as sheriff
13· ·would assess or monitor whether officers under your
14· ·command understood the use of force policy properly?
15· · · · A· · I think they all understood it, yes.
16· · · · Q· · Did you ever test them on it?
17· · · · A· · No, I can't say that I did.
18· · · · Q· · Were there -- was there ever any guidance
19· ·provided to officers under your command on escalation
20· ·techniques?
21· · · · A· · Not that I recall.
22· · · · · · ·MR. WILLIAMS:· You're asking by his
23· · · · department?
24· · · · Q· · By your department, yes.
25· · · · A· · Not that I recall.




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·1· · · · Q· · Okay.· You would agree that nothing in this
·2· ·policy and procedure provides any instruction or
·3· ·guidance to officers at the Knox County Sheriff's
·4· ·Department on how to conduct a criminal investigation,
·5· ·right?
·6· · · · A· · Not that I know of, I'm aware of, no.
·7· · · · Q· · Okay.· Let's look at the next policy and
·8· ·procedure, which is number 8.· This deals with domestic
·9· ·violence, correct?
10· · · · A· · Yes.
11· · · · Q· · Is it fair to say that this policy and
12· ·procedure only relates to domestic violence calls?
13· · · · A· · I don't know.· I'd have to read it.
14· · · · Q· · Okay.· Look it over real quick.
15· · · · A· · Looks like it's all to do with domestic
16· ·violence.
17· · · · Q· · Okay.· So this policy or procedure wouldn't
18· ·provide any guidance or instruction to officers on how
19· ·to handle an investigation which is unrelated to
20· ·domestic violence.· Is that fair to say?
21· · · · A· · Yes.
22· · · · Q· · There's no guidance or instructions in this
23· ·policy or procedure on how to conduct a homicide
24· ·investigation, right?
25· · · · A· · Yes.




                                                                                PL 888
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·1· · · · Q· · Okay.· All right.· Let's go to the next policy
·2· ·and procedure, number 9.· This relates to evidence on
·3· ·lost property.· Sheriff Pickard, would you agree that
·4· ·this policy and procedure provides instructions to
·5· ·officers on how to handle evidence?
·6· · · · A· · Yes.
·7· · · · Q· · Okay.· And would you agree that the main focus
·8· ·of this policy and procedure is to assure that evidence
·9· ·is handled in a proper way, and that chain of custody is
10· ·appropriately maintained?
11· · · · A· · Yes.
12· · · · Q· · Okay.· Again, this policy or procedure doesn't
13· ·provide any instruction to officers on how to conduct a
14· ·homicide investigation, correct?
15· · · · A· · Yes.
16· · · · Q· · Let's look at the next policy or procedure,
17· ·number 11.· This relates to citations.· Please look over
18· ·this.· Let me know when you're finished, Mr. Pickard.
19· · · · A· · Okay.· I think I've got it now.
20· · · · Q· · Okay.· So what's the purpose of this policy or
21· ·procedure?
22· · · · A· · To how to -- I guess, how to do a citation
23· ·correctly and all the information you need to put on it.
24· · · · Q· · Okay.· So fair to say that this is -- the
25· ·purpose of this policy or procedure is to assure that




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·1· ·officers at the Knox County Sheriff's Department are
·2· ·filling out citations completely?
·3· · · · A· · Yes.
·4· · · · Q· · Okay.· And that in addition, that this policy
·5· ·or procedure provides direction to officers at the Knox
·6· ·County Sheriff's Department on the order that citations
·7· ·should be stapled and handed in?
·8· · · · · · ·MR. WILLIAMS:· Object to the form.
·9· · · · A· · Yes.
10· · · · Q· · Okay.· Fair to say that this policy or
11· ·procedure does not provide any guidance or instruction
12· ·to officers on how to conduct a homicide investigation?
13· · · · A· · Yes.
14· · · · Q· · Okay.· Let's turn to the next policy or
15· ·procedure.· This is a policy or procedure named,
16· ·Collision Reports.· Do you see that?
17· · · · A· · Yes.
18· · · · Q· · Okay.· Again, is it fair to say that this
19· ·policy or procedure provides instructions to officers on
20· ·how to handle a car accident investigation?
21· · · · A· · Yes.
22· · · · Q· · Okay.· Fair to say that this policy or
23· ·procedure doesn't provide any guidance or instruction on
24· ·how to handle a homicide investigation?
25· · · · A· · Yes.




                                                                                PL 890
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·1· · · · Q· · Okay.· Let's look at the next policy or
·2· ·procedure, number 13, dealing with case, incident, car
·3· ·reports.· Are you there?
·4· · · · A· · Yes, I'm there.
·5· · · · Q· · Again, is it fair to say that this policy and
·6· ·procedure relates to filling out a police report in a
·7· ·car accident case?
·8· · · · A· · Yes.
·9· · · · Q· · Okay.· Fair to say, again, this policy or
10· ·procedure doesn't provide any instruction or guidance to
11· ·officers conducting a homicide investigation?
12· · · · A· · Yes.
13· · · · Q· · Okay.· Go to the next policy or procedure. The
14· ·vehicle holder, wrecker list.· Would you agree that this
15· ·policy or procedure does not provide any guidance or
16· ·instructions on how to handle a homicide investigation?
17· · · · A· · Yes.
18· · · · Q· · Okay.· Let's look at number 17, Appearance and
19· ·Dress Code.· Would you agree that this policy and
20· ·procedure doesn't provide any instruction or guidance to
21· ·officers on how to handle a homicide investigation?
22· · · · A· · Yes.
23· · · · Q· · Okay.· And in fact, it doesn't provide any
24· ·instruction or guidance to officers on how to conduct an
25· ·investigation at all, right?




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                                                                                 YVer1f
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·1· · · · A· · Yes.
·2· · · · Q· · Okay.· Let's look at the next one, number 18,
·3· ·that deals with social networking and internet postings.
·4· ·Would you agree that this policy or procedure does not
·5· ·provide any guidance or instruction to officers of the
·6· ·Knox County Sheriff's Department on how to conduct a
·7· ·criminal investigation?
·8· · · · A· · Yes.
·9· · · · Q· · Okay.· Number 19, this policy or procedure,
10· ·would you agree that it does not provide any instruction
11· ·or guidance to officers at the Knox County Sheriff's
12· ·Department, on how to conduct a criminal investigation?
13· · · · A· · Yes.· Yes.
14· · · · Q· · Okay.· Looking at the last one, number 21,
15· ·would you agree that this policy or procedure relating
16· ·to cell phones and computers, doesn't provide any
17· ·guidance or instruction to officers of the Knox County
18· ·Sheriff's Department on how to conduct a criminal
19· ·investigation?
20· · · · A· · Yes.
21· · · · Q· · Okay.
22· · · · · · ·MR. WILLIAMS:· Elliot, can we take a break?
23· · · · · · ·MR. SLOSAR:· For sure.· Yeah.
24· · · · · · ·VIDEOGRAPHER:· Off the record.
25· · · · · · · · · ·(OFF THE RECORD)




                                                                                PL 892
                                                                                 YVer1f
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·1· · · · · · ·VIDEOGRAPHER:· Back on the record.
·2· ·BY MR. SLOSAR:
·3· · · · Q· · All right.· Mr. Pickard, we went through a
·4· ·little bit of this earlier, and I'm just going to do it
·5· ·in a more specific fashion.· In 2007, was there a policy
·6· ·or procedure in place at the Knox County Sheriff's
·7· ·Department that informed officers that they should not
·8· ·fabricate evidence?
·9· · · · A· · I wouldn't know that for sure.
10· · · · Q· · Okay.· Sitting here today, do you recall a
11· ·single policy or procedure in place that informed the
12· ·officers that they should not fabricate evidence?
13· · · · A· · I don't recall anything like that.
14· · · · Q· · Okay.· And obviously we just went through the
15· ·written policies and procedures, and there wasn't a
16· ·single written policy or procedure in place, at least by
17· ·2010, that informed officers that they should not
18· ·fabricate evidence, correct?
19· · · · A· · Yes.
20· · · · Q· · Okay.· Well, what does it mean to fabricate
21· ·evidence?
22· · · · · · ·MR. WRIGHT:· Object to form.
23· · · · · · ·MR. WILLIAMS:· I'll join.
24· · · · A· · It means you're breaking the law.· I mean --
25· · · · Q· · Did you ever have any training sessions for




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                                                                                 YVer1f
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·1· ·your employees when you were sheriff, where you gave
·2· ·them instructions on how to not fabricate evidence?
·3· · · · A· · I'm sure they had that training in Richmond.
·4· ·No, I didn't.
·5· · · · Q· · Okay.· And are you aware of any training by
·6· ·the Knox County Sheriff's Department that instructed
·7· ·officers not to fabricate evidence?
·8· · · · A· · Not that I recall.
·9· · · · Q· · Okay.· Fair to say that the Knox County
10· ·Sheriff's Department never instructed their officers
11· ·that fabricating evidence is a violation of a criminal
12· ·defendant's constitutional right?
13· · · · A· · I don't recall.
14· · · · Q· · Can't recall that type of training ever had
15· ·been done at Knox County, right?
16· · · · A· · No.
17· · · · Q· · Fair to say that by the beginning of the
18· ·Mills' homicide investigation, that there was no
19· ·mechanism in place to assure that officers did not
20· ·fabricate evidence?
21· · · · A· · Not -- not -- I don't recall anything.
22· · · · Q· · You testified earlier that you never penalized
23· ·or disciplined an officer for fabricating evidence,
24· ·right?
25· · · · · · ·MR. WILLIAMS:· Object to the form of the




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                                                                                 YVer1f
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·1· · · · question.· Assumes facts not in evidence.
·2· · · · Q· · You can answer.
·3· · · · A· · I don't recall anything like that.
·4· · · · Q· · In 2007, were you aware of any written policy
·5· ·or procedure that informed officers at the Knox County
·6· ·Sheriff's Department, that they were required to
·7· ·preserve any material or information that tended to
·8· ·negate the guilt of the accused or reduce his or her
·9· ·punishment for a crime?
10· · · · · · ·MR. WILLIAMS:· Object to the form.
11· · · · · · ·MR. WRIGHT:· Join.
12· · · · A· · I don't recall anything.
13· · · · Q· · Okay.· And again, we went through the written
14· ·policies or procedures a few moments ago, and there's
15· ·nothing in those written policies or procedures that
16· ·provides any instructions to officers, that would guide
17· ·them and inform them that they're required to preserve
18· ·exculpatory evidence and disclose that evidence to the
19· ·prosecution or defense, correct?
20· · · · · · ·MR. WILLIAMS:· Object to the form.
21· · · · · · ·MR. WRIGHT:· Join.
22· · · · A· · Correct.
23· · · · Q· · And you don't ever recall the Knox County
24· ·Sheriff's Department providing any training to employees
25· ·on this issue, correct?




                                                                                PL 895
                                                                                 YVer1f
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·1· · · · A· · Not the sheriff's department, no.
·2· · · · Q· · And you personally, as the Knox County
·3· ·sheriff, prior to leaving in 2015, and since being hired
·4· ·in 2003, you never provided any training to your
·5· ·employees on the preservation and disclosure of
·6· ·exculpatory evidence, correct?
·7· · · · · · ·MR. WILLIAMS:· Your question is stated -- is
·8· · · · asking internally at his department?
·9· · · · · · ·MR. SLOSAR:· Yes.
10· · · · · · ·MR. WILLIAMS:· Because there's a difference
11· · · · between --
12· · · · · · ·MR. SLOSAR:· I understand.
13· · · · · · ·MR. WILLIAMS:· -- requiring your officers to
14· · · · attend the required training.
15· · · · · · ·MR. SLOSAR:· I -- yes.· Different question.
16· · · · · · ·MR. WILLIAMS:· Uh-huh.
17· ·BY MR. SLOSAR:
18· · · · Q· · You can answer.
19· · · · · · ·MR. WILLIAMS:· Go ahead.
20· · · · A· · Not at the -- not through the sheriff's
21· ·department, no.
22· · · · Q· · Yep.· And again, you've never personally
23· ·provided this instruction to any of the deputies under
24· ·your command, correct?
25· · · · A· · Correct.




                                                                                PL 896
                                                                                 YVer1f
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·1· · · · Q· · And there was no mechanism in place to assure
·2· ·that police officers were documenting and disclosing as
·3· ·exculpatory evidence, while you were sheriff between
·4· ·2003 and 2015, correct?
·5· · · · A· · Correct.
·6· · · · Q· · And by the time of the Mills' homicide
·7· ·investigation in 2010, is it fair to say that there was
·8· ·no policy or procedure in place at the Knox County
·9· ·Sheriff's Department, that required officers to document
10· ·interviews with witnesses during the course of a
11· ·criminal investigation?
12· · · · A· · Not that I'm aware of.
13· · · · Q· · And again, we went through the written
14· ·policies and procedures earlier.· There's nothing in
15· ·there that provides guidance or instruction on this
16· ·topic, correct?
17· · · · A· · Yes.
18· · · · Q· · And you personally, but between the years of
19· ·2003 and 2015, never informed or instructed your
20· ·officers on how to document witness interviews, during
21· ·the course of a criminal investigation, correct?
22· · · · A· · Correct.
23· · · · Q· · And there was no mechanism in place at the
24· ·Knox County Sheriff's Department between 2003 and 2015
25· ·to assure that officers were documenting witness




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                                                                                 YVer1f
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·1· ·interviews in an appropriate fashion, correct?
·2· · · · · · ·MR. WILLIAMS:· Object to the form.
·3· · · · A· · Yes.
·4· · · · Q· · By 2010, were you aware of any written policy
·5· ·or procedure that existed at the Knox County Sheriff's
·6· ·Department, instructing officers not to coerce witnesses
·7· ·in a criminal investigation?
·8· · · · A· · Not that I'm aware of.
·9· · · · Q· · And again, you never personally trained or
10· ·instructed any of your officers not to coerce witnesses
11· ·in a criminal investigation, correct?
12· · · · A· · Correct.
13· · · · Q· · And there was no mechanism in place at the
14· ·Knox County Sheriff's Department that audited or -- let
15· ·me withdraw that question.
16· · · · · · ·There was no mechanism in place between 2003
17· ·and 2015 at the Knox County Sheriff's Department,
18· ·assuring that officers did not coerce witnesses in a
19· ·criminal investigation, correct?
20· · · · · · ·MR. WILLIAMS:· Object to the form.
21· · · · A· · Correct.
22· · · · Q· · And again, between 2003 and 2015, you never
23· ·disciplined a single officer for coercing a witness,
24· ·correct?
25· · · · A· · Not that I recall, no.




                                                                                PL 898
                                                                                 YVer1f
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·1· · · · Q· · Between 2003 and 2015, was there a policy or
·2· ·procedure in place at the Knox County Sheriff's
·3· ·Department that required officers to document any
·4· ·promises of consideration made to a witness in a
·5· ·criminal investigation?
·6· · · · A· · Not that I'm aware of.
·7· · · · Q· · And again, you didn't provide, as sheriff,
·8· ·between 2003 and 2015, you didn't provide any direct
·9· ·training or give instructions to officers, that they
10· ·need to document promises of consideration to a witness
11· ·in a criminal investigation, correct?
12· · · · A· · Correct.
13· · · · Q· · Between 2003 and 2015, who was tasked with the
14· ·responsibility and had the authority at the Knox County
15· ·Sheriff's Department, to maintain discipline of
16· ·officers?
17· · · · · · ·MR. WILLIAMS:· Object to the words
18· · · · "responsibility" and "authority."· They may have a
19· · · · legal connotation and continuing with that
20· · · · objection made, you can answer the question.
21· · · · A· · Myself and Derek Eubanks.
22· ·BY MR. SLOSAR:
23· · · · Q· · What was Derek Eubanks' position in December
24· ·2010 at the Knox County Sheriff's Department?
25· · · · A· · Chief deputy.




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                                                                                 YVer1f
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·1· · · · Q· · Okay.· What efforts were made between 2003 and
·2· ·2015 when you left, to investigate officers who were
·3· ·accused of withholding exculpatory evidence?
·4· · · · · · ·MR. WILLIAMS:· Object to the form.· Assumes
·5· · · · facts not in evidence.
·6· · · · A· · None I know of.
·7· · · · Q· · Between 2003 and 2015 when you were sheriff,
·8· ·what efforts were made to investigate officers who were
·9· ·accused of fabricating evidence?
10· · · · · · ·MR. WILLIAMS:· Same objection.
11· · · · A· · None I know of.
12· · · · Q· · What efforts were made between 2003 and 2015
13· ·to investigate officers who were accused of coercing
14· ·witnesses?
15· · · · · · ·MR. WILLIAMS:· Same objection.
16· · · · A· · None I know of.
17· · · · Q· · What efforts were made between 2003 and 2015
18· ·to identify officers who were withholding exculpatory
19· ·evidence?
20· · · · · · ·MR. WILLIAMS:· Object to the form.· Assumes
21· · · · facts not in evidence.
22· · · · A· · None I know of.
23· · · · Q· · Between 2003 and 2015, what efforts were made
24· ·to identify officers who were fabricating evidence?
25· · · · · · ·MR. WILLIAMS:· Object to the form.· Assumes




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·1· · · · facts not in evidence.
·2· · · · A· · None I know of.
·3· · · · Q· · Between 2003 and 2015, what efforts were made
·4· ·to identify officers who were coercing witnesses?
·5· · · · · · ·MR. WILLIAMS:· Same objection.
·6· · · · A· · None I know of.
·7· · · · Q· · What efforts were made between 2003 and 2015
·8· ·to prevent police officers from withholding exculpatory
·9· ·evidence?
10· · · · A· · None I know of.
11· · · · · · ·MR. WILLIAMS:· Same objection.
12· · · · Q· · Between 2003 and 2015, what efforts were made
13· ·to prevent police officers from fabricating evidence?
14· · · · · · ·MR. WILLIAMS:· Same objection.
15· · · · A· · None I know of.
16· · · · Q· · Between 2003 and 2015, what efforts were made
17· ·to prevent police officers from coercing witnesses?
18· · · · · · ·MR. WILLIAMS:· Same objection.
19· · · · A· · None I know of.
20· · · · Q· · Between 2003 and 2015, what efforts were made
21· ·to discipline officers for withholding exculpatory
22· ·evidence?
23· · · · · · ·MR. WILLIAMS:· Same objection.
24· · · · A· · None I know of.
25· · · · Q· · Between 2003 and 2015, what efforts were made




                                                                                PL 901
                                                                                 YVer1f
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·1· ·to discipline officers for fabricating evidence?
·2· · · · · · ·MR. WILLIAMS:· Same objection.
·3· · · · A· · None I know of.
·4· · · · Q· · Between 2003 and 2015, what efforts were made
·5· ·to discipline officers who were accused of coercing
·6· ·witnesses?
·7· · · · · · ·MR. WILLIAMS:· Same objection.
·8· · · · A· · None I know of.
·9· · · · Q· · Mr. Pickard, did you know Amanda Hoskins prior
10· ·to December 20, 2010, when the Mills' investigation
11· ·began?
12· · · · A· · Yes.
13· · · · Q· · How did you know Amanda?
14· · · · A· · I knowed [sic] of her on -- where she was
15· ·charged with a hit-and-run.
16· · · · Q· · Okay.
17· · · · A· · That's the first that I remember.
18· · · · Q· · What do you remember about the hit-and-run
19· ·incident?
20· · · · A· · I didn't -- I don't remember a lot about it. I
21· ·just remember a kid was hit with a car and was
22· ·hospitalized.· I don't -- I don't know nothing about the
23· ·case because I didn't work it.· I didn't
24· · · · Q· · Sitting here today, do you even remember who
25· ·was driving the car?




                                                                                PL 902
                                                                                 YVer1f
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·1· · · · A· · I doubt she was.· I don't know that to be a
·2· ·fact, though.
·3· · · · Q· · Okay.· Aside from the hit-and-run incident,
·4· ·did you have any other run-ins with Amanda Hoskins prior
·5· ·to December of 2010?
·6· · · · · · ·MR. WILLIAMS:· Object to the form of the
·7· · · · question.· You can answer.
·8· · · · A· · Just on a couple of arrest, but you mean prior
·9· ·to December 20th?
10· · · · Q· · Yeah.
11· · · · A· · None I remember, no.
12· · · · Q· · Okay.· Did you know Jonathan Taylor prior to
13· ·December 20, 2010?
14· · · · A· · No.
15· · · · Q· · Did you know William Lester prior to December
16· ·20, 2010?
17· · · · A· · I knowed of him, but I didn't -- I didn't know
18· ·him personally.
19· · · · Q· · Okay.· What'd you know of him, do you
20· ·remember?
21· · · · A· · Just the name.
22· · · · Q· · Did you know Mike Simpson prior to December
23· ·20, 2010?
24· · · · A· · Not that I remember, no.
25· · · · Q· · Did you know Allen Helton prior to December




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                                                                                 YVer1f
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·1· ·20, 2010?
·2· · · · A· · Yes.
·3· · · · Q· · How did you know Mr. Helton?
·4· · · · A· · Where he was arrested on different things.
·5· · · · Q· · Was Mr. Helton in trouble often?
·6· · · · · · ·MR. WRIGHT:· Object to form.
·7· · · · · · ·MR. WILLIAMS:· I'll join.
·8· · · · Q· · Sorry, I'm just getting a highlighter.
·9· · · · · · ·MR. WILLIAMS:· Did you understand that
10· · · · question, Mr. Pickard?
11· · · · A· · Yeah.· He was -- he was in trouble pretty
12· ·regular.
13· · · · Q· · What kind of criminal cases you recall Mr.
14· ·Helton getting caught up in prior to the murder of Ms.
15· ·Mills?
16· · · · A· · Theft, mostly.
17· · · · Q· · Okay.· Fair to say that he was usually trying
18· ·to find ways to make money?
19· · · · A· · I guess.
20· · · · · · ·MR. WILLIAMS:· Requires him to speculate.
21· · · · A· · I -- I don't know what his reason was.
22· · · · Q· · Okay.· Were you aware of whether Mr. Helton
23· ·had a pill addiction prior to Ms. Mills' death?
24· · · · · · ·MR. WRIGHT:· Object to form.
25· · · · A· · I -- I don't really -- I don't know.· I don't




                                                                                PL 904
                                                                                 YVer1f
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·1· ·-- don't know what his problem was.
·2· · · · Q· · Did you know a person by the name of Robert
·3· ·Beach prior to December 20, 2010?
·4· · · · A· · No.
·5· · · · Q· · Did you know Amber Simpson prior to December
·6· ·20, 2010?
·7· · · · A· · Not her, no.
·8· · · · Q· · Did you now Christy Branson prior to December
·9· ·20, 2010?
10· · · · A· · Yes.
11· · · · Q· · How did you know Christy?
12· · · · A· · She had been in trouble a few times.
13· · · · Q· · Do you remember what kind of trouble?
14· · · · A· · Not right off, I don't.
15· · · · Q· · Prior to December 20, 2010 -- well, let me
16· ·strike that. At some point during the course of the
17· ·Mills' homicide investigation, were you aware that Allen
18· ·Helton was working as an informant?
19· · · · · · ·MR. WRIGHT:· Object to form and foundation.
20· · · · A· · Not to my knowledge.
21· · · · · · ·MR. WILLIAMS:· Join.
22· · · · Q· · What is UNITE?
23· · · · A· · Just a program through Hal Rogers.
24· · · · Q· · And who is Hal Rogers?
25· · · · A· · He's a congressman.




                                                                                PL 905
                                                                                 YVer1f
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·1· · · · Q· · Okay.· Is UNITE -- does UNITE use informants -
·2· ·-
·3· · · · · · ·MR. WRIGHT:· Object to form and foundation.
·4· · · · Q· · -- do you know?
·5· · · · A· · I'm -- I'm sure they do.
·6· · · · Q· · Did you know a person by the name of Michael
·7· ·Crump prior to December of 2010?
·8· · · · A· · No.
·9· · · · Q· · Did you know Jessie Lawson prior to December
10· ·of 2010?
11· · · · A· · No.
12· · · · Q· · Did you have any opinions of Ms. Hoskins prior
13· ·to December 20, 2010?
14· · · · · · ·MR. WILLIAMS:· Object to the form.
15· · · · · · ·MR. WRIGHT:· Object and I join.
16· · · · A· · No.
17· · · · Q· · Did you know Mikey Bruner prior to December
18· ·20, 2010?
19· · · · A· · No.
20· · · · Q· · Did you know Joe King prior to December 20,
21· ·2010?
22· · · · A· · No.
23· · · · Q· · Did you know Caleb Mills prior to December 20,
24· ·2010?
25· · · · A· · No.· I knowed of her, but I didn't know her




                                                                                PL 906
                                                                                 YVer1f
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·1· ·personally.
·2· · · · Q· · Do you know her mom, Donna Mills?
·3· · · · A· · Yes.
·4· · · · Q· · Do you call her by her nickname or her real
·5· ·name?
·6· · · · A· · Whatever hits me.· Cookie most of the time, or
·7· ·what's -- what everybody called her.
·8· · · · Q· · Cricket?
·9· · · · A· · Cricket, I mean, not Cookie.
10· · · · Q· · You don't think she's crooked, right?
11· · · · A· · Do what?
12· · · · Q· · You don't think she's crooked, right?
13· · · · · · ·MS. STAPLES:· He said, "Cookie."
14· · · · A· · No.
15· · · · · · ·MR. WILLIAMS:· I'm sorry, did you say Cricket
16· · · · or Cookie?
17· · · · A· · Cricket.
18· · · · · · ·MR. SLOSAR:· Oh, I thought he said crooked
19· · · · first.
20· · · · · · ·MS. STAPLES:· No, he said Cookie.
21· · · · · · ·MR. WILLIAMS:· I'm pretty sure he said Cookie.
22· · · · A· · I said, "Cookie."
23· · · · Q· · Cookie.· Oh.· All right.· I got it mixed up.
24· ·Cricket, I think, is her nickname for the record.
25· · · · A· · I thought I was wrong, but that's right.




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                                                                                 YVer1f
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·1· · · · Q· · I'm going to show you what we'll mark as
·2· ·Exhibit number 5.· This is your request for production
·3· ·in this case.· Please take a look at that.· Have you
·4· ·seen this document before, Mr. Pickard?
·5· · · · · · · · · ·(EXHIBIT 5 MARKED FOR IDENTIFICATION)
·6· · · · A· · I think so.
·7· · · · Q· · I know lawyers typically do these responses.
·8· ·I'm going to ask for you to turn to page 2 and look at
·9· ·request number 3.· Are you there?
10· · · · A· · Yes.
11· · · · Q· · So request number 3 asks for any and all
12· ·documents prepared in connection with the Mills' murder
13· ·investigation, and the investigation arrest,
14· ·interrogation, and charging of plaintiffs for the murder
15· ·of Katherine Mills, including, but not limited to, any
16· ·and all police reports, collected evidence, lab reports,
17· ·handwritten notes, crime scene photographs, photo
18· ·arrays, and photographs of the plaintiffs or other
19· ·witnesses.· The request specifically includes, but is
20· ·not limited to, the complete investigative file or other
21· ·files with respect to the Mills' murder investigation.
22· ·Do you see that question, sir?
23· · · · A· · Yes.
24· · · · Q· · Okay.· In response you said that you have no
25· ·documents regarding the investigation of the murder of




                                                                                PL 908
                                                                                 YVer1f
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·1· ·Katherine Mills; is that right?
·2· · · · A· · That's true.
·3· · · · Q· · Okay.· The next request asks for all documents
·4· ·relating to Allen Helton, Mike Simpson, Jessie Lawson,
·5· ·William Lester, Bob Smith, Michael Crump, Christy
·6· ·Branson, Joe King, Dr. Warren, Amber Simpson, Daniel
·7· ·Wilson, Robert Beach, Kayla Mills, Donna Mills, and
·8· ·Margaret Polly.· Do you see that request, sir?
·9· · · · A· · Yes.
10· · · · Q· · And do you see the response that you have
11· ·where it says, "I have no documents regarding the
12· ·investigation of Katherine Mills"?
13· · · · A· · Yes.
14· · · · Q· · Is that true, sir?
15· · · · A· · Yes.
16· · · · Q· · Okay.· Looking at the next page, number 3,
17· ·it's request number 7.· Do you see where it says, "Any
18· ·documents relating to any confidential informants that
19· ·were used by the department during the Mills' murder
20· ·investigation," and you responded by saying that, "I
21· ·have no documents regarding the investigation and murder
22· ·of Katherine Mills."· Is that true?
23· · · · A· · Yes.
24· · · · Q· · Okay.· Mr. Pickard, you participated in the
25· ·investigation into the death of Katherine Mills,




                                                                                PL 909
                                                                                 YVer1f
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·1· ·correct?
·2· · · · · · ·MR. WILLIAMS:· Object to the form.
·3· · · · Q· · You can answer, sir.
·4· · · · A· · I didn't -- I didn't really do any
·5· ·investigating, I -- I just helped locate people, I mean,
·6· ·that was Mr. York's case and he worked it.
·7· · · · Q· · You joined in the questioning of Allen Helton,
·8· ·right?
·9· · · · · · ·MR. WRIGHT:· Object to form.
10· · · · A· · I did sit in on that, yeah.
11· · · · Q· · Okay.· And you joined in questioning Jonathan
12· ·Taylor at the Barbourville Police Department, right?
13· · · · A· · I sat in on it, yes.
14· · · · Q· · And you were present when photographs were
15· ·taken of Mr. Taylor, correct?
16· · · · A· · I don't remember that, but I mean, I don't
17· ·recall any pictures being made.
18· · · · Q· · Well, when you participate in questioning at
19· ·the Barbourville Police Department of Jonathan Taylor,
20· ·do you recall Detective Mike Broughton and Detective
21· ·Jason York being present for that?
22· · · · A· · Yes.
23· · · · · · ·MR. WRIGHT:· I'll object to form.
24· · · · · · ·MR. FARAH:· Object to form.
25· · · · · · ·MR. KELLEY:· Join.




                                                                                PL 910
                                                                                 YVer1f
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·1· ·BY MR. SLOSAR:
·2· · · · Q· · And in fact, during that time, all three of
·3· ·you questioned Mr. Taylor at the Barbourville Police
·4· ·Department, correct?
·5· · · · A· · I don't remember questioning him.· I was
·6· ·there, but I don't remember asking anything.
·7· · · · Q· · Okay.· Well, you were present when Mr. Taylor
·8· ·was being questioning by those other officers, right?
·9· · · · A· · Yes.
10· · · · Q· · Okay.· And whose idea was it to put
11· ·photographs of the crime scene on the table when Mr.
12· ·Taylor was being questioned?
13· · · · A· · I don't know.
14· · · · Q· · You don't recall whose idea that was?
15· · · · A· · No, I don't.· I don't recall that.
16· · · · Q· · Do you -- did you tell Detective Broughton or
17· ·Detective York to not put photographs on the table?
18· · · · A· · No.
19· · · · Q· · Mr. Pickard, do you know Dr. Larry Warren?
20· · · · A· · Yes.
21· · · · Q· · Yeah.· Do you have -- have you -- are you
22· ·aware of any evidence that exists that would corroborate
23· ·any allegation that Amanda Hoskins had a relationship
24· ·with Dr. Larry Warren?
25· · · · A· · I have no idea.




                                                                                 PL 911
                                                                                 YVer1f
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·1· · · · Q· · You've never seen Amanda Hoskins with Dr.
·2· ·Warren in Knox County, right?
·3· · · · A· · No.
·4· · · · Q· · Okay.· And you don't have any -- you're
·5· ·unaware of any evidence that would indicate that they
·6· ·had anything other than a professional physician/patient
·7· ·relationship, correct?
·8· · · · A· · Yes.
·9· · · · Q· · Okay.· So, Mr. Pickard, I know that you said
10· ·you joined and you were present when some of these
11· ·people were questioned.· Why are you reluctant to admit
12· ·that you participated in the investigation into
13· ·Katherine Mills' death?
14· · · · · · ·MR. WILLIAMS:· Objection to the form.
15· · · · · · ·MR. WRIGHT:· I'll join.
16· · · · A· · I'm not -- I'm not being reluctant, I just,
17· ·you know, it was Detective York's call.· And the main
18· ·thing I did was try to help him in any way, and most of
19· ·that was dealing with people he didn't know.
20· · · · Q· · Fair to say you were just doing what Detective
21· ·York told you to do?
22· · · · A· · No.
23· · · · Q· · No.· Why not?
24· · · · A· · I was just being nice and helping, you know,
25· ·just trying to help him, whatever he needed.




                                                                                 PL 912
                                                                                 YVer1f
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·1· · · · Q· · Well, he asked you to talk to Kayla Mills,
·2· ·right?
·3· · · · · · ·MR. WILLIAMS:· Object to form, foundation.· Go
·4· · · · ahead.
·5· · · · · · ·MR. WRIGHT:· I'll join.
·6· · · · A· · I don't remember that.
·7· ·BY MR. SLOSAR:
·8· · · · Q· · Well, you did talk to Kayla Mills, though,
·9· ·during the investigation into Katherine Mills' death,
10· ·correct?
11· · · · A· · I was with Detective York when we went to her
12· ·house one time.
13· · · · Q· · Do you remember talking to Kayla during a drug
14· ·sting in February of 2012, where Jonathan Taylor was
15· ·arrested?
16· · · · · · ·MR. WRIGHT:· Object to form.
17· · · · Q· · And Kayla Mills was arrested, and a couple of
18· ·other people were arrested.· Do you remember being there
19· ·for that?
20· · · · · · ·MR. WILLIAMS:· I'll join.
21· · · · A· · Was that at a meth lab?
22· · · · Q· · Well, it allegedly was.
23· · · · A· · Yes, I remember that.
24· · · · Q· · Okay.· And in fact, you were there with Mr.
25· ·Eubanks, right?




                                                                                 PL 913
                                                                                 YVer1f
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·1· · · · A· · Yes.
·2· · · · Q· · All right.· During the Katherine Mills'
·3· ·investigation, you spoke to -- you were present and/or
·4· ·participated in the questioning of a number of witnesses
·5· ·and suspects in the homicide; is that right?
·6· · · · · · ·MR. WRIGHT:· Object to the form.
·7· · · · · · ·MR. WILLIAMS:· Object to the form.
·8· · · · A· · You would have to -- it would have to be --
·9· · · · Q· · Okay.
10· · · · A· · -- somebody specific.
11· · · · Q· · Okay.
12· · · · A· · I can't --
13· · · · Q· · During the investigation into Katherine Mills'
14· ·death, did you speak to Allen Helton?
15· · · · A· · Yes.
16· · · · Q· · During the investigation into Katherine Mills'
17· ·death, did you speak to Mike Simpson?
18· · · · A· · Yes, one time.
19· · · · Q· · During the investigation into Katherine Mills'
20· ·death, did you speak to Jonathan Taylor?
21· · · · A· · Yes.
22· · · · Q· · During the investigation into Katherine Mills'
23· ·death, did you speak to Kayla Mills?
24· · · · A· · Yes.
25· · · · Q· · During the investigation into Katherine Mills'




                                                                                 PL 914
                                                                                 YVer1f
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·1· ·death, did you speak to a witness by the name of Bob
·2· ·Smith?
·3· · · · A· · Yes.
·4· · · · Q· · Mr. Pickard, just looking back at this Exhibit
·5· ·number 5 and request number 3 where it says that you
·6· ·have no documents regarding the investigation into the
·7· ·murder of Katherine Mills.· Is that truthful?
·8· · · · A· · Yes.
·9· · · · Q· · Fair to say that you did not create a single
10· ·document based upon your interactions with Allen Helton,
11· ·during the Mills' homicide investigation?
12· · · · A· · Yes.
13· · · · Q· · Okay.· You never memorialized your
14· ·conversations with Mr. Helton in a police report, right?
15· · · · A· · No.
16· · · · Q· · You never took notes during any of your
17· ·conversations with Mr. Helton, right?
18· · · · A· · No.
19· · · · Q· · You understood at the time of your meetings
20· ·with Mr. Helton in 2011 and 2012, that he was a suspect
21· ·in the homicide of Katherine Mills, correct?
22· · · · A· · I don't recall that being so.
23· · · · Q· · Well, were you ever informed at any time
24· ·during your meetings of Mr. Helton in 2011 and 2012,
25· ·that he was a person of interest in the homicide of




                                                                                 PL 915
                                                                                 YVer1f
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·1· ·Katherine Mills?
·2· · · · · · ·MR. WRIGHT:· Object to the form.
·3· · · · A· · You're saying in 2011, 2012?· No, I didn't
·4· ·know that.
·5· · · · Q· · You didn't know that?
·6· · · · A· · Not that I recall.· I mean
·7· · · · Q· · Okay.· Well, I'll show you some stuff later.
·8· ·Mr. Pickard, is it fair to say that you did not create a
·9· ·single police report regarding any of the activities you
10· ·took in assisting Jason York in the Mills' homicide
11· ·investigation?
12· · · · · · ·MR. WRIGHT:· Object to the form.
13· · · · A· · That's true.
14· · · · Q· · Likewise, fair to say that you never created a
15· ·single note regarding any of the activities you
16· ·participated in during the underlying Mills' homicide
17· ·investigation?
18· · · · A· · Yes.
19· · · · · · ·MR. WRIGHT:· Object to the form.
20· · · · Q· · And was that consistent with the training that
21· ·you received prior to that time?
22· · · · A· · I didn't -- I can't say I ever had training on
23· ·it.
24· · · · Q· · Okay.· Well, was that consistent with your
25· ·understanding of the policies and procedures in place at




                                                                                 PL 916
                                                                                 YVer1f
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·1· ·the Knox County Sheriff's Department, that you weren't
·2· ·required to create a police report or notes about
·3· ·investigative activities you were taking in a homicide
·4· ·investigation?
·5· · · · · · ·MR. WRIGHT:· Object to the form.
·6· · · · · · ·MR. WILLIAMS:· Object to the form.· Asked and
·7· · · · answered.· Mr. Pickard has stated on numerous times
·8· · · · that this was not his investigation.
·9· ·BY MR. SLOSAR:
10· · · · Q· · You can answer.
11· · · · A· · We didn't investigate murders.· Had I been
12· ·investigating myself, yes, I -- there would have been a
13· ·lot different, but I just assisted Detective York.
14· · · · Q· · Well, did this -- Detective York ever tell you
15· ·that he was going to be creating police reports based on
16· ·the conversations you were having with people?
17· · · · A· · Well, I just assumed he did.· That was his
18· ·job.
19· · · · Q· · Okay.· So it would have been -- in your
20· ·opinion, it's Detective York's responsibility to
21· ·document the interactions that you both had with
22· ·witnesses?
23· · · · A· · Yes.
24· · · · · · ·MR. WRIGHT:· Object to form.
25· · · · Q· · What about when Detective York's not present?




                                                                                 PL 917
                                                                                 YVer1f
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·1· ·Whose responsibility would it be, then, to document
·2· ·interactions that you have with witnesses?
·3· · · · · · ·MR. WILLIAMS:· I've made a continuing
·4· · · · objection to the use of the word "responsibility,"
·5· · · · but you may answer.
·6· · · · A· · I didn't investigate the murder myself.
·7· ·BY MR. SLOSAR:
·8· · · · Q· · All right.· I understand that.· Detective York
·9· ·was the lead, right?
10· · · · A· · Yes.
11· · · · · · ·MR. WILLIAMS:· Object to the form.
12· · · · Q· · But you -- during the investigation, you spoke
13· ·to Kayla Mills without Detective York, right?
14· · · · A· · I remember speaking to her one time.
15· · · · Q· · Yeah.· And Detective York wasn't there, right?
16· · · · A· · Yes, but that was on a -- that was on another
17· ·--
18· · · · Q· · The meth lab.
19· · · · A· · -- call that I went on.
20· · · · Q· · Sure.· The meth lab thing, right?
21· · · · A· · No, it wasn't that.
22· · · · Q· · A different one?
23· · · · A· · Different one.
24· · · · Q· · Okay.· Well, when you talked to Kayla on that
25· ·occasion, was the -- Detective York present?




                                                                                 PL 918
                                                                                 YVer1f
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·1· · · · · · ·MR. WRIGHT:· Which occasion, the meth lab or
·2· · · · the separate one, sorry?
·3· · · · · · ·MR. SLOSAR:· The separate time.
·4· · · · · · ·MR. WRIGHT:· Okay.· Sorry.
·5· · · · A· · I don't recall taking to her about the murder
·6· ·--
·7· ·BY MR. SLOSAR:
·8· · · · Q· · No?
·9· · · · A· · -- at the meth lab.· No.· I don't even know
10· ·would I even talked to her.
11· · · · Q· · Well --
12· · · · A· · I don't -- I don't remember it, if I did.
13· · · · Q· · Let me see if I can refresh your memory.· You
14· ·know what, let me just -- let me get there a little bit
15· ·later.· I'm going to ask for you to turn to your written
16· ·interrogatories.· I think it should be Exhibit 23,
17· ·maybe.
18· · · · · · ·MR. WRIGHT:· It's -- I've got it as 13.
19· · · · Q· · 13, I apologize.· I couldn't find them. Sorry.
20· ·Do you have your interrogatory responses in front of you
21· ·--
22· · · · A· · Yeah.
23· · · · Q· · -- Mr. Pickard?· Okay.· Now, looking at your
24· ·interrogatory response number 4, do you have that in
25· ·front of you?




                                                                                 PL 919
                                                                                 YVer1f
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·1· · · · A· · Yes.
·2· · · · Q· · Okay.· Do you see where it says that you sat
·3· ·in on at least one interview with Jonathan Taylor?· Oh,
·4· ·you know what, you're going to need to go to the next
·5· ·page there.
·6· · · · A· · Okay.
·7· · · · Q· · Yes, I'm going to ask you about your answer --
·8· ·there you go.· It's going to be soon.
·9· · · · A· · Okay.
10· · · · Q· · Do you see where it says you sat in on at
11· ·least one interview of Jonathan Taylor?
12· · · · A· · Yes.
13· · · · Q· · Okay.· Is it possible that you sat in on more
14· ·than one with Mr. Taylor?
15· · · · A· · Not that I recall, no.
16· · · · Q· · Did you create any police report based on the
17· ·questioning of Mr. Taylor?
18· · · · A· · No.
19· · · · Q· · Okay.· And fair to say that Mr. Taylor was a
20· ·suspect in the homicide by that point?
21· · · · A· · Yes.
22· · · · Q· · Okay.· And in fact, you and Mr. Broughton and
23· ·Mr. York were interrogating Mr. Taylor about the murder,
24· ·correct?
25· · · · · · ·MR. FARAH:· Object to form.




                                                                                 PL 920
                                                                                 YVer1f
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·1· · · · · · ·MR. WRIGHT:· Object to form.
·2· · · · · · ·MR. WILLIAMS:· Object to form.· Join.
·3· · · · · · ·MR. SLOSAR:· It's a good question.
·4· · · · A· · Mr. Broughton and Mr. York did.· I think I
·5· ·just -- I don't think I said a word in the whole thing
·6· ·that I remember.
·7· ·BY MR. SLOSAR:
·8· · · · Q· · Just sat there.· Okay.· Don't remember saying
·9· ·anything?
10· · · · A· · I don't remember anything I said.
11· · · · Q· · Well, what were Mr. Broughton and Mr. York
12· ·telling Mr. Taylor in that interrogation?
13· · · · A· · I can't remember.
14· · · · Q· · Fair to say that they were trying to get Mr.
15· ·Taylor to confess?
16· · · · · · ·MR. WILLIAMS:· Asked and answered.· He said he
17· · · · didn't remember.
18· · · · A· · I don't remember.· I really don't.· I don't
19· ·know what they --
20· · · · Q· · You don't know what they said?
21· · · · A· · They just -- you know, they interviewed him. I
22· ·mean, I don't know what their intentions were.
23· · · · Q· · Well, isn't it true that Detective York and
24· ·Detective Broughton threatened to charge Jonathan Taylor
25· ·with murder during that questioning?




                                                                                 PL 921
                                                                                 YVer1f
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·1· · · · · · ·MR. FARAH:· Object to form.
·2· · · · · · ·MR. WILLIAMS:· Object to form.
·3· · · · · · ·MR. WRIGHT:· Join.
·4· · · · A· · I don't recall that statement.
·5· · · · Q· · You don't recall that?
·6· · · · A· · No.
·7· · · · Q· · Could have happened, but you don't remember,
·8· ·right?
·9· · · · A· · I don't remember.
10· · · · · · ·MR. FARAH:· Object to form.
11· · · · Q· · How -- what was the interrogation room like at
12· ·the Barbourville Police Department when Mr. Taylor was
13· ·being questioned that day?
14· · · · · · ·MR. WRIGHT:· Objection to form and foundation.
15· · · · Go ahead.
16· · · · A· · It's just a small room with a table in it,
17· ·that's about it.
18· · · · Q· · Now, prior to the questioning of Jonathan
19· ·Taylor, were you aware that he had a limited mental
20· ·capacity?
21· · · · · · ·MR. WRIGHT:· Object to form and foundation.
22· · · · · · ·MR. WILLIAMS:· Join.
23· · · · A· · Not that I recall, no.
24· · · · Q· · Did you think he was slow at all?
25· · · · · · ·MR. WRIGHT:· Object to form and foundation.




                                                                                 PL 922
                                                                                 YVer1f
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·1· · · · A· · No.
·2· · · · · · ·MR. WILLIAMS:· Same.
·3· · · · A· · I didn't see that.
·4· · · · Q· · Mr. Taylor, during this questioning, said that
·5· ·he was innocent, right?
·6· · · · A· · I can't recall.
·7· · · · · · ·MR. WILLIAMS:· Object to the form.· Asked and
·8· · · · answered.
·9· · · · Q· · So you don't recall anything that happened
10· ·during the questioning of Jonathan Taylor in this case?
11· · · · A· · The only thing I can really say I remember is
12· ·I was there.· I don't remember what was said.
13· · · · Q· · Okay.· Now, you said -- you say that there
14· ·should be a record of that interview, either written or
15· ·recorded, that would reflect what was said; is that
16· ·right?
17· · · · A· · Yes.
18· · · · Q· · Okay.· Did you create a record of that
19· ·interview?
20· · · · A· · No.
21· · · · Q· · Did you have a conversation with Detective
22· ·Broughton about whether he was going to record that
23· ·interview?
24· · · · A· · No.
25· · · · Q· · Okay.· And it was his police department,




                                                                                 PL 923
                                                                                 YVer1f
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·1· ·right?
·2· · · · A· · Yes.
·3· · · · Q· · Was he chief of police back in 2012?
·4· · · · A· · I'm not sure.
·5· · · · Q· · Okay.· Did you have a conversation with
·6· ·Detective York about whether he was going to record that
·7· ·interview?
·8· · · · A· · No.
·9· · · · Q· · Was there an agreement between you and
10· ·Detective York and Detective Broughton as to who was
11· ·going to take notes?
12· · · · A· · No.
13· · · · Q· · And the next sentence of your interrogatory,
14· ·you state that you spoke with Detective York about
15· ·locating potential witnesses in the community and try to
16· ·answer Detective York's question as he began his
17· ·investigation.· Do you see that?· Should be --
18· · · · A· · Yeah.
19· · · · Q· · Okay.· What witnesses did Detective York ask
20· ·you -- for you to assist in locating?
21· · · · A· · I can't remember everybody, but I remember a
22· ·couple, maybe.· I remember him asking me about Lynn
23· ·Brown, he wanted to talk to, and maybe Cleo Brown.
24· · · · Q· · And is it -- and in fact, you actually
25· ·assisted Mr. York in talking to one of the Browns,




                                                                                 PL 924
                                                                                 YVer1f
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·1· ·right?
·2· · · · · · ·MR. WILLIAMS:· Object to the form.
·3· · · · · · ·MR. WRIGHT:· I'll join.
·4· · · · A· · I can't -- I can't remember who we actually
·5· ·talked to.
·6· · · · Q· · Do you remember on January 4, 2011, pulling
·7· ·Allen Helton over for a DUI stop?
·8· · · · A· · Me pulling him over?
·9· · · · Q· · Yeah.
10· · · · A· · No, I don't remember that.
11· · · · Q· · Do you remember being with Detective York and
12· ·talking to one of the Browns as Allen Helton drove past
13· ·in his Ford Ranger?
14· · · · A· · I don't recall that, no.
15· · · · Q· · Aside from the Browns, who else do you recall
16· ·Detective York asking you to help him locate?
17· · · · A· · I can't -- I can't recall right off.
18· · · · Q· · Did Detective York ask for your assistance in
19· ·locating Bob Smith?
20· · · · A· · No.
21· · · · Q· · Whose idea was it to talk to Bob Smith?
22· · · · A· · It was his, Detective York's.
23· · · · Q· · Okay.· Did Detective York as for your help in
24· ·locating Kayla Mills?
25· · · · A· · No.




                                                                                 PL 925
                                                                                 YVer1f
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·1· · · · Q· · Did Detective York ask for your assistance in
·2· ·locating Mike Simpson?
·3· · · · A· · No.
·4· · · · Q· · Did Detective York ask for your assistance in
·5· ·locating Allen Helton?
·6· · · · A· · Not that I recall.
·7· · · · Q· · Now, you say in this interrogatory response
·8· ·that you tried to answer Detective York's questions as
·9· ·he began his investigation.· Do you see that, sir?
10· · · · A· · That I what?
11· · · · Q· · That you tried to answer Detective York's
12· ·questions as he began his investigation; is that right?
13· · · · A· · Yes.
14· · · · Q· · What questions do you recall Detective York
15· ·asking you?
16· · · · A· · I don't have any idea.
17· · · · Q· · Okay.
18· · · · A· · It's been too long.
19· · · · Q· · Do you have any notes or anything that would
20· ·help refresh your recollection in that regard?
21· · · · A· · No.
22· · · · Q· · Fair to say that you communicated with
23· ·Detective York even after Ms. Hoskins, Mr. Taylor, and
24· ·Mr. Lester were charged with murder?
25· · · · A· · I'm sure I seen him from time to time.                 I




                                                                                 PL 926
                                                                                 YVer1f
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·1· ·don't recall any of it, but --
·2· · · · Q· · And you like Jason York, right?
·3· · · · A· · Yeah.
·4· · · · Q· · Think he's a good guy --
·5· · · · A· · I think --
·6· · · · Q· · -- right?
·7· · · · A· · Yes, I think he's all right.
·8· · · · Q· · You think he was a good police officer?
·9· · · · A· · I don't have no idea.· I don't -- as far as
10· ·working with him, I never worked -- just around him
11· ·some.
12· · · · Q· · Well, you saw some of the stuff that he did in
13· ·this case, right?
14· · · · A· · I heard it here the other day, yes.
15· · · · Q· · You remember when Detective York came in here
16· ·the other day and said that he's threatened witnesses.
17· ·Do you remember him saying that?
18· · · · · · ·MR. WRIGHT:· Object to form.
19· · · · A· · I don't recall that right off.
20· · · · Q· · Well --
21· · · · A· · I'm remembering -- no, I don't remember him
22· ·actually saying that.
23· · · · Q· · But you remember hearing him actually threaten
24· ·a witness during that -- an interview that took place in
25· ·the investigation, in a different homicide




                                                                                 PL 927
                                                                                 YVer1f
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·1· ·investigation, right?
·2· · · · · · ·MR. WRIGHT:· Object to form.
·3· · · · · · ·MR. WILLIAMS:· Join.
·4· · · · A· · I remember him talking about using it as a
·5· ·tactic.· I remember that, but --
·6· · · · Q· · Yeah.· I think Detective York said that
·7· ·threatening witnesses was a tactic.· You remember him
·8· ·saying that?
·9· · · · · · ·MR. WRIGHT:· Object to form.
10· · · · · · ·MR. WILLIAMS:· Join.
11· · · · A· · Not in them words, maybe.
12· · · · Q· · Okay.· But do you ever threaten a witness as
13· ·part of a tactic?
14· · · · · · ·MR. WRIGHT:· Object to form.
15· · · · · · ·MR. WILLIAMS:· Join.
16· · · · A· · I don't ever remember doing it.
17· · · · Q· · Well, let me ask it a different way:· Do you
18· ·think it's appropriate to threaten a witness?· Do you
19· ·think that that's an appropriate law enforcement tactic?
20· · · · · · ·MR. WRIGHT:· Object to form and foundation.
21· · · · · · ·MR. WILLIAMS:· Join.
22· · · · A· · Repeat that one more time.
23· · · · Q· · Sure.· Mr. Pickard, do you believe that it's
24· ·an appropriate investigative tactic for a law
25· ·enforcement officer to threaten a witness?




                                                                                 PL 928
                                                                                 YVer1f
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·1· · · · · · ·MR. WRIGHT:· Same objection.
·2· · · · A· · Not in some cases, no.
·3· · · · Q· · But in some cases, yes?
·4· · · · A· · Some -- every case is different.
·5· · · · Q· · Well, in your opinion, is it fair to say that
·6· ·in some cases, you believe it is appropriate to threaten
·7· ·a witness and that that's a legitimate law enforcement
·8· ·tactic?
·9· · · · · · ·MR. WILLIAMS:· Objection and requires him to
10· · · · speculate.
11· · · · · · ·MR. WRIGHT:· Object to form and foundation.
12· · · · A· · No.
13· · · · · · ·MR. KELLEY:· Join.
14· · · · Q· · Okay.· And in this case, would it have been
15· ·appropriate for a police officer to threaten a witness?
16· · · · · · ·MR. WRIGHT:· Object to form and foundation.
17· · · · · · ·MR. WILLIAMS:· Join.
18· · · · A· · I don't -- I don't have no comment on that.
19· · · · Q· · Well, it's -- I'm not trying to be rude, but I
20· ·need an answer out of you that's not a "no comment." I'm
21· ·going to ask it to you again.· In the investigation into
22· ·the death of Katherine Mills, would it have been an
23· ·appropriate law enforcement tactic for a police officer
24· ·to threaten a witness?
25· · · · · · ·MR. WRIGHT:· Same objection.




                                                                                 PL 929
                                                                                 YVer1f
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·1· · · · · · ·MR. WILLIAMS:· Object to the form, foundation.
·2· · · · A· · I just don't know.
·3· · · · Q· · Why don't you know?
·4· · · · · · ·MR. WRIGHT:· Object to form and foundation.
·5· · · · · · ·MR. WILLIAMS:· Objection and argumentative.
·6· · · · A· · I don't -- I just don't know.· I mean,
·7· ·different agents works different cases.· I mean, I don't
·8· ·-- I don't understand really what -- what you're saying,
·9· ·"threatened," I mean --
10· · · · Q· · Okay.· Let me give you an example.· That --
11· ·that's fair.· So you're saying on January 4, 2011, you
12· ·don't have any recollection of participating in a pull
13· ·over of Allen Helton with Detective York that day?
14· · · · · · ·MR. WILLIAMS:· Asked and answered.
15· · · · A· · I don't recall pulling him over, but Detective
16· ·York might.
17· · · · Q· · I'm going to show you what we'll mark as
18· ·Exhibit number 14.· This is PL Bates 18940 through
19· ·18943.· And I do have a copying issue with this one, so
20· ·I'm going to hand a copy to counsel for review, I only
21· ·have two copies, and then I'll show a copy to Mr.
22· ·Pickard.· Actually, let me mark this first.· Sorry. Can
23· ·we go off the record?· I just --
24· · · · · · · · · ·(EXHIBIT 14 MARKED FOR IDENTIFICATION)
25· · · · · · ·VIDEOGRAPHER:· Off the record.




                                                                                 PL 930
                                                                                 YVer1f
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·1· · · · · · · · · ·(OFF THE RECORD)
·2· · · · · · ·VIDEOGRAPHER:· Back on the record.
·3· ·BY MR. SLOSAR:
·4· · · · Q· · Okay.· Now, Mr. Pickard, we just had a short
·5· ·break, right?
·6· · · · A· · Yes.
·7· · · · Q· · Let me get my -- I'm sorry.· I forgot to put
·8· ·this thing on.· And over that break, you had a moment to
·9· ·consult with your attorney; is that right?
10· · · · A· · Yes.
11· · · · Q· · Okay.· I'm not going to ask you anything about
12· ·the substance of those conversations.· Did you also have
13· ·a moment to consult with Mike Broughton as well?
14· · · · A· · We talked just a second, yeah.
15· · · · Q· · Yeah.· And you had a chance to communicate
16· ·with Mr. Broughton's attorney, Mr. Farah, down there at
17· ·the end of this table; is that right?
18· · · · A· · Yes.
19· · · · Q· · Okay.· And before we went on a break, you had
20· ·provided some testimony about how you were present when
21· ·Detective York and Detective Broughton were questioning
22· ·Jonathan Taylor about the Mills' homicide investigation.
23· ·Do you test -- do you recall testifying to that effect
24· ·earlier today?
25· · · · · · ·MR. FARAH:· Object to the form.




                                                                                 PL 931
                                                                                 YVer1f
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·1· · · · A· · Yes.
·2· · · · · · ·MR. WRIGHT:· Same.
·3· · · · · · ·MR. WILLIAMS:· Object to the form.
·4· · · · Q· · All right.· Looking at Exhibit 14, do you
·5· ·recognize this document, Mr. Pickard?
·6· · · · A· · I don't know it, really.
·7· · · · Q· · Okay.· Well, looking at the second page of
·8· ·this document, do you see where it has some charges that
·9· ·were initiated against Allen Helton on January 4, 2011?
10· · · · A· · Yes, I see that.
11· · · · Q· · Okay.· Okay.· And it seems, from looking at
12· ·this document, that Allen Helton was charged on that day
13· ·with operating a motor vehicle under the influence,
14· ·failure to wear seat belts, failure to register transfer
15· ·of motor vehicle, and failure of owner to maintain
16· ·required insurance.· Does that seem right, sir?
17· · · · A· · Yes.
18· · · · Q· · Okay.· I'm going to ask you to turn to the
19· ·last page.· Let me know when you're there.
20· · · · A· · I'm there.
21· · · · Q· · Okay.· And this is for that same case number,
22· ·11-T-136 against James Allen Helton, correct?
23· · · · A· · Yes.
24· · · · Q· · Okay.· And do you see where it says, "The
25· ·complaining witness.'· Do you see that?· And it's right




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                                                                                 YVer1f
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·1· ·under James Allen Helton.
·2· · · · · · ·MR. WILLIAMS:· I think he's actually wanting
·3· · · · you to look at this other page, Mr. Pickard.
·4· · · · A· · Oh.
·5· · · · · · ·MR. WILLIAMS:· Yeah.· If you turn to the last
·6· · · · page, which is actually --
·7· · · · · · ·MR. SLOSAR:· I'm sorry.· That was --
·8· · · · · · ·MR. WILLIAMS:· -- the one you're looking at.
·9· · · · Right here.
10· · · · A· · Yes.
11· ·BY MR. SLOSAR:
12· · · · Q· · Okay.· Who is the complaining witness in this
13· ·citation?
14· · · · A· · Jason York.
15· · · · Q· · Okay.· From KSP, right?
16· · · · A· · Yes.
17· · · · Q· · All right.· Does that refresh your memory in
18· ·any regard as to participating in a traffic stop of Mr.
19· ·Helton on January 4, 2011 with Detective York?
20· · · · A· · I -- I just don't remember --
21· · · · Q· · Okay.
22· · · · A· · -- being with him when he was charged with
23· ·that.
24· · · · Q· · Okay.· So is it fair to say that you don't
25· ·remember anything that happened after Mr. Helton was




                                                                                 PL 933
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·1· ·pulled over on January 4, 2011?
·2· · · · A· · I -- I guess.· I mean, I don't -- I just don't
·3· ·--
·4· · · · · · ·MR. WILLIAMS:· Don't guess.· If you know, tell
·5· · · · him.
·6· · · · A· · I don't remember that happening.
·7· · · · Q· · Okay.· You don't remember being there for that
·8· ·traffic stop, right?
·9· · · · A· · No.
10· · · · Q· · You don't remember -- and if you don't
11· ·remember being there for the traffic stop, is it fair to
12· ·say that you don't remember anything that happened
13· ·between Mr. Helton and Mr. York, which would have
14· ·occurred at that traffic stop?
15· · · · · · ·MR. WRIGHT:· I'll object to the form.
16· · · · A· · No, I don't.
17· · · · Q· · Okay.· Have you ever seen Detective York grab
18· ·Allen Helton's face and tell him that he should go down
19· ·the street and let the victim's family beat the fuck out
20· ·of him?
21· · · · · · ·MR. WRIGHT:· Object to form.
22· · · · A· · No.
23· · · · · · ·MR. WILLIAMS:· Object to form.· Lack of
24· · · · foundation.
25· · · · A· · I don't remember.




                                                                                 PL 934
                                                                                 YVer1f
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·1· · · · · · ·MR. WILLIAMS:· Assumes facts not in evidence.
·2· · · · Q· · So you don't remember that happening?
·3· · · · A· · I've never seen nothing like that.
·4· · · · Q· · Never seen anything like that?
·5· · · · A· · No.
·6· · · · Q· · You ever seen Detective York grab Allen
·7· ·Helton's face?
·8· · · · A· · No.
·9· · · · Q· · How many times have you been in the presence
10· ·of Detective York and Allen Helton?
11· · · · A· · Just -- all I can remember right off is the
12· ·one time where he interviewed him.
13· · · · Q· · And that was in your office, right?
14· · · · A· · Yes.
15· · · · Q· · And you were present for that entire --
16· · · · A· · Yes.
17· · · · Q· · -- interview, right?
18· · · · A· · Yes.
19· · · · Q· · All right.· I'm going to point you back to the
20· ·interrogatory, which is Exhibit number --
21· · · · · · ·MR. WILLIAMS:· I'm sorry.· Elliot, what number
22· · · · did you make that citation?
23· · · · Q· · This is 14.· And I'm pointing now to the
24· ·interrogatory that we were talking about earlier.                I
25· ·believe it's number 4, where you went through the




                                                                                 PL 935
                                                                                 YVer1f
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·1· ·different activities that you participated in during
·2· ·this investigation.· Are you there?
·3· · · · A· · Yes.
·4· · · · Q· · Okay.· Now, it said that you tried to answer
·5· ·Detective York's questions as he began his
·6· ·investigation.· This is on page 4.
·7· · · · A· · Okay.
·8· · · · Q· · The middle of that paragraph.· Let me know if
·9· ·you see that.
10· · · · A· · Yes.
11· · · · Q· · Okay.· Did you do your best to answer
12· ·Detective York's questions during the investigation into
13· ·the death of Katherine Mills?
14· · · · A· · Just whatever he asked me, I would have did my
15· ·best.
16· · · · Q· · Do you remember any questions that Mr. York
17· ·asked you?
18· · · · A· · Other than knowing somebody, where they lived
19· ·or something, no.
20· · · · Q· · Okay.· The next sentence in your interrogatory
21· ·responses, you spoke with Defendant Broughton at the
22· ·time of Plaintiff, Jonathan Taylor's, questioning, but
23· ·that you cannot recall any statements made at the time.
24· ·Do you see that?
25· · · · A· · That's true.




                                                                                 PL 936
                                                                                 YVer1f
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·1· · · · Q· · Okay.· And that goes back to what you were
·2· ·testifying to earlier where you said that you were
·3· ·present with Mr. Broughton -- Mr. York is -- Jonathan
·4· ·Taylor was being questioned at the Barbourville Police
·5· ·Department, right?
·6· · · · · · ·MR. FARAH:· Object to the form.
·7· · · · · · ·MR. WRIGHT:· Join.
·8· · · · · · ·MR. WILLIAMS:· Join.
·9· · · · A· · I -- I was there.· I don't -- I didn't
10· ·participate.· I mean, I remember being there, yes.
11· ·BY MR. SLOSAR:
12· · · · Q· · You were actually in the interrogation room as
13· ·Jonathan Taylor was being questioned, correct?
14· · · · · · ·MR. FARAH:· Object to form.
15· · · · A· · I was in the -- I was in there when it
16· ·started, I could have got up and left.· I don't
17· ·remember.
18· · · · Q· · Okay.· You don't remember anything that you
19· ·said, right?
20· · · · A· · I didn't say anything.
21· · · · Q· · Okay.· Well, you don't remember anything that
22· ·any --
23· · · · A· · I don't remember saying.
24· · · · Q· · -- other officers said, right?
25· · · · A· · No.




                                                                                 PL 937
                                                                                 YVer1f
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·1· · · · Q· · You don't remember anything that Jonathan
·2· ·Taylor said back, right?
·3· · · · A· · I don't remember.
·4· · · · Q· · Okay.· Do you know who got the photographs, to
·5· ·put them on the table --
·6· · · · A· · No.
·7· · · · Q· · -- in that room?· Was it you?
·8· · · · A· · No.
·9· · · · Q· · On December 20, 2010, did you go to the scene
10· ·where Ms. Mills' body was found?
11· · · · A· · Yes.
12· · · · Q· · And how did you first find out about the --
13· ·about Ms. Mills' passing away?
14· · · · A· · Originally, I think it come through 911 and my
15· ·deputy responded.
16· · · · Q· · Did -- was Derek Eubanks at the scene as well?
17· · · · A· · I don't think so.· Not that I remember, no.
18· · · · Q· · What did you do after you responded to the
19· ·scene?
20· · · · A· · I just -- I guess -- we -- they called for the
21· ·state police to come because we didn't work murders, and
22· ·they got there and did their -- started their
23· ·investigation.
24· · · · Q· · Did you talk to any of the witnesses at the
25· ·crime scene?




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                                                                                 YVer1f
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·1· · · · A· · I probably did at some point.· I don't
·2· ·remember what was said.
·3· · · · Q· · Do you recall the names of any witnesses that
·4· ·you would have spoken to at the crime scene?
·5· · · · A· · I mean, I -- I could have spoke to any of them
·6· ·that was there, I just don't remember.· I don't
·7· ·remember.· I mean, I kind of let them do their thing.                 I
·8· ·just was there.
·9· · · · Q· · In this interrogatory response, you say that
10· ·at some point, you spoke to Mark Mefford, Dallas
11· ·Eubanks, Jason Bunch, and Brian Johnson; was that true?
12· · · · A· · That's probably -- yeah, it's true.
13· · · · Q· · Okay.· Did you talk to each of those officers
14· ·at the crime scene?
15· · · · A· · Just -- I have no idea what we talked about.
16· ·It might not have had nothing to do with this, I don't
17· ·know.· I can't remember.
18· · · · Q· · But you remember you talked to each of them at
19· ·the scene of the crime; is that right?
20· · · · A· · I probably did.· I mean, I don't --
21· · · · Q· · Well, you have these names written down here
22· ·in your interrogatory response, right?
23· · · · A· · Yeah.· I mean, they was there.
24· · · · · · ·MR. WILLIAMS:· Excuse me.· The answer says,
25· · · · "At some point."




                                                                                 PL 939
                                                                                 YVer1f
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·1· · · · Q· · Okay.· All right.· That's fair.· So at some
·2· ·point in the Katherine Mills' homicide investigation,
·3· ·you had an opportunity to speak with Mark Mefford,
·4· ·Dallas Eubanks, Jason Bunch, and Brian Johnson; is that
·5· ·right?
·6· · · · A· · Yeah, probably.
·7· · · · Q· · Okay.· But you're not saying here today that
·8· ·you had the conversations with them necessarily at the
·9· ·crime scene, but that it was at some point throughout
10· ·the investigation; is that right?
11· · · · A· · True.
12· · · · Q· · Okay.· Do you recall the substance of any
13· ·conversation you had with Mark Mefford about the
14· ·investigation into Katherine Mills' death?
15· · · · A· · No.
16· · · · Q· · Do you recall the substance of any
17· ·conversation you had with Dallas Eubanks regarding the
18· ·investigation into Katherine Mills' death?
19· · · · A· · No.
20· · · · Q· · Do you recall the substance of any
21· ·conversation you had with Jason Bunch regarding the
22· ·investigation into Katherine Mills' death?
23· · · · A· · No.
24· · · · Q· · Do you recall the substance of any
25· ·conversation you had with Brian Johnson regarding the




                                                                                 PL 940
                                                                                 YVer1f
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·1· ·investigation into Katherine Mills' death?
·2· · · · A· · No.
·3· · · · Q· · Do you have any notes or documents at home
·4· ·that would refresh your recollection as to the substance
·5· ·of any conversation you had with these officers?
·6· · · · A· · No.
·7· · · · Q· · How often did you communicate with Detective
·8· ·York in the investigation into Katherine Mills' death?
·9· · · · · · ·MR. WILLIAMS:· Object to the form.
10· · · · A· · Just -- I mean, it wasn't an everyday thing,
11· ·just when he needed help with something, I would help
12· ·him if he need me.
13· · · · Q· · When did you just -- when did you first find
14· ·out that Detective York was going to initiate charges
15· ·against Amanda Hoskins, Jonathan Taylor, and William
16· ·Lester?
17· · · · A· · I just don't -- I don't recall.
18· · · · Q· · Did Jason tell you?
19· · · · A· · I don't remember him telling me, he could
20· ·have.· I don't know.
21· · · · Q· · I'm going to ask that you turn to your
22· ·response to interrogatory number 10.· It's on page 7.
23· · · · A· · Page 10?
24· · · · Q· · Yes.
25· · · · · · ·MR. WILLIAMS:· Interrogatory number 10?




                                                                                 PL 941
                                                                                 YVer1f
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·1· · · · Q· · Oh, sorry.· Page 7, interrogatory 10.· Yes,
·2· ·Jason.· Sorry.
·3· · · · · · ·MR. WILLIAMS:· 103.
·4· · · · · · ·THE WITNESS: I have that, too, all of this.
·5· · · · · · ·MR. WILLIAMS:· All right.· Okay.· He's looking
·6· · · · for page 7.
·7· · · · A· · Page 7, 10.
·8· ·BY MR. SLOSAR:
·9· · · · Q· · Okay.· You have that in front of you, sir?
10· · · · A· · Yes.
11· · · · Q· · Okay.· In your response to this interrogatory
12· ·which requests each specific investigative task that you
13· ·participated in during the Mills' murder investigation,
14· ·you state that you assisted KSP Officer Jason York, you
15· ·were familiar with the area than people who lived there,
16· ·and helped him, being Jason York, locate persons of
17· ·interest, and that you were present for the interview of
18· ·Jonathan Taylor, and you were present when Mr. Taylor
19· ·was arrested by Mike Broughton; is that true?
20· · · · A· · I don't -- I don't recall an interview.                I
21· ·don't recall him being arrested.· I'm not saying he
22· ·wasn't, I don't remember that.
23· · · · Q· · Do you see where it says that you helped
24· ·Detective York locate persons of interest?
25· · · · A· · Yes.




                                                                                 PL 942
                                                                                 YVer1f
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·1· · · · Q· · What persons of interest did you help
·2· ·Detective York locate?
·3· · · · A· · A while ago, I give some names that's -- and
·4· ·there was more than that, I just don't recall them right
·5· ·off.
·6· · · · Q· · Was Allen Helton a person of interest that you
·7· ·helped Mr. York locate?
·8· · · · · · ·MR. WILLIAMS:· Object to the form.
·9· · · · A· · I don't remember talking to Allen other than
10· ·in my office.
11· · · · Q· · My question's a little bit different.· Did you
12· ·help Detective York locate Allen?
13· · · · A· · No.
14· · · · Q· · Did you assist Detective York in locating Mike
15· ·Simpson?
16· · · · A· · I think him and I both knowed where he lived.
17· · · · Q· · Did you assist Detective York in locating
18· ·Jessie Lawson?
19· · · · A· · I don't know Jessie Lawson.
20· · · · Q· · Did you assist Detective York in locating Bob
21· ·Smith?
22· · · · A· · We both knowed where he lived.
23· · · · Q· · Okay.· What do you recall about you and
24· ·Detective York meeting with -- well, let me strike that.
25· ·Do you now Vernon Bennett?




                                                                                 PL 943
                                                                                 YVer1f
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·1· · · · A· · No.
·2· · · · Q· · No.· Have you ever talked to Vernon Bennett
·3· ·during the investigation into the death of Katherine
·4· ·Mills?
·5· · · · A· · Not that I'm aware of.
·6· · · · Q· · How many times did you and Detective York talk
·7· ·to Cleo Brown during the underlying investigation?
·8· · · · A· · I don't -- I don't remember me and him talking
·9· ·to her, period.· With -- I mean, seemed like we -- we
10· ·tried to find her one time and couldn't, but I'm not
11· ·going to -- I don't remember her talking to both of us,
12· ·no.
13· · · · Q· · Is Cleo related to your wife?
14· · · · A· · Well, probably to a -- it's according to how
15· ·far back you want to go.
16· · · · Q· · You know where Cleo Brown lives, though,
17· ·right, or you -- you know what, let me strike that.
18· ·In December of 2010 and early 2011, January, would you
19· ·have known where Cleo Brown lived?
20· · · · A· · I probably would have at the time, but I can't
21· ·remember.· She moves around a lot.
22· · · · Q· · Were you -- what do you recall about the
23· ·arrest of Jonathan Taylor by Mike Broughton?
24· · · · A· · I can't remember him being arrested by Mike
25· ·Broughton.




                                                                                 PL 944
                                                                                 YVer1f
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·1· · · · Q· · Okay.· But in your interrogatory responses, do
·2· ·you see where it says, "I was present for the interview
·3· ·of Jonathan Taylor and was present when he was arrested
·4· ·by Mike Broughton."· Do you see that?
·5· · · · A· · Well, I see that, but --
·6· · · · Q· · Saying you just don't remember any of the
·7· ·details --
·8· · · · A· · I just don't.
·9· · · · Q· · -- of that arrest now?
10· · · · A· · I don't remember him being arrested, no.
11· · · · Q· · Do you remember Mike Broughton and yourself
12· ·picking Jonathan Taylor up to bring him to the
13· ·Barbourville Police Department before he was questioned?
14· · · · · · ·MR. WRIGHT:· Object to form, foundation.
15· · · · · · ·MR. FARAH:· Objection to form.
16· · · · A· · I -- I just don't remember that.
17· · · · Q· · Mr. Pickard, I'm going to fast forward to
18· ·interrogatory number 14.· It has a list of names and you
19· ·gave some responses in response to those names.· Are you
20· ·on page 9 and do you see interrogatory number 14?
21· · · · A· · Yes.
22· · · · Q· · Okay.· Mr. Pickard, on interrogatory number 14
23· ·you state that you and Detective York went to speak with
24· ·Mike Simpson during the underlying investigation into
25· ·the death of Katherine Mills; is that true?




                                                                                 PL 945
                                                                                 YVer1f
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·1· · · · A· · Could you repeat that question?
·2· · · · Q· · Sure.· So the -- specifically, the number 2
·3· ·has Mike Simpson?
·4· · · · A· · Yes.
·5· · · · Q· · So if you go to Mike Simpson, your answer to
·6· ·number 2, it says that, "I was with Jason -- KSP Jason
·7· ·York -- and went to his home to speak with him in
·8· ·relation to Mike Simpson."· Is that truthful?
·9· · · · A· · Yes.
10· · · · Q· · Okay.· Did you and Detective York go to Mike
11· ·Simpson's home shortly after the murder was -- or let me
12· ·strike that question. Did you and Detective York first
13· ·go to Mr. Simpson's home within a week or two of Ms.
14· ·Mills being found dead?
15· · · · A· · I couldn't tell you when we went.· I remember
16· ·going, but I don't remember when.
17· · · · Q· · Okay.· When you went to Mr. Simpson's home,
18· ·did you see Mr. Simpson hand Detective York a post-it
19· ·note with the names of alibi witnesses?
20· · · · A· · I don't recall that.
21· · · · Q· · Okay.· I'm going to show you what we'll mark
22· ·as Exhibit number 6.· Mr. Pickard, please take a look at
23· ·this document.
24· · · · · · · · · ·(EXHIBIT 6 MARKED FOR IDENTIFICATION)
25· · · · · · ·MR. WILLIAMS:· Oh, you got one for me?· Thank




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                                                                                 YVer1f
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·1· · · · you.
·2· · · · · · ·MR. WRIGHT:· Sorry, Elliot, which exhibit did
·3· · · · you --
·4· · · · · · ·MR. SLOSAR:· 6.
·5· · · · · · ·MR. WRIGHT:· 6.
·6· ·BY MR. SLOSAR:
·7· · · · Q· · I think we're going in chronological order,
·8· ·hopefully, moving forward.· That's my goal. Mr. Pickard,
·9· ·is this the post-it note that Mike Simpson handed to
10· ·Detective York when you and him went to go speak?
11· · · · · · ·MR. WILLIAMS:· Object to the form.· Go ahead.
12· · · · · · ·MR. WRIGHT:· Object to form and foundation.
13· · · · A· · I don't remember him giving him a sticky note.
14· · · · Q· · You don't?· What do you recall about your
15· ·meeting with Mike Simpson in the presence of Detective
16· ·York?
17· · · · A· · I remember -- I don't remember who got the
18· ·information, but he had a stolen four-wheeler there and
19· ·I remember checking it, and I don't remember what was
20· ·said between them.
21· · · · Q· · Did Detective York ever give you a copy of the
22· ·sticky note that you have before you?
23· · · · A· · Not that I'm aware of.
24· · · · Q· · Did Detective York tell you at any point
25· ·during the investigation, that Mike Simpson gave him a




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·1· ·sticky note with alibi witnesses without Detective York
·2· ·even asking for it?
·3· · · · A· · I don't recall that.
·4· · · · Q· · Did Detective York ever -- well, let me strike
·5· ·that. When you -- in the meeting with Mike Simpson that
·6· ·you recall having with Detective York and this four-
·7· ·wheeler issue, do you recall searching Mike Simp- son's
·8· ·home at all?
·9· · · · A· · No.
10· · · · Q· · Do you recall searching any of his vehicles
11· ·for evidence that could have been related to the Mills'
12· ·homicide?
13· · · · · · ·MR. WRIGHT:· Object to form, foundation.
14· · · · · · ·MR. WILLIAMS:· Join.
15· · · · A· · I don't even remember a vehicle being there
16· ·that day.
17· · · · Q· · What did Mike Simpson tell you when you met
18· ·with him that day?
19· · · · A· · I don't recall what -- what was said.· I don't
20· ·even remember talking to Mike.· I remember being there.
21· · · · Q· · Was Detective York taking the lead on talking
22· ·to Mike Simpson?
23· · · · A· · He was talking to him.
24· · · · Q· · Was he talking to him about the murder of
25· ·Katherine Mills?




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                                                                                 YVer1f
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·1· · · · A· · I have no idea what he's talking about.                I
·2· ·don't remember.· I wasn't -- I might have been over
·3· ·there running the four-wheeler or something, but I just
·4· ·remember being there.
·5· · · · Q· · So you don't have any recollection as to what
·6· ·was said to Mike Simpson when you and Detective York met
·7· ·with him; is that right?
·8· · · · A· · No, I can't recall anything.
·9· · · · Q· · And do you have any recollection as to any
10· ·statements that Mike Simpson made to you or Detective
11· ·York during that meeting?
12· · · · A· · No.
13· · · · Q· · Do you have any notes that would refresh your
14· ·recollection?
15· · · · A· · Don't have any notes.
16· · · · Q· · Was the interview recorded?
17· · · · A· · I don't think so.· I don't know, but I don't
18· ·remember it being recorded.
19· · · · Q· · Prior to going to speak with Mike Simpson, did
20· ·you learn that he was a person of interest in the
21· ·homicide?
22· · · · A· · I just don't recall.
23· · · · Q· · Prior to speaking with Mike Simpson, had you
24· ·learned that Mike Simpson, Allen Helton had gone on a
25· ·trip to Florida to get pills after the death of




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·1· ·Katherine Mills?
·2· · · · A· · I remember that they was gone.
·3· · · · Q· · Yeah.· And did Detective York tell you about
·4· ·that?
·5· · · · A· · Yes.
·6· · · · Q· · Okay.· And was that one of the reasons why you
·7· ·and Detective York were going to speak to Mr. Simpson
·8· ·that day?
·9· · · · · · ·MR. WILLIAMS:· Requires him to speculate as to
10· · · · why York went, but you can answer the question if
11· · · · you know.
12· · · · A· · I -- I don't know.
13· ·BY MR. SLOSAR:
14· · · · Q· · And I'll show you what we'll mark as Exhibit
15· ·number 7.· Mr. Pickard, when was the first time that you
16· ·saw --
17· · · · · · · · · ·(EXHIBIT 7 MARKED FOR IDENTIFICATION)
18· · · · · · ·MR. WILLIAMS:· Take a look at it before you
19· · · · answer any questions, okay?
20· ·BY MR. SLOSAR:
21· · · · Q· · When was the first time that you saw car
22· ·rental records relating to Mike Simpson?
23· · · · A· · I don't remember seeing any records on Mike
24· ·Simpson.
25· · · · Q· · Are you saying that today is the first day




                                                                                 PL 950
                                                                                 YVer1f
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·1· ·that you learned that car rental records exist from a
·2· ·car that Mike Simpson rented on the day that Katherine
·3· ·Mills was found dead?
·4· · · · A· · I had heard he did, I don't ever remember
·5· ·seeing a record of it.
·6· · · · Q· · Okay.· Did Detective York tell you about these
·7· ·records during the investigation?
·8· · · · A· · I think so.
·9· · · · Q· · And is it your recollection that Detective
10· ·York told you about this rental car issue and Mike
11· ·Simpson renting a car with cash after Ms. Mills was
12· ·killed?· Did he tell you about this information prior to
13· ·you two going over to Mike Simpson's house to speak with
14· ·him?
15· · · · · · ·MR. WILLIAMS:· Objection to the form.
16· · · · A· · I don't remember when he told me, I remember
17· ·him telling me about it.
18· · · · Q· · He told you about these records before Amanda
19· ·Hoskins and Jonathan Taylor were charged with murder in
20· ·2012, right?
21· · · · A· · I don't remember the time.
22· · · · Q· · Did you ever search one of Mr. Simpson's
23· ·vehicles?
24· · · · A· · Not that I'm aware of.
25· · · · Q· · Did you ever question Mr. Simpson about his




                                                                                 PL 951
                                                                                 YVer1f
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·1· ·whereabouts on December 20, 2010?
·2· · · · A· · No, I didn't.
·3· · · · Q· · Were you ever present when Mr. Simpson was
·4· ·questioned about his whereabouts on December 20, 2010?
·5· · · · A· · Not that I remember.
·6· · · · Q· · I'm going to show you what we'll mark as
·7· ·Exhibit number 8.· Mr. Pickard, are these -- who do
·8· ·these photographs depict?
·9· · · · · · · · · ·(EXHIBIT 8 MARKED FOR IDENTIFICATION)
10· · · · A· · Michael Simpson.
11· · · · Q· · And did you and Detective York take these
12· ·photographs of Mike Simpson when you were at his home?
13· · · · A· · I can't remember that, but it could have been.
14· ·I just don't remember him taking picture of him.
15· · · · Q· · Well, is these -- are these photographs of
16· ·Mike Simpson, is this an accurate reflection of what he
17· ·looked like around the time of Katherine Mills death?
18· · · · A· · Yeah, he's looked like that ever since I ever
19· ·saw him.
20· · · · Q· · Okay.
21· · · · A· · I guess.
22· · · · Q· · You don't recall exactly who took these
23· ·photographs?
24· · · · A· · No.
25· · · · Q· · Okay.· Well, what -- at the time -- well, did




                                                                                 PL 952
                                                                                 YVer1f
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·1· ·you learn, prior to seeing Mr. Simpson with Detective
·2· ·York, did you learn that there was an eye witness in
·3· ·this case by the name of Michael Crump?
·4· · · · A· · Yes.
·5· · · · Q· · Okay.
·6· · · · · · ·MR. WRIGHT:· Object to the form.· Go ahead.
·7· · · · Q· · And was it your understanding that Mr. Crump
·8· ·says that he saw a man walk into a blue vehicle around
·9· ·the time that Ms. Mills was found dead?
10· · · · A· · I remember him -- something like that, to that
11· ·effect, yeah.
12· · · · Q· · Okay.· Is it fair to say that the purpose of
13· ·taking the photographs of Mike Simpson was to show these
14· ·photographs to Mr. Crump?
15· · · · A· · I don't know.
16· · · · Q· · Okay.
17· · · · A· · I don't know what his reason was.
18· · · · Q· · Did you ever make a request that Mike Simpson
19· ·take a polygraph examination?
20· · · · A· · No.
21· · · · Q· · Did you ever request that Mike Simpson come
22· ·down to the Knox County Sheriff's Department for
23· ·questioning about the Mills' homicide?
24· · · · A· · No.
25· · · · Q· · Did you ever make a request that Mike




                                                                                 PL 953
                                                                                 YVer1f
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·1· ·Simpson's phone records be subpoenaed to determine
·2· ·whether he had conversations with Allen Helton or Jessie
·3· ·Lawson around the time of the murder?
·4· · · · A· · No.
·5· · · · Q· · Did you ever request to have Mike Simpson's
·6· ·DNA taken to compare to physical evidence obtained at
·7· ·the scene?
·8· · · · A· · No.
·9· · · · Q· · Did you ever request that fingerprints be
10· ·taken from Mike Simpson to be compared to physical
11· ·evidence recovered at the scene?
12· · · · A· · No.
13· · · · Q· · Was it your understanding during the Mills'
14· ·homicide investigation, that approximately five $100
15· ·bills were left at the scene next to the victim's purse?
16· · · · A· · Yes.
17· · · · Q· · Okay.· And was it your understanding that
18· ·during the Mills' homicide investigation, that
19· ·fingerprints were actually found on those bills?
20· · · · A· · I don't know anything about the fingerprints.
21· · · · Q· · Mr. Pickard, who is Vernon Bennett?
22· · · · A· · I don't know.· I don't know a Vernon Bennett.
23· · · · Q· · Are you -- is it your testimony here today
24· ·that you did not interview Vernon Bennett during the
25· ·Mills' homicide investigation?




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·1· · · · A· · No, I didn't.
·2· · · · · · ·MR. WILLIAMS:· Object to the form.
·3· · · · Q· · Well, were you -- did you participate in any
·4· ·interview of Vernon Bennett during the Mills' homicide
·5· ·investigation?
·6· · · · A· · Not that I know of.· I don't know him.
·7· · · · Q· · Did Vernon Bennett ever tell you that Mike
·8· ·Simpson called in the early morning hours of December
·9· ·20, 2010 and wanted to borrow $50?
10· · · · A· · No.
11· · · · Q· · Did Vernon Bennett ever tell you that when Mr.
12· ·Simpson arrived later that afternoon, he had a brand-new
13· ·car and didn't need to borrow money?
14· · · · A· · No.
15· · · · Q· · Now, was it your understanding that Mr. Crump
16· ·described the suspect as wearing a camouflage coat?
17· · · · A· · I can't remember what he -- what he said.
18· · · · Q· · Okay.· Did Vernon Bennett tell you that Mike
19· ·Simpson had a camouflage coat like the one being
20· ·described by Mr. Crump?
21· · · · · · ·MR. WRIGHT:· Object to form and foundation. Go
22· · · · ahead.
23· · · · · · ·MR. WILLIAMS:· Join.
24· · · · A· · I don't -- like I said, I don't know a Vernon
25· ·Bennett.




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·1· · · · Q· · Did Vernon Bennett tell you that he hadn't
·2· ·seen Mike Simpson in a -- in that camouflage coat since
·3· ·Katherine Mills' was found dead?
·4· · · · A· · No.
·5· · · · · · ·MR. WRIGHT:· Same objection.
·6· · · · Q· · Did Vernon Bennett tell you that Mike Simpson
·7· ·was driving a blue car on December 20, 2010?
·8· · · · · · ·MR. WRIGHT:· Same objection.
·9· · · · · · ·MR. WILLIAMS:· Asked and answered.· This
10· · · · witness has already testified --
11· · · · A· · No.
12· · · · · · ·MR. WILLIAMS:· -- repeatedly that he's not
13· · · · familiar with a Vernon Bennett.
14· · · · · · ·MR. SLOSAR:· I understand.· I'm just perfect-
15· · · · ing the impeachment.
16· ·BY MR. SLOSAR:
17· · · · Q· · Is it fair to say that you never drafted a
18· ·police report in the Mills' homicide investigation
19· ·regarding any conversation with Vernon Bennett?
20· · · · A· · No.
21· · · · Q· · How many times did you speak with Mike Simpson
22· ·during the Mills' homicide investigation?
23· · · · · · ·MR. WILLIAMS:· Object to the form.
24· · · · A· · As far as I remember, just that one time is
25· ·all I was there.




                                                                                 PL 956
                                                                                 YVer1f
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·1· · · · Q· · That was at his house?
·2· · · · A· · Yes.
·3· · · · Q· · You recall where he was living back then?
·4· · · · A· · At Moore's Creek.
·5· · · · Q· · Moore's Creek.· Was anyone else --
·6· · · · · · ·MR. WRIGHT:· It was in Morris Creek?
·7· · · · · · ·THE WITNESS:· Moore's, M-O-O-R-E-S.
·8· · · · · · ·MR. WRIGHT:· Thank you.
·9· ·BY MR. SLOSAR:
10· · · · Q· · Was anyone else present outside from yourself,
11· ·Mike Simpson, and Detective York?
12· · · · A· · Not that I remember, no.
13· · · · Q· · Do you consider Mike Simpson to be a person of
14· ·interest today in the homicide of Katherine Mills?
15· · · · A· · No.
16· · · · Q· · Why not?
17· · · · A· · I don't know, I don't know nothing about it.
18· · · · Q· · Okay.· So you don't have any information one
19· ·way or the other as to whether he was involved?
20· · · · A· · No.
21· · · · Q· · Was it suspicious to you back in 2011 when you
22· ·found out that he went on a pill run immediately after
23· ·the death of Katherine Mills?
24· · · · · · ·MR. WRIGHT:· Object to form, foundation.
25· · · · · · ·MR. WILLIAMS:· Object to the form.· Lack of




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·1· · · · foundation.
·2· ·BY MR. SLOSAR:
·3· · · · Q· · You can answer.
·4· · · · A· · It did look odd, I agree.· But I -- I don't
·5· ·know the situation.
·6· · · · Q· · Who is Bob Smith?
·7· · · · A· · He's a drug dealer in Moore's Creek.
·8· · · · Q· · All right.· How many times did you meet with
·9· ·Bob Smith during the Mills' investigation?
10· · · · A· · One time, as far as I remember.
11· · · · Q· · And who else was present with you?
12· · · · A· · Detective York.
13· · · · Q· · Okay.· Whose idea was it to go meet with Bob
14· ·Smith?
15· · · · A· · Detective York.
16· · · · Q· · All right.· And did you and Detective York
17· ·meet with Bob Smith down at his home?
18· · · · A· · Yes.
19· · · · Q· · What part of Knox County was that in?
20· · · · A· · Moore's Creek.
21· · · · Q· · All right.· Why did you and Mr. York meet with
22· ·Bob Smith that day?
23· · · · A· · Detective York wanted -- asked to talk to him
24· ·about some things.
25· · · · Q· · In the conversation that you and Detective




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·1· ·York had with Bob Smith, did you tell Mr. Smith that
·2· ·you'd sweetened his drug trafficking charges -- that you
·3· ·would sweep his drug trafficking charges under the rug
·4· ·if he told you how much money Ms. Hoskins and Mr. Lester
·5· ·had been spending with him?
·6· · · · · · ·MR. WRIGHT:· Object to form, foundation.· Go
·7· · · · ahead.
·8· · · · A· · I didn't hear the comment made.
·9· · · · Q· · Did you make that comment?
10· · · · A· · No, I don't think I said a word.
11· · · · Q· · Well, did anybody in your presence tell Bob
12· ·Smith that they would help him out on his drug charges
13· ·if he gave a statement against Ms. Hoskins?
14· · · · A· · No.
15· · · · Q· · No.· How long did you and Mr. York speak to
16· ·Bob Smith that day?
17· · · · A· · Probably seven or eight minutes, max.
18· · · · Q· · What did you say to him?
19· · · · A· · I don't remember saying anything to him.
20· · · · Q· · What did Detective York say to him?
21· · · · A· · He told him when we first went in -- he told
22· ·him we was there, we wasn't there to talk to him about
23· ·his drug dealing, he wanted to talk to him about
24· ·something else.
25· · · · Q· · And why weren't you guys there to talk to him




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                                                                                 YVer1f
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·1· ·about his drug dealing?
·2· · · · A· · I did not know it.· Well, I knowed he done it.
·3· ·He just --
·4· · · · Q· · Got away with it?
·5· · · · A· · No, he didn't get away.
·6· · · · · · ·MR. WRIGHT:· Object to form, foundation.
·7· · · · · · ·MR. WILLIAMS:· Join.
·8· · · · Q· · You're saying you didn't have any evidence
·9· ·implicating Bob Smith in drug trafficking back then?
10· · · · A· · Yeah, we had plenty evidence.
11· · · · Q· · Did you arrest him that day?
12· · · · A· · No.
13· · · · Q· · Did Mr. Smith tell you and Detective York, in
14· ·this conversation, that Amanda Hoskins had never
15· ·purchased drugs from him?
16· · · · A· · He told Jason York that.
17· · · · Q· · And did Mr. Smith tell Detective York, in your
18· ·presence, that he had actually never even seen or met
19· ·Amanda Hoskins?
20· · · · · · ·MR. WILLIAMS:· Did you say see or met?
21· · · · · · ·MR. SLOSAR:· Seen or met.
22· · · · · · ·MR. WILLIAMS:· Thank you.
23· · · · A· · I'm not sure about that.
24· ·BY MR. SLOSAR:
25· · · · Q· · But you did hear Bob Smith tell Detective York




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·1· ·that Amanda Hoskins wasn't buying drugs from him, right?
·2· · · · A· · Yes, I remember him saying that.
·3· · · · Q· · And isn't it true that Bob Smith also told
·4· ·Detective York that William Lester wasn't buying drugs
·5· ·from him either?
·6· · · · A· · Yes, he told him that.
·7· · · · Q· · Now, did Detective York write that stuff down
·8· ·in your presence?
·9· · · · A· · No, I don't remember --
10· · · · Q· · Okay.
11· · · · A· · -- whether he did or not.
12· · · · Q· · You didn't take any notes, right?
13· · · · A· · No.
14· · · · Q· · Okay.· You weren't recording it, right?
15· · · · A· · No.
16· · · · Q· · Do you know whether Detective York was
17· ·recording that?
18· · · · A· · I don't think so.
19· · · · Q· · Who's Frank Edward?
20· · · · A· · Who?
21· · · · Q· · Frank Edward.· Do you know him?
22· · · · A· · No.
23· · · · Q· · Okay.· Now, Bob Smith was later arrested for
24· ·drug trafficking.· Do you recall that?· After your
25· ·conversation with him?




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·1· · · · · · ·MR. WRIGHT:· I'm going to object to the form
·2· · · · and foundation.
·3· · · · · · ·MR. WILLIAMS:· I'll join.
·4· · · · A· · I think I remember hearing about it.
·5· ·BY MR. SLOSAR:
·6· · · · Q· · Okay.· Were you involved in that arrest at
·7· ·all?
·8· · · · A· · No.
·9· · · · Q· · Do you recall what else Bob Smith told
10· ·Detective York while you were there?
11· · · · A· · I don't recall anything.
12· · · · Q· · Mr. Pickard, who is Kayla Mills?
13· · · · A· · Donna Mills' daughter.
14· · · · Q· · On how many occasions during the investigation
15· ·into Katherine Mills' death, did you speak with Kayla?
16· · · · A· · Probably two or three times.· I can't remember
17· ·for sure.
18· · · · Q· · On February 12, 2012, did you participate in a
19· ·search at 43 Full Moon Court [sic], Barbourville,
20· ·Kentucky?
21· · · · A· · I was there, yes.
22· · · · Q· · I'll show you what we'll mark as Exhibit
23· ·number 9.· Here you go, Mr. Pickard.
24· · · · · · · · · ·(EXHIBIT 9 MARKED FOR IDENTIFICATION)
25· · · · A· · Thank you.




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·1· · · · Q· · Mr. Pickard, do you recognize this document?
·2· · · · A· · Yeah, I mean, it's -- I think it's the first
·3· ·time I ever saw it, but I know what -- I know what it's
·4· ·about.
·5· · · · Q· · Okay.· What's this document about?
·6· · · · A· · It's where the meth lab was found.
·7· · · · Q· · Okay.· And this is from a search that happened
·8· ·on February 12, 2012 in the early morning hours; is that
·9· ·right?
10· · · · A· · Yes.
11· · · · Q· · According to -- and you participated in that
12· ·search, correct, sir?
13· · · · A· · Yes.
14· · · · Q· · Okay.· According to this report, did officers
15· ·from the Barbourville Police Department and Kentucky
16· ·State Police assist your office in conducting a search?
17· · · · A· · To the best of my memory, there was some of
18· ·them there, yes.
19· · · · Q· · And I'm going to ask for you to go to page 4.
20· ·I think it will list some of those officers.· It should
21· ·look like this.· Yeah.· It's going to be in that
22· ·paragraph right there.
23· · · · A· · Yes.
24· · · · Q· · Okay.· Mr. Pickard, can you review that
25· ·paragraph and let me know if officers from the Kentucky




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·1· ·State Police and Barbourville Police Department assisted
·2· ·your department in the search?
·3· · · · A· · Yes, I remember.
·4· · · · Q· · Okay.· Now, when this search happened, did the
·5· ·officers involved wear any sort of mask to cover their
·6· ·face?
·7· · · · A· · Not that I'm aware of.
·8· · · · Q· · From looking at this report, are you able to
·9· ·determine which -- and I think on that first page, if
10· ·you turn to the first page of this report, can you
11· ·determine which officer initiated charges against the
12· ·five people inside that residence?
13· · · · A· · Derek Eubanks.
14· · · · Q· · Okay.· And going back to page 4 of that
15· ·paragraph, did Dallas Eubanks and Detective Randy Hunter
16· ·assist your department in conducting the search?
17· · · · A· · I don't know a Randy Hunter.· No, that was --
18· ·yeah, for the cleanup, yes.
19· · · · Q· · Okay.· And aside from yourself, did Derek
20· ·Hoskins -- or Derek Eubanks assist in conducting this
21· ·search on behalf of the Knox County Sheriff's
22· ·Department?
23· · · · A· · Yes.
24· · · · Q· · Okay.· And is it fair to say that on behalf of
25· ·the Barbourville Police Department, that Josh Lawson,




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·1· ·Clay Helton, and Jacob Knuckles assisted in the search
·2· ·on behalf of that department?
·3· · · · A· · Yes.
·4· · · · Q· · Okay.· Now, why was this search of the
·5· ·residence conducted; do you recall?
·6· · · · A· · I can't say for sure.
·7· · · · Q· · Okay.· I believe that this report references
·8· ·something about a 911 call.· Do you have any
·9· ·recollection of the information provided in that call?
10· · · · A· · No, I remember.· I thought somebody called it
11· ·in, but I wasn't positive, so
12· · · · Q· · And Jonathan Taylor was one of the people
13· ·inside the residence at the time, correct?
14· · · · A· · Yes.
15· · · · Q· · Okay.· Did you have any conversations with Mr.
16· ·Taylor while you were at the residence with him?
17· · · · A· · No, not that I can remember, no.
18· · · · Q· · All right.· And Kayla Mills was also one of
19· ·the individuals inside the home at the time of the
20· ·search, correct?
21· · · · A· · Yes.
22· · · · Q· · Okay.· And a number of other individuals were
23· ·arrested during the search, right?
24· · · · A· · I think so.
25· · · · Q· · Kim Helton was arrested, correct?




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·1· · · · A· · Yes.
·2· · · · Q· · Michael Bailey was arrested, correct?
·3· · · · A· · I think so.· I'm not --
·4· · · · Q· · And Josh Garland was arrested as well,
·5· ·correct?
·6· · · · A· · (No verbal response.)
·7· · · · Q· · Now, looking at the 4th page, staying on the
·8· ·4th page, do you see at the top where it says, "Date and
·9· ·time of occurrence, February 11, 2012 at 1922 hours, to
10· ·February 12, 2012 at 724 hours"?
11· · · · A· · Yes.
12· · · · Q· · Is it fair to say that the officers did not
13· ·completely leave the scene until 7:24 a.m. on February
14· ·12, 2012?
15· · · · · · ·MR. WRIGHT:· Object to form and foundation.
16· · · · · · ·MR. WILLIAMS:· Join.
17· · · · A· · That's probably true.
18· · · · · · ·MR. WILLIAMS:· Don't guess.· If you know, Mr.
19· · · · Pickard, tell him, but don't guess.
20· · · · Q· · Do you have any independent recollection?
21· · · · A· · No.
22· · · · Q· · Now, you stayed at the residence and had a
23· ·conversation with Kayla Mills on the couch; isn't that
24· ·right?
25· · · · · · ·MR. WRIGHT:· Object to form and foundation.




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·1· · · · A· · I don't remember talking to Kayla that night.
·2· · · · Q· · Well, is it true, sir, that you had a
·3· ·conversation with Kayla Mills that lasted about an hour
·4· ·or two --
·5· · · · · · ·MR. WRIGHT:· Objection.
·6· · · · Q· · -- on the couch in that residence before she
·7· ·was arrested?
·8· · · · A· · No.
·9· · · · · · ·MR. WRIGHT:· Object to form and foundation.
10· · · · · · ·MR. WILLIAMS:· Join.
11· · · · Q· · Do you have any recollection?
12· · · · A· · No.
13· · · · Q· · Have you ever told Kayla to say that she was
14· ·passed out in the car and woke up when she saw Jonathan
15· ·Taylor and Amanda Hoskins coming out of the house --
16· · · · A· · No.
17· · · · Q· · -- Katherine Mills' house?
18· · · · A· · No, I've never told her that.
19· · · · Q· · Never told her that?
20· · · · A· · No.
21· · · · Q· · Do you ever tell Kayla that you believe that
22· ·she fell asleep in the car when Jonathan Taylor and
23· ·Amanda Hoskins were inside Katherine Mills' home?
24· · · · A· · No.
25· · · · Q· · Never said anything like that?




                                                                                 PL 967
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·1· · · · A· · No.
·2· · · · Q· · Did you ever tell Kayla Mills that you knew
·3· ·that she wasn't involved in the murder of Katherine
·4· ·Mills?
·5· · · · A· · No.
·6· · · · Q· · You never told her that?
·7· · · · A· · I don't remember telling her that, no.
·8· · · · Q· · Did you believe that Kayla Mills was involved
·9· ·in the murder --
10· · · · A· · Yes.
11· · · · Q· · -- of Katherine Mills?
12· · · · A· · To a point.
13· · · · Q· · Based on what?
14· · · · A· · Just -- I guess, you could say, just -- I
15· ·mean, I don't know, I just felt like she was involved
16· ·some way.· She did a lot of talking.
17· · · · Q· · To who?
18· · · · A· · To other people.
19· · · · Q· · Who?
20· · · · A· · Just people in the neighborhood told you
21· ·things, I can't tell you a name.
22· · · · Q· · What did Kayla allegedly tell those people?
23· · · · A· · I -- I can't recall right off.· I mean --
24· · · · Q· · You have any notes at home that would refresh
25· ·your recollection?




                                                                                 PL 968
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·1· · · · A· · I don't have no notes.
·2· · · · Q· · So you had a gut feeling that Kayla was
·3· ·involved, is that what you're saying?
·4· · · · A· · Yes.
·5· · · · Q· · Okay.· But you didn't have any evidence that
·6· ·actually directly implicated Kayla in murder, correct?
·7· · · · A· · No.
·8· · · · Q· · You ever tell Kayla that she'd spend the rest
·9· ·of her life in jail if she didn't give a statement?
10· · · · A· · No.
11· · · · Q· · Did you ever tell Kayla that you didn't want
12· ·her to spend the rest of her life in jail?
13· · · · A· · I don't remember saying anything.
14· · · · Q· · When you saw Kayla Mills on February 12, 2012
15· ·during the search, did she tell you that she was not
16· ·involved in the homicide of Katherine Mills?
17· · · · A· · I don't even remember talking to Kayla Mills
18· ·that night.
19· · · · Q· · You said earlier you had two or three
20· ·conversations with Kayla throughout the investigation,
21· ·right?
22· · · · A· · Yes.
23· · · · Q· · Did Kayla Mills, in those conversations, al-
24· ·ways maintain her innocence?
25· · · · A· · Two of the times I talked to Kayla Mills, it




                                                                                 PL 969
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·1· ·wasn't nothing to do with the murder.
·2· · · · Q· · What was it to do with?
·3· · · · A· · We was -- she about run over me in another
·4· ·part of the county.· I was walking, she about run over
·5· ·me.
·6· · · · Q· · So you went to go talk to her about that?
·7· · · · A· · No.· By the time I got to my car, she was too
·8· ·far gone, she was moving on.· I went -- when I got back
·9· ·in my car, I went to Brown Springs, she almost hit me
10· ·head on coming out of Brown Springs.
11· · · · Q· · Did you think it was on purpose?
12· · · · A· · No.
13· · · · Q· · What did you think she did that for?
14· · · · · · ·MR. WRIGHT:· Object to form, foundation.
15· · · · A· · I just think she just --
16· · · · · · ·MR. WILLIAMS:· Requires him to speculate.
17· · · · Objection.
18· · · · A· · She just drove crazy, I guess.
19· · · · Q· · Did you talk to her about that?
20· · · · A· · I told her she needed to slow down before she
21· ·kills somebody.
22· · · · Q· · What did she say back?
23· · · · A· · I don't recall what she said.· She was crying,
24· ·she didn't say much.
25· · · · Q· · Well, you spoke to her at least one time about




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                                                                                 YVer1f
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·1· ·the actual homicide, right?
·2· · · · A· · Yes.
·3· · · · Q· · Okay.· In that conversation with Kayla, did
·4· ·she maintain her innocence to you?
·5· · · · A· · Yes.
·6· · · · Q· · Kayla Mills told you, in fact, that she didn't
·7· ·have anything to do with the murder, correct?
·8· · · · A· · Yes, she told me that.
·9· · · · Q· · And she told you, in fact, that she didn't
10· ·have any information about who did the murder, right?
11· · · · A· · I think so.
12· · · · Q· · In the conversation that you had with her,
13· ·Kayla never told you anything about anyone ever
14· ·confessing to her, correct?
15· · · · A· · Yes.
16· · · · Q· · And in fact, in your opinion, did she seem
17· ·cooperative --
18· · · · · · ·MR. WRIGHT:· Object to the --
19· · · · Q· · -- with your questions about the homicide?
20· · · · · · ·MR. WRIGHT:· Object to form and foundation.
21· · · · · · ·MR. WILLIAMS:· I'll join.
22· · · · Q· · You can answer.
23· · · · A· · I remember.· Yeah, she was always cooperative,
24· ·it seemed like.
25· · · · Q· · Just -- she was a pretty young girl back then,




                                                                                 PL 971
                                                                                 YVer1f
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·1· ·right?
·2· · · · A· · Yeah.
·3· · · · Q· · When you had this conversation with Kayla
·4· ·about the actual homicide investigation, not when she
·5· ·was driving her car recklessly, but when you spoke to
·6· ·her about the actual homicide investigation, do you
·7· ·recall where that conversation happened at?
·8· · · · A· · I remember going to her house and Jason
·9· ·talking to her.· I might have said a couple of things, I
10· ·didn't say much.
11· · · · Q· · Okay.· So during that time at Kayla's house,
12· ·she was actually talking to you and Detective York?
13· · · · A· · Yes.
14· · · · Q· · Okay.· Were any other officers there?
15· · · · A· · No.
16· · · · Q· · Do you remember if there were any other --
17· ·like, was her mother or father there at the house?
18· · · · A· · I don't -- no, I don't think there was anybody
19· ·there.
20· · · · Q· · Okay.· So in this conversation that Kayla had
21· ·with you and Detective York at her home, she informed
22· ·both of you that she didn't have any involvement in the
23· ·murder, correct?
24· · · · A· · Yes.
25· · · · Q· · And during this conversation at Kayla's home,




                                                                                 PL 972
                                                                                 YVer1f
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·1· ·she informed both you and Detective York that she didn't
·2· ·have any information about who actually committed the
·3· ·murder of Katherine Mills, correct?
·4· · · · A· · Yes.
·5· · · · Q· · During this conversation with you and
·6· ·Detective York, Kayla Mills informed you that she didn't
·7· ·have any knowledge of anyone confessing to have done
·8· ·that murder, correct?
·9· · · · A· · Yes.
10· · · · Q· · Okay.· And you believed her, right?
11· · · · · · ·MR. WRIGHT:· Object to form and foundation.
12· · · · · · ·MR. WILLIAMS:· I'll join.
13· · · · Q· · You can answer.
14· · · · A· · To a point.
15· · · · Q· · Now --
16· · · · · · ·MR. WILLIAMS:· Is this a good time to take a
17· · · · break for lunch?
18· · · · · · ·MR. SLOSAR:· Just a couple more minutes, if
19· · · · that's okay?
20· · · · · · ·MR. WILLIAMS:· Okay.
21· ·BY MR. SLOSAR:
22· · · · Q· · Is that okay, Mr. Pickard?
23· · · · A· · That's fine.
24· · · · Q· · Okay.· And did you record that conversation
25· ·that you had with Kayla Mills in the house with




                                                                                 PL 973
                                                                                 YVer1f
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·1· ·Detective York?
·2· · · · A· · I didn't.
·3· · · · Q· · Okay.· Did Detective York?
·4· · · · A· · I don't think he did.
·5· · · · Q· · Okay.· Did you take any notes during that
·6· ·conversation?
·7· · · · A· · No, sir.
·8· · · · Q· · Did you ever document the information that you
·9· ·learned from Kayla Mills that day in a police report?
10· · · · A· · No.
11· · · · Q· · Did Detective York make any threats to Kayla
12· ·Mills during that conversation?
13· · · · A· · Not that I remember, no.
14· · · · Q· · Okay.· Did he ever -- did Detective York, in
15· ·that conversation, ever tell Kayla that he was going to
16· ·charge her with murder?
17· · · · · · ·MR. WRIGHT:· Object to form and foundation.
18· · · · A· · I don't recall.
19· · · · · · ·MR. WILLIAMS:· I'll join.
20· · · · Q· · Did Detective York tell her that -- did
21· ·Detective York, in that conversation, tell Kayla that he
22· ·would charge her with murder unless she gave a statement
23· ·against somebody?
24· · · · · · ·MR. WRIGHT:· Object to form, foundation.
25· · · · A· · I don't recall that.




                                                                                 PL 974
                                                                                 YVer1f
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·1· · · · Q· · Not saying it didn't happen, just saying you
·2· ·don't remember, right?
·3· · · · A· · I don't remember.
·4· · · · · · ·MR. WRIGHT:· Object to form and foundation.
·5· · · · Misstates it.
·6· · · · Q· · After you spoke with Kayla that day, you
·7· ·didn't believe that she was involved in the murder of
·8· ·Katherine Mills, right?
·9· · · · · · ·MR. WRIGHT:· Object to form, foundation.
10· · · · · · ·MR. WILLIAMS:· I'll join.
11· · · · Q· · Is that right?
12· · · · A· · At that time, I don't -- I don't remember what
13· ·I thought.
14· · · · Q· · Well, if you thought that she was involved in
15· ·the murder, you would have -- well, if you believed that
16· ·Kayla Mills was involved in the murder, would you have
17· ·given her her Miranda warning before interviewing her?
18· · · · A· · No.· I would have had to have evidence.                I
19· ·didn't have nothing.· I wouldn't have done that no way,
20· ·that's up to Jason York.
21· · · · Q· · That's right.· Okay.· By the time you spoke to
22· ·Kayla Mills, you weren't aware of any evidence that
23· ·implicated her in the murder, correct?
24· · · · A· · Not that I recall, no.
25· · · · Q· · How often did you try to speak with Kayla




                                                                                 PL 975
                                                                                 YVer1f
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·1· ·Mills during the investigation?
·2· · · · A· · I don't know.
·3· · · · · · ·MR. WILLIAMS:· Object to the form of the
·4· · · · question.
·5· · · · A· · I don't know.· I even tell her -- a couple of
·6· ·time's all I remember ever talking to her.
·7· · · · · · ·MR. SLOSAR:· You want to take a break?· That's
·8· · · · fine.· Can we agree to do just, like, 40 minutes;
·9· · · · is that okay?
10· · · · · · ·MR. WILLIAMS:· 40 minutes.· That's fine.
11· · · · · · ·VIDEOGRAPHER:· Off the record.
12· · · · · · · · · ·(OFF THE RECORD)
13· · · · · · ·VIDEOGRAPHER:· Back on the record.
14· ·BY MR. SLOSAR:
15· · · · Q· · Mr. Pickard, before we went on a break, I was
16· ·asking you some questions about a girl by the name of
17· ·Kayla Mills.· Do you remember that?
18· · · · A· · Yes.
19· · · · Q· · Okay.· Now, at some point, you said that you
20· ·had one conversation with her about a homicide
21· ·investigation into Katherine Mills' death; is that
22· ·right?
23· · · · A· · I was present.
24· · · · Q· · So you were present for one conversation with
25· ·Kayla Mills --




                                                                                 PL 976
                                                                                 YVer1f
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·1· · · · A· · Yes.
·2· · · · Q· · -- about Katherine Mills' death, right?
·3· · · · A· · Yes.
·4· · · · Q· · Okay.· Detective York was also present, right?
·5· · · · A· · Yes.
·6· · · · Q· · Okay.· In that conversation, did Kayla tell
·7· ·you and Detective York that she was not dating Jonathan
·8· ·Taylor at the time of the murder?
·9· · · · A· · I'm pretty sure, yes.
10· · · · Q· · Okay.· And in that conversation, did Kayla
11· ·Mills tell you and Detective York that -- let me strike
12· ·that.· Sorry.
13· · · · · · ·Did you create any police report about the
14· ·conversation that yourself and Detective York had with
15· ·Kayla about the Mills' homicide?
16· · · · A· · No.
17· · · · Q· · And that's because you didn't believe you were
18· ·required to, right?
19· · · · A· · I didn't think anything, any kind of reports
20· ·or anything.
21· · · · Q· · And that was consistent with your
22· ·understanding of the Knox County policies and
23· ·procedures, right?· Not documenting an interview?
24· · · · A· · I wasn't -- I wasn't taken anything, any --
25· ·any kind of notes, anything.




                                                                                 PL 977
                                                                                 YVer1f
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·1· · · · Q· · Okay.· But that's -- that was -- you didn't
·2· ·have -- at the time that you met with Kayla Mills, you
·3· ·weren't aware of any policy or procedure of Knox County
·4· ·that would have required you to take notes or draft a
·5· ·police report based on the information you learned from
·6· ·her, correct?
·7· · · · A· · I wasn't aware of it, no.
·8· · · · Q· · Okay.· Now, between December 20, 2010 and
·9· ·April of 2012, you knew where Kayla Mills was living in
10· ·Barbourville, right?
11· · · · A· · Yes.
12· · · · Q· · Okay.· And isn't it true that you actually
13· ·helped Detective York locate her in Barbourville?
14· · · · A· · I can't say for sure.
15· · · · Q· · Do you recall that Kayla Mills, between --
16· ·well, let me strike that. Between December 20, 2010 and
17· ·April of 2012, did Kayla Mills live across the street
18· ·from Escoe's Market in Barbourville, Kentucky?
19· · · · A· · I don't know the dates, but that's where I
20· ·know she lived.
21· · · · Q· · Okay.· Sometime during that -- and at some
22· ·point during that range of December 20, 2010 and April
23· ·1, 2012, Kayla Mills live across from Escoe's, correct?
24· · · · A· · As far as I know, yes.
25· · · · Q· · Did you ever park your police vehicle in the




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                                                                                 YVer1f
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·1· ·Escoe's Market parking lot do surveillance on Kayla
·2· ·Mills?
·3· · · · A· · No.
·4· · · · Q· · Did you ever park your vehicle over at the
·5· ·Escoe's parking lot and watch -- or wait for Kayla Mills
·6· ·to come home?
·7· · · · A· · No.
·8· · · · Q· · No?· Did you ever park your police vehicle
·9· ·over at Escoe's Market and do surveillance on any other
10· ·residents that was in close proximity to it?
11· · · · A· · Not in his parking lot, I didn't.
12· · · · Q· · Did you park next to Escoe's and do
13· ·surveillance?
14· · · · A· · Across the road, I did.
15· · · · Q· · Okay.· And was that close to Kayla's house?
16· · · · A· · Yes.
17· · · · Q· · Okay.· And when you say, "across the road,"
18· ·can you describe where, approximately, you parked your
19· ·police cruiser?
20· · · · A· · There was a apartment building across the
21· ·road, I sit there a lot.· It had nothing to do with
22· ·Kayla Mills, though.
23· · · · Q· · What did it have to do with?
24· · · · A· · Just -- I just sit there and rest and watch
25· ·traffic.· We have a lot of things going on there.




                                                                                 PL 979
                                                                                 YVer1f
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·1· · · · Q· · And did you do that -- were you known to do
·2· ·that between December 20, 2010 and April 1, 2012?
·3· · · · A· · I'm sure I did, yes.
·4· · · · Q· · But it's your testimony that it didn't have
·5· ·anything to do with Kayla Mills; is that right?
·6· · · · A· · No.· It didn't have anything to do with her.
·7· · · · Q· · If you saw Kayla Mills come home, would you go
·8· ·talk to her sometimes?
·9· · · · A· · No.
10· · · · Q· · No?
11· · · · A· · No.
12· · · · Q· · But when you were doing this, you know, when
13· ·you were sitting in this parking lot, you were aware
14· ·that Kayla Mills was a -- let me strike that. Between
15· ·two -- December 20, 2010 and April 1, 2012, you were
16· ·aware that Detective York wanted to interview Kayla
17· ·Mills for the investigation into Katherine Mills' death,
18· ·correct?
19· · · · · · ·MR. WRIGHT:· Object to form and foundation.
20· · · · · · ·MR. WILLIAMS:· Requires him to speculate.
21· · · · A· · I -- I can't say that, no.
22· · · · Q· · Okay.· Okay.· Have you ever followed Kayla
23· ·Mills?
24· · · · A· · No.
25· · · · Q· · Who is Kayla's grandmother, do you know?




                                                                                 PL 980
                                                                                 YVer1f
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·1· · · · A· · I -- I think I know who her grandma was.
·2· · · · Q· · Did you ever talk to Kayla Mills' grandmother
·3· ·about this case?
·4· · · · A· · No.
·5· · · · Q· · Did you ever talk to Kayla Mills' grandmother
·6· ·about Kayla giving a statement to you or Detective York
·7· ·in this case?
·8· · · · A· · No.
·9· · · · Q· · You know who Stella Smith is, right?
10· · · · A· · Yeah, I know Stella.
11· · · · Q· · And you know that -- you knew that Stella
12· ·Smith was Kayla's aunt --
13· · · · A· · Yes.
14· · · · Q· · -- right?
15· · · · A· · Yes.
16· · · · Q· · I know that Stella has since passed away,
17· ·right?
18· · · · A· · Yes.
19· · · · Q· · Yeah.· Why did you and Detective York talk to
20· ·Stella Smith about Kayla giving a statement?
21· · · · · · ·MR. WRIGHT:· Object to form and foundation.
22· · · · · · ·MR. WILLIAMS:· Join.
23· · · · A· · I don't remember me and Detective York ever
24· ·talking to her.
25· · · · Q· · Did you talk to Stella Smith about Kayla




                                                                                 PL 981
                                                                                 YVer1f
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·1· ·giving a statement?
·2· · · · A· · Not that I can recall, no.
·3· · · · Q· · Did you ever tell Stella Smith that you wanted
·4· ·Kayla to say that she was in the car asleep and saw
·5· ·Jonathan and Amanda walk out of the house?
·6· · · · A· · No.
·7· · · · Q· · Did you ever tell Stella Smith that you wanted
·8· ·Kayla to tell a story that implicated Jonathan Taylor
·9· ·and Amanda Hoskins in the murder?
10· · · · A· · No.
11· · · · · · ·MR. WILLIAMS:· Object to the form.
12· · · · Q· · Did you ever tell Stella Smith that you
13· ·believe that Kayla was innocent and didn't have anything
14· ·to do with the murder?
15· · · · A· · No.
16· · · · Q· · Mr. Pickard, I'm going to ask that you look at
17· ·Exhibit number 10.· It's a copy of an arrest warrant for
18· ·Kayla Mills for the murder of Katherine Mills.· When did
19· ·Detective York first tell you that he was going to
20· ·initiate charges against Kayla Mills for the murder of
21· ·Katherine?
22· · · · · · · · · ·(EXHIBIT 10 MARKED FOR IDENTIFICATION)
23· · · · A· · I don't remember him ever telling me that.
24· · · · Q· · When was the first time that you ever saw the
25· ·criminal complaint that was filed on March 14, 2012




                                                                                 PL 982
                                                                                 YVer1f
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·1· ·against Kayla Mills for the homicide of Katherine Mills?
·2· · · · · · ·MR. WILLIAMS:· I'll object to form.
·3· · · · · · ·MR. WRIGHT:· I'll join.
·4· · · · A· · This is the first time I ever saw it.
·5· · · · Q· · Okay.· Was the first time you ever learned
·6· ·about this, during Detective York's deposition a couple
·7· ·of weeks ago?
·8· · · · A· · I mean, I -- I know we arrested her, but I
·9· ·don't -- I mean, I don't -- that's all I know.
10· · · · Q· · Did you ever -- did Detective York ever tell
11· ·you that he charged Kayla Mills with murder?
12· · · · A· · Not that I recall.
13· · · · Q· · That's something that you probably would
14· ·recall, right?
15· · · · A· · I would think so, yeah --
16· · · · Q· · Yeah.
17· · · · A· · -- but I don't.· I don't remember that.
18· · · · Q· · Sitting here today, do you -- are you aware of
19· ·any evidence that implicates Kayla Mills in the homicide
20· ·of Katherine?
21· · · · A· · Not that I'm aware of.
22· · · · Q· · And in March of 2012, were you aware of any
23· ·information that implicated Kayla Mills in the murder of
24· ·Katherine Mills?
25· · · · A· · No.




                                                                                 PL 983
                                                                                 YVer1f
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·1· · · · Q· · Are you surprised that Detective York didn't
·2· ·tell you that he was able to secure an arrest warrant
·3· ·against Kayla for the murder of Katherine Mills?
·4· · · · · · ·MR. WRIGHT:· Object to form.
·5· · · · A· · It's not surprising to me, but there would be
·6· ·long periods of time I didn't see Detective York.· He
·7· ·worked on his own.
·8· · · · Q· · Well, you were -- you took a statement with
·9· ·Detective York on March 8, 2012 from Allen Helton,
10· ·right?
11· · · · A· · I don't remember the date, but we did do that.
12· · · · Q· · Okay.· And I'll show you this statement later
13· ·on.· I'll represent to you it was March 8, 2012.
14· ·According to this arrest warrant, this was signed March
15· ·14, 2012, this arrest warrant against Kayla Mills.· Do
16· ·you see that?
17· · · · A· · Yes.
18· · · · Q· · Okay.· So -- and you know what sir, I'll show
19· ·you what we'll mark as Exhibit 15, which is a statement
20· ·that you and Detective York obtained from Allen Helton
21· ·on March 8, 2012.· Here you go, Mr. Pickard.
22· · · · · · · · · ·(EXHIBIT 15 MARKED FOR IDENTIFICATION)
23· · · · · · ·MR. WILLIAMS:· Take your time to look that
24· · · · over before you answer any questions on it, Mr.
25· · · · Pickard.




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·1· · · · Q· · I'm only going to -- no need to read it right
·2· ·now, I'm only going to ask you a question about the
·3· ·date.· In looking at that document, can you tell the
·4· ·date that you and Detective York obtained the statement
·5· ·from Mr. Helton?
·6· · · · A· · 03/08/12.
·7· · · · Q· · Okay.· And going back to the criminal
·8· ·complaint of -- against Kayla Mills, the other exhibit,
·9· ·which was done March 14, 2012, would you agree with me
10· ·that you then -- you would, at least, participated in an
11· ·interview, within six days of Mr. York initiating
12· ·charges against Kayla?
13· · · · A· · Repeat that question again.
14· · · · Q· · Okay.· Would you agree with me that you
15· ·participated in the interview of Allen Helton within six
16· ·days of Mr. York initiating charges against Kayla --
17· · · · A· · Yes.
18· · · · Q· · -- for the murder of Katherine Mills?
19· · · · · · ·MR. WRIGHT:· I'll object to form.
20· · · · Q· · And --
21· · · · · · ·MR. WILLIAMS:· I'll join.
22· · · · Q· · -- either before or after you and Detective
23· ·York interviewed Mr. Helton, did Detective York ever
24· ·tell you that he was going to initiate charges against
25· ·Kayla Mills --




                                                                                 PL 985
                                                                                 YVer1f
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·1· · · · A· · Not --
·2· · · · Q· · -- for the murder of Katherine?
·3· · · · A· · Not that I recall.
·4· · · · Q· · On March 8, 2012, at any point in time, did
·5· ·Detective York tell you that he had evidence implicating
·6· ·Kayla Mills in the homicide of Katherine Mills?
·7· · · · A· · Not that I recall.
·8· · · · Q· · At any point in time on March 8, 2012, did
·9· ·Detective York tell you that he had probably cause to
10· ·initiate charges against Kayla for the murder of
11· ·Katherine Mills?
12· · · · A· · Not that I recall.
13· · · · Q· · Either before or after your interview with Mr.
14· ·Helton, did Detective York tell you that he was going to
15· ·initiate charges against Amanda Hoskins and Jonathan
16· ·Taylor for the murder of Ms. Mills?
17· · · · · · ·MR. WILLIAMS:· Object to the form.
18· · · · A· · Not that I recall.
19· · · · Q· · On March 8, 2012, did Detective York tell you
20· ·whether he had probable cause to initiate charges
21· ·against Amanda Hoskins and Jonathan Taylor for the
22· ·murder of Katherine Mills?
23· · · · A· · Not that I recall, no.
24· · · · Q· · Aside from taking the statement from -- well,
25· ·let me withdraw that question.· Mr. Pickard, did




                                                                                 PL 986
                                                                                 YVer1f
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·1· ·Detective York tell you that he agreed to not pursue
·2· ·charges against Kayla Mills, so long as she gave a
·3· ·statement implicating Jonathan Taylor?
·4· · · · · · ·MR. WILLIAMS:· Object to form.
·5· · · · A· · No.
·6· · · · Q· · Did Detective York ever tell you whether he
·7· ·made any promises to Kayla in exchange for her statement
·8· ·against John [sic]?
·9· · · · A· · No.
10· · · · Q· · What did Detective York tell you about the
11· ·statement he obtained from Kayla Mills?
12· · · · A· · I don't remember anything he told me.
13· · · · Q· · Did you ever ask him how he got that
14· ·statement?
15· · · · A· · No.
16· · · · Q· · Did you ever ask him what that statement said?
17· · · · A· · No, not that I recall, no.
18· · · · Q· · Mr. Pickard, in your career as the sheriff of
19· ·Knox County for 12 years, have you ever obtained an
20· ·arrest warrant against a witness in order to coerce that
21· ·witness into giving a statement against a suspect --
22· · · · A· · No.
23· · · · Q· · -- in an investigation?
24· · · · · · ·MR. WILLIAMS:· Object to form.
25· · · · A· · No.




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·1· · · · Q· · Would that be a legitimate investigative
·2· ·action if someone were to do that?
·3· · · · · · ·MR. WRIGHT:· Object to form and foundation.
·4· · · · · · ·MR. WILLIAMS:· I'll join.· You can answer.
·5· · · · A· · I would think so, yes.
·6· · · · Q· · You would think that that would be a
·7· ·legitimate thing to do?
·8· · · · A· · Oh, no.· I think it wouldn't be legitimate.                 I
·9· ·misunderstood you.
10· · · · · · ·MR. WRIGHT:· I'll reiterate the objection to
11· · · · the follow-up.
12· · · · Q· · And you know, in your opinion, would it be
13· ·inappropriate for a police officer to charge someone
14· ·with a crime for the purpose of pressuring that witness
15· ·into giving a statement against someone else?· Would
16· ·that be an inappropriate law enforcement activity?
17· · · · · · ·MR. WRIGHT:· Object to form and foundation.
18· · · · · · ·MR. WILLIAMS:· Join.· You can answer.
19· · · · A· · In my opinion, yes.
20· · · · Q· · And that's based upon your career in law
21· ·enforcement; is that right?
22· · · · A· · Yes.
23· · · · · · ·MR. WRIGHT:· Object to form and foundation.
24· · · · Q· · You were present here a few weeks ago when
25· ·Detective York testified in his deposition; is that




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·1· ·right?
·2· · · · A· · Yes.
·3· · · · Q· · And in that deposition, Detective York said
·4· ·that he agreed to not pursue the murder charges against
·5· ·Kayla because she gave a statement against Jonathan
·6· ·Taylor.· Do you recall him testifying to that effect?
·7· · · · · · ·MR. WRIGHT:· I'll object to form.
·8· · · · · · ·MR. WILLIAMS:· Counsel, I think if you want
·9· · · · him to review Mr. York's testimony and ask him
10· · · · whether he recalls it as it's been stated, that's
11· · · · fine, but I don't -- I think it's inappropriate to
12· · · · just pick out statements that counsel recalls being
13· · · · said and then asking about it.
14· · · · · · ·MR. SLOSAR:· All right.· Let's go off.
15· · · · · · ·MR. WILLIAMS:· I think he should be given the
16· · · · statement and the context.
17· · · · · · ·MR. SLOSAR:· Let's go off the record.
18· · · · · · ·VIDEOGRAPHER:· Off the record.
19· · · · · · · · · ·(OFF THE RECORD)
20· · · · · · ·VIDEOGRAPHER:· We're back on the record.
21· ·BY MR. SLOSAR:
22· · · · Q· · Sir, I'm going to read this to you that you
23· ·can follow along.· This is from the deposition
24· ·transcript of Jason York on February 13, 2018. Beginning
25· ·at 1:62, line 4.· Question, "So was your understanding




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·1· ·that Kayla Mills implicated Jonathan Taylor in the
·2· ·murder of Katherine Mills, that you would not proceed
·3· ·forward with the charges against her for the murder,
·4· ·correct?"· Answer, "Say that very first part again."
·5· ·"Okay.· So there was an understanding between you and
·6· ·Kayla Mills and her counsel, that if she gave a
·7· ·statement implicating Jonathan Taylor in the murder of
·8· ·Katherine Mills but not implicating herself, that you
·9· ·would not proceed forward with the arrest warrant and a
10· ·citation against her for the murder of Ms. Mills,
11· ·correct?"· Objection by Mr. Wright.· Answer, "Yeah.
12· ·That's what the understanding of myself and her attorney
13· ·had." Question, "Okay.· Did you document that
14· ·understanding in any police report?"· Answer, "No."· See
15· ·those questions and answers, Mr. Pickard?
16· · · · A· · Yeah.
17· · · · Q· · Okay.· You were present for Detective York's
18· ·deposition, right?
19· · · · A· · Yes.
20· · · · Q· · It was a long day, right?
21· · · · A· · Oh, it was.
22· · · · Q· · And at that deposition, as we just went over,
23· ·Detective York testified that he had an agreement with
24· ·Kayla Mills and her attorney that if she gave a
25· ·statement implicating Jonathan Taylor in the murder of




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·1· ·Katherine Mills, that he would not proceed forward with
·2· ·the arrest warrant that he had initiated against her for
·3· ·the murder.· Okay?
·4· · · · A· · Uh-huh.· Yes.
·5· · · · Q· · Was that your recollection of Mr. York's
·6· ·testimony?
·7· · · · · · ·MR. WRIGHT:· I'll object to form.
·8· · · · A· · I read it there, I couldn't remember.
·9· · · · Q· · Speaks for itself, right?
10· · · · A· · Yes.
11· · · · Q· · Okay.· Did Detective York ever tell you that
12· ·he had reached that agreement with Kayla Mills?
13· · · · · · ·MR. WRIGHT:· I'll object to form.
14· · · · A· · Not that I recall, no.
15· · · · Q· · Do you believe that it was appropriate for
16· ·Detective York to charge Kayla Mills with murder in
17· ·order to elicit a statement from her implicating
18· ·Jonathan Taylor?
19· · · · · · ·MR. WRIGHT:· Object to form and foundation.
20· · · · · · ·MR. WILLIAMS:· I'll join the objection.· You
21· · · · can answer.
22· · · · A· · I don't really know.· I don't know why he
23· ·arrested her.· I mean, that was -- I don't know what
24· ·evidence he had or anything.
25· · · · Q· · And is it in your experience, do police




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·1· ·officers who initiate charges against somebody for a
·2· ·crime, are they usually supposed to make a factual basis
·3· ·for probable cause in the warrant for an arrest?
·4· · · · · · ·MR. WRIGHT:· Object to form.
·5· · · · A· · As far as I understand it, yeah.
·6· · · · Q· · Can you look at the Exhibit number 10, which
·7· ·is the arrest warrant against Kayla Mills?
·8· · · · A· · Yes.
·9· · · · Q· · Looking at this arrest warrant, and there is
10· ·an opening where normally there would be a factual
11· ·predicate to the charges, right, Mr. Pickard?
12· · · · A· · Yes.
13· · · · · · ·MR. WRIGHT:· Object to form.
14· · · · Q· · Looking in the part of this form where there
15· ·would normally be a factual predicate to the charges, is
16· ·there any factual basis listed there by Detective York
17· ·as to how he formed probable cause against Kayla for the
18· ·murder of Katherine Mills?
19· · · · · · ·MR. WRIGHT:· Object to form.
20· · · · · · ·MR. WILLIAMS:· I have to object to the form of
21· · · · the question, but you can answer.
22· · · · A· · I don't see it on this form, no.
23· · · · Q· · I'm going to now ask for you to -- well, did
24· ·Detective York ever tell you about his plan to arrest
25· ·Kayla Mills for murder unless she came to the police




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·1· ·station on March 16, 2012 to give a statement?
·2· · · · · · ·MR. WRIGHT:· Object to form.
·3· · · · A· · I don't recall that, no.
·4· · · · Q· · Did Detective York ever tell you that he
·5· ·received a statement from Kayla Mills on March 16, 2012?
·6· · · · A· · I don't remember that.
·7· · · · Q· · Did he ever tell you any of the details of the
·8· ·statement he received from Ms. Mills on March 16, 2012?
·9· · · · A· · Not that I recall.
10· · · · Q· · Sir, I'm going to ask you to look at Exhibit
11· ·number 11.· It's the March 16, 2012 police report of
12· ·Kayla Mills.· Do you have that in front of you?
13· · · · · · · · · ·(EXHIBIT 11 MARKED FOR IDENTIFICATION)
14· · · · A· · Yes.
15· · · · Q· · You ever seen this police report before today?
16· · · · A· · No.
17· · · · Q· · Okay.· Now, you testified earlier that between
18· ·the time that Katherine Mills was found dead and the
19· ·time when Kayla gave a statement in March of 2012, that
20· ·you had a few run-ins with her; is that right?
21· · · · A· · Yes.
22· · · · Q· · Okay.· And that in fact, you and Detective
23· ·York actually interviewed Kayla at her home on one
24· ·occasion about the murder of Katherine Mills, correct?
25· · · · A· · Yes.




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·1· · · · Q· · Okay.· Sir, I'm going to ask for you to look
·2· ·at this report.· Have you ever seen this report prior to
·3· ·today?
·4· · · · A· · No.
·5· · · · Q· · Did you ever review this report during the
·6· ·underlying homicide investigation?
·7· · · · A· · No.
·8· · · · · · ·MR. WILLIAMS:· Object to the form.
·9· · · · Q· · Did Detective York ever provide you with this
10· ·report during the homicide investigation?
11· · · · A· · No.
12· · · · Q· · Looking at the second paragraph, do you see
13· ·where it says, "Kayla Mills stated that she dated
14· ·Jonathan Taylor.· I asked Kayla to tell me about all the
15· ·times Jonathan talked about killing Katherine Mills."
16· ·You see that?
17· · · · A· · Yes.
18· · · · Q· · Okay.· Now, prior to March 16, 2012, Kayla had
19· ·actually told you and Detective York, in a separate
20· ·interview, that she was not dating Jonathan Taylor
21· ·around the time of the murder, correct?
22· · · · · · ·MR. WRIGHT:· I'll object to the form.
23· · · · A· · I can't remember her saying that.
24· · · · Q· · Okay.· Well, when you and Detective York --
25· ·I'll -- here's something I'm going to ask that you do.




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·1· ·Can you read to yourself the second paragraph of this
·2· ·report and let me know when you're finished?
·3· · · · A· · Okay.· Okay.
·4· · · · Q· · Now, you had a moment to read through this.
·5· · · · A· · (Coughs.)
·6· · · · Q· · You okay?
·7· · · · A· · I'm fine.
·8· · · · Q· · Okay.· You interviewed Kayla Mills prior to
·9· ·March 16, 2012 when Detective York took this statement,
10· ·correct?
11· · · · A· · I talked to her.· I can't remember the dates.
12· · · · Q· · Sure.· Sure.· But it was sometime before
13· ·Detective York got this statement, right?
14· · · · A· · Yeah.· I'm about pretty sure it was.
15· · · · Q· · Yeah.· And in your conversation with you, and
16· ·Detective York, and Kayla, she never told you that she
17· ·knew that Jonathan Taylor had it in him to kill
18· ·somebody, correct?
19· · · · A· · I don't recall her saying that, no.
20· · · · Q· · Kayla never told you that she broke up with
21· ·Jonathan Taylor because he had it in him to kill
22· ·somebody, correct?
23· · · · A· · I don't recall.
24· · · · · · ·MR. WRIGHT:· I'll object to form.
25· · · · Q· · Kayla Mills never told you that Jonathan




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·1· ·Taylor confessed to her that he killed Katherine,
·2· ·correct?
·3· · · · A· · Not that I recall, no.
·4· · · · Q· · Kayla Mills never told you that Jonathan
·5· ·Taylor said he left one lying up on the creek and didn't
·6· ·care to leave another, correct?
·7· · · · A· · Correct.
·8· · · · Q· · Kayla never told you that Jonathan brought up
·9· ·Amanda Hoskins and William Lester, and money being taken
10· ·from Ms. Mills, correct?
11· · · · A· · I don't recall that.
12· · · · Q· · Yeah.· In fact, earlier here, you testified
13· ·that Kayla told you and Detective York when she met with
14· ·you-all, that she didn't have any knowledge or
15· ·participation in the murder of Katherine Mills, correct?
16· · · · A· · Yes.
17· · · · Q· · Would you agree that the information that
18· ·Kayla -- that is attributed to Kayla in this statement
19· ·is the opposite of what she told you and Detective York
20· ·when you interviewed here -- her before?
21· · · · · · ·MR. WRIGHT:· Object to form.
22· · · · · · ·MR. WILLIAMS:· Object to the form.
23· · · · Q· · You can answer.
24· · · · · · ·MR. WILLIAMS:· You can answer.
25· · · · A· · Yes.




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·1· · · · Q· · Now, Mr. Pickard, have you ever, as the
·2· ·sheriff in Knox County, have you ever recorded
·3· ·interviews with a witness?
·4· · · · A· · No.
·5· · · · Q· · No.· Okay.· You never have?
·6· · · · A· · Not that I can remember, no.
·7· · · · Q· · You ever trained any of your officers on
·8· ·recording interviews?
·9· · · · A· · No.
10· · · · Q· · In your opinion, would it be appropriate for a
11· ·law enforcement officer to stop a recorded interview for
12· ·the purpose of telling that witness what to say?
13· · · · · · ·MR. WRIGHT:· Object to form and foundation.
14· · · · A· · No.
15· · · · Q· · Would that be against the training that you
16· ·received?
17· · · · · · ·MR. WRIGHT:· Object to form and foundation.
18· · · · Q· · Well, let me strike the question.· I'm going
19· ·to hand you what we'll mark as Exhibit number 12, Mr.
20· ·Pickard.· Actually, I've already handed it to you. I
21· ·apologize.· This is the -- it's a transcription of the
22· ·statement that Kayla gave.
23· · · · · · · · · ·(EXHIBIT 12 MARKED FOR IDENTIFICATION)
24· · · · A· · Oh.
25· · · · Q· · So it's this last one.· Mr. Pickard, you




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·1· ·weren't present when Detective York obtained a statement
·2· ·from Kayla Mills on March 16, 2012, correct?
·3· · · · · · ·MR. WILLIAMS:· Take as much time as you need
·4· · · · to read it over before you answer questions.
·5· · · · A· · No, I wasn't there.
·6· · · · Q· · Prior to today, have you ever seen the
·7· ·transcribed statement from Kayla Mills from
·8· ·March 16, 2012?
·9· · · · A· · No.
10· · · · Q· · Did Detective York ever talk to you about the
11· ·transcribed statement he got from Kayla Mills?
12· · · · A· · No.
13· · · · Q· · Okay.· Sir, how many times did you meet with
14· ·Michael Crump during the underlying investigation into
15· ·Katherine Mills death?
16· · · · A· · I don't ever remember talking to him but one
17· ·time.· And I didn't talk to him, I was there.
18· · · · Q· · Who else was there?
19· · · · A· · Detective York --
20· · · · Q· · Okay.
21· · · · A· · -- was talking to him.
22· · · · Q· · And do you recall where that conversation took
23· ·place?
24· · · · A· · At Ms. Mills' residence.
25· · · · Q· · Was -- how close in time to the murder was it




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·1· ·that Detective York was interviewing Mr. Crump in your
·2· ·presence?
·3· · · · A· · I'm not sure, it was a -- I'm not sure.
·4· · · · Q· · Do you vaguely remember when Amanda Hoskins,
·5· ·and Jonathan Taylor, and William Lester were charged
·6· ·with murder in March of 2012?
·7· · · · A· · Yes.
·8· · · · Q· · Okay.· Was the conversation that Detective
·9· ·York had in your presence with Mr. Crump prior to the
10· ·plaintiffs being charged with murder?
11· · · · A· · Yes.
12· · · · Q· · Okay.· What do you remember about this
13· ·conversation with Mr. Crump that took place at Katherine
14· ·Mills' residence?
15· · · · A· · I just -- I don't remember a lot, I just
16· ·remember he was talking about he saw a guy with a coat
17· ·on and walking toward the car.· And he said something
18· ·about a female, but I couldn't tell you.· I don't
19· ·remember what that was.
20· · · · Q· · Was anybody else there aside from you
21· ·yourself, Detective York, and Mr. Crump?
22· · · · A· · I don't remember.
23· · · · Q· · Do you recall how long that conversation
24· ·lasted?
25· · · · A· · It wasn't very long.




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·1· · · · Q· · Did Mister -- did Detective York show Mr.
·2· ·Crump photographs of Jonathan Taylor in that
·3· ·conversation?
·4· · · · A· · Not that I remember.
·5· · · · Q· · I'm going to show you what we'll mark as
·6· ·Exhibit number 19.
·7· · · · · · · · · ·(EXHIBIT 19 MARKED FOR IDENTIFICATION)
·8· · · · · · ·MR. WILLIAMS:· You made Kayla Mills' statement
·9· · · · number 12; is that right?
10· · · · · · ·MR. SLOSAR:· Yeah.· I'm bouncing.· Sorry.
11· · · · · · ·MR. WILLIAMS:· That's all right.· Just trying
12· · · · to keep up.
13· ·BY MR. SLOSAR:
14· · · · Q· · Mr. Pickard, here's Exhibit number 19. Please,
15· ·take a look at this.· When was the first time you saw
16· ·this sketch?
17· · · · A· · I don't remember.· I remember seeing it, but I
18· ·don't remember when.
19· · · · Q· · Well, when you saw it, was it your
20· ·understanding that this was a sketch based upon the
21· ·description that Michael Crump gave to officers in this
22· ·case?
23· · · · A· · Yes.
24· · · · Q· · Is it fair to say that you and Detective York
25· ·were looking for suspects in this investigation based --




                                                                               PL 1000
                                                                                 YVer1f
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·1· ·that would have matched the physical description of this
·2· ·sketch?
·3· · · · · · ·MR. WILLIAMS:· Object to the form.
·4· · · · A· · Not that I recall.
·5· · · · Q· · Well, let me ask it a different way.· Did he
·6· ·use this sketch in the investigation to try to find the
·7· ·real killer?
·8· · · · · · ·MR. WILLIAMS:· Object to the form.
·9· · · · · · ·MR. WRIGHT:· Yeah.· I'll object to the form of
10· · · · that, too.
11· · · · A· · I don't -- don't recall that.
12· ·BY MR. SLOSAR:
13· · · · Q· · Well, did Detective York use this sketch to
14· ·try to identify a suspect?
15· · · · A· · I don't -- I don't know.
16· · · · Q· · But you saw the sketch and you were aware that
17· ·it came from Michael Crump's description, right?
18· · · · A· · Yes.
19· · · · Q· · Did you request that a polygraph examination
20· ·be conducted of Allen Helton in January of 2011?
21· · · · A· · No.
22· · · · Q· · Do you know who did that?
23· · · · A· · No, I don't.
24· · · · Q· · Did Detective York ever tell you that he
25· ·requested a polygraph examination of Allen Helton in




                                                                               PL 1001
                                                                                 YVer1f
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·1· ·January of 2011?
·2· · · · A· · Not that I recall.
·3· · · · Q· · When did you first learn that Allen Helton
·4· ·failed the polygraph examination in this case?
·5· · · · · · ·MR. WILLIAMS:· Objection.· Lack of foundation.
·6· · · · A· · I have no idea, date wise.
·7· · · · Q· · Okay.· But prior -- sorry.· Prior to Ms.
·8· ·Hoskins and Mr. Taylor being charged with murder, did
·9· ·you learn that Allen Helton and Jessie Lawson had failed
10· ·polygraph examinations?
11· · · · A· · I heard at some point in time that they did,
12· ·but I can't tell you when -- when I was told that.
13· · · · Q· · And was it your understanding that Allen
14· ·Helton, Jessie Lawson, failed polygraph examinations
15· ·directly about whether they were involved in killing Ms.
16· ·Mills?
17· · · · · · ·MR. WRIGHT:· Object to form.
18· · · · A· · I don't remember being told what it was about.
19· · · · Q· · You just knew that they failed their
20· ·polygraphs, right?
21· · · · A· · Yes.
22· · · · Q· · Do you know who told you?
23· · · · A· · Detective York.
24· · · · Q· · Did you ever conduct any follow-up
25· ·investigation into Allen Helton, Jessie Lawson, or Mike




                                                                               PL 1002
                                                                                 YVer1f
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·1· ·Simpson, after you found out about the failed polygraph
·2· ·examinations?
·3· · · · A· · No.
·4· · · · Q· · Did Detective York ever request your
·5· ·assistance in follow-up investigations into Allen
·6· ·Helton, Jessie Lawson, or Mike Simpson, after you
·7· ·learned of the failed polygraph examinations?
·8· · · · · · ·MR. WRIGHT:· Object to form.
·9· · · · A· · Not that I recall.
10· · · · · · ·MR. WILLIAMS:· Join.
11· · · · Q· · Now, Mr. Pickard, how did you come into
12· ·contact with Allen Helton on March 7, 2012?
13· · · · A· · I -- I don't remember that date.
14· · · · Q· · Did I give you -- do you have an Exhibit
15· ·number 15, the statement from Allen Helton?· Yeah, it's
16· ·right there.· Did I not put a sticker on it?· I should
17· ·have.
18· · · · A· · There ain't no sticker on it.
19· · · · Q· · Oh, wait, here it is.
20· · · · A· · Oh, at the top.· Yeah, okay.· I got you.
21· · · · Q· · Okay.
22· · · · · · ·MR. WILLIAMS:· Make sure you've had time to
23· · · · review it before you answer any questions about it.
24· · · · Q· · So this is a statement that you and Detective
25· ·York obtained from Allen Helton on March 8, 2012; is




                                                                               PL 1003
                                                                                 YVer1f
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·1· ·that right?
·2· · · · A· · Yes.
·3· · · · Q· · Okay.· And you came into contact with Allen
·4· ·Helton the day before he gave this statement to you and
·5· ·Detective York, correct?
·6· · · · A· · This -- no.· This was all the same day.
·7· · · · Q· · It was all the same day?
·8· · · · A· · Yes.
·9· · · · Q· · How did you come into contact with Mr. Helton
10· ·that day?
11· · · · A· · The jail contacted me and said he wanted to
12· ·talk to me about the murder.
13· · · · Q· · Do you recall what jail it was?
14· · · · A· · Knox County Jail, but I don't recall who
15· ·called me.
16· · · · Q· · What did you do after you got the phone call?
17· · · · A· · I had somebody go over and bring him over to
18· ·the sheriff's office.
19· · · · Q· · Do you remember who that was?
20· · · · A· · No, I don't.
21· · · · Q· · And prior to that day, have you talked to
22· ·Allen Helton previously about the Mills' homicide
23· ·investigation?
24· · · · A· · Not that I remember, no.
25· · · · Q· · Have you been present when any other officer




                                                                               PL 1004
                                                                                 YVer1f
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·1· ·talked to Allen Helton previously about the Katherine
·2· ·Mills' homicide investigation?
·3· · · · A· · Not that I remember, no.
·4· · · · Q· · Okay.· You don't have any notes or reports at
·5· ·home that would refresh your recollection, right?
·6· · · · A· · No.
·7· · · · Q· · That's because you didn't take any notes or
·8· ·recorded statements during this case, right?
·9· · · · A· · That's right.
10· · · · Q· · So what happens when Mister -- well, I believe
11· ·you said you got a phone call from the jail saying that
12· ·Mr. Helton wanted to talk about the murder, right?
13· · · · A· · Yes.
14· · · · Q· · Okay.· And at that point, you made a request
15· ·to retrieve Mr. Helton, correct?
16· · · · A· · Yes.
17· · · · Q· · Did he make any phone calls to any other
18· ·officers to join you in the interview of Mr. Helton that
19· ·day?
20· · · · A· · Not that I recall.
21· · · · Q· · Okay.· Well, how did Jason York end up in your
22· ·office on March 8, 2012?
23· · · · A· · I called him.
24· · · · Q· · Okay.· And how did you get ahold of Mr. York?
25· · · · A· · I'm sure I called his cell phone.




                                                                               PL 1005
                                                                                 YVer1f
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·1· · · · Q· · Okay.· So you had his cell phone number at the
·2· ·time?
·3· · · · A· · Yes.
·4· · · · Q· · Did you tell him that Mr. Helton wanted to
·5· ·talk?
·6· · · · A· · I told him what Mr. Helton told me and he
·7· ·wanted to tell him.
·8· · · · Q· · So you had a conversation with Mr. Helton
·9· ·prior to calling Detective York?
10· · · · A· · Yes.· I mean, I didn't -- I just let him tell
11· ·me what he had on his mind.
12· · · · Q· · All right.· Was anybody else present when you
13· ·spoke to Mr. Helton?
14· · · · A· · There was somebody with me, but I can't tell
15· ·you who he was, I don't remember.
16· · · · Q· · Was it Derek Eubanks?
17· · · · A· · No.
18· · · · Q· · Do you know who else it could have been?
19· · · · A· · It just -- probably one of the deputies, I
20· ·don't remember.
21· · · · Q· · Mr. Helton was incarcerated at the time,
22· ·right?
23· · · · A· · Yes.
24· · · · Q· · He was charged with crimes; is that right?
25· · · · A· · Yes.




                                                                               PL 1006
                                                                                 YVer1f
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·1· · · · Q· · You remember what crimes he was charged with?
·2· · · · A· · Theft.
·3· · · · Q· · Now, did you talk to Mr. Helton about the trip
·4· ·he took to Florida?
·5· · · · A· · No.
·6· · · · Q· · Did you talk to Mr. Helton about Mike Simpson
·7· ·having money after Katherine Mills was found dead?
·8· · · · A· · No.
·9· · · · Q· · Did you talk to Mr. Helton about the rental
10· ·car that was paid for with cash on the day of Ms. Mills'
11· ·death?
12· · · · A· · No.
13· · · · Q· · Did you talk to Mr. Helton about how he got
14· ·money to go on a pill run to Florida?
15· · · · A· · No.
16· · · · Q· · Did you talk to Mr. Helton about how Mike
17· ·Simpson got money to go on a pill run to Florida?
18· · · · A· · No.
19· · · · Q· · Did you ask him about any of that stuff?
20· · · · A· · No.
21· · · · Q· · All right.· Now, prior to March 8, 2012, Allen
22· ·Helton never told you that he saw Amanda Hoskins and
23· ·William Lester at Escoe's Market the day before
24· ·Katherine Mills was found dead, right?
25· · · · A· · He did tell me that, but I don't know on the




                                                                               PL 1007
                                                                                 YVer1f
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·1· ·dates.
·2· · · · Q· · Well -- and I'm asking, prior to the -- well,
·3· ·the statement that you have in front of you, the
·4· ·statement that you and Detective York got from Allen
·5· ·Helton, he had never provided you with any of that
·6· ·information prior to March 8, 2012, correct?
·7· · · · A· · No.
·8· · · · Q· · Okay.
·9· · · · A· · So prior to March 8, 2012, Mr. Helton never
10· ·told you that Amanda Hoskins informed him that she was
11· ·going to tie up an old woman when she came out of the
12· ·bathroom, right?
13· · · · A· · Right.
14· · · · Q· · Prior to March 8, 2012, Allen Helton never
15· ·told you that he saw Amanda Hoskins after Ms. Mills'
16· ·death, and that she had thousands of dollars folded up
17· ·in a big wad, right?
18· · · · A· · Prior to 8th?
19· · · · Q· · Yes.
20· · · · A· · No.
21· · · · Q· · Prior to March 8, 2012, Allen Helton never
22· ·told you that Mike Simpson knew that Mr. Lester and Ms.
23· ·Hoskins were going to rob Katherine Mills, correct?
24· · · · A· · Correct.
25· · · · Q· · Now, this conversation that you had with Mr.




                                                                               PL 1008
                                                                                 YVer1f
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·1· ·Helton on March 8, 2012, where did that conversation
·2· ·take place?
·3· · · · A· · At the sheriff's office.
·4· · · · Q· · And when Mr. Helton came into the room, was he
·5· ·wearing handcuffs?
·6· · · · A· · I can't remember, but I'm sure he was, we
·7· ·always did cuff them.
·8· · · · Q· · Did any of the jail guards stay with him?
·9· · · · A· · I'm sure they waited outside, but I'm not
10· ·positive.· I can't remember.
11· · · · Q· · Do you recall whether your door was open or
12· ·closed?
13· · · · A· · Closed.
14· · · · Q· · And who else was present when you first talked
15· ·to Mr. Helton that day?
16· · · · A· · I don't remember who was in there with me.
17· · · · Q· · Now, the report that you have in front of you,
18· ·who drafted that report?· Was it you or Detective York?
19· · · · A· · Detective York.· It wasn't me.
20· · · · Q· · Okay.· Did you ever review that report to make
21· ·sure it was accurate?
22· · · · A· · I never looked at it before.· I just kind of
23· ·glanced through it now.
24· · · · Q· · Before today, have you ever seen this report?
25· · · · A· · No.




                                                                               PL 1009
                                                                                 YVer1f
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·1· · · · Q· · Okay.· Did you and Detective York have a
·2· ·conversation about who was going to draft this report?
·3· · · · A· · No.
·4· · · · Q· · How long did you speak to Allen Helton prior
·5· ·to calling Detective York?
·6· · · · A· · Probably six or seven minutes.
·7· · · · Q· · And in the six or seven minutes, what promises
·8· ·did you make to Mr. Helton?
·9· · · · · · ·MR. WRIGHT:· Object to form.
10· · · · A· · I didn't make no promise.· I did tell him I
11· ·would try to help him on these other charges if he was
12· ·telling the truth.
13· · · · Q· · Well, what were the charges that you were
14· ·referring to?
15· · · · A· · He was charged with stealing metal and it had
16· ·like -- I know one of them was a felony, but it worked
17· ·itself out.
18· · · · Q· · Allen Helton was in jail at the time, right?
19· · · · A· · Yes.
20· · · · Q· · And you promised that if he gave a statement,
21· ·that he would get out of jail that day on a bond, right?
22· · · · · · ·MR. WRIGHT:· Object to form.
23· · · · · · ·MR. WILLIAMS:· Object to the form.· Asked and
24· · · · answered.
25· · · · A· · I didn't promise that.




                                                                               PL 1010
                                                                                 YVer1f
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·1· ·BY MR. SLOSAR:
·2· · · · Q· · Well, did you tell him you would see what you
·3· ·could do?
·4· · · · A· · I told him I can see what I do about the
·5· ·charges.
·6· · · · Q· · After Allen Helton gave a statement to
·7· ·yourself and Detective York on March 8, 2012, was he
·8· ·released that same day from the Knox County Jail?
·9· · · · A· · I couldn't say.· I don't remember that.
10· · · · Q· · Do you have any reason to dispute that?
11· · · · · · ·MR. WRIGHT:· Object to form.
12· · · · A· · No, I don't.
13· · · · Q· · Did you contact anybody to see if Allen Helton
14· ·could get bonded out that day after he gave a statement
15· ·to you and Detective York?
16· · · · A· · No.· Not that I remember, no.
17· · · · Q· · Did Detective York tell you that he was going
18· ·to contact somebody to see if Allen Helton could get
19· ·bonded out that day?
20· · · · A· · I don't recall that.
21· · · · Q· · Do you recall having a conversation with Allen
22· ·Helton about getting him released?
23· · · · · · ·MR. WRIGHT:· Object to form.
24· · · · · · ·MR. WILLIAMS:· I'll join.
25· · · · A· · I don't recall that.




                                                                               PL 1011
                                                                                 YVer1f
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·1· · · · Q· · So you're not saying it didn't happen, you're
·2· ·saying you don't remember, right?
·3· · · · · · ·MR. WRIGHT:· Object.
·4· · · · A· · I'm saying I don't remember it happening, no.
·5· · · · Q· · You told him you could see what you could do
·6· ·on the charges, but you don't remember anything about
·7· ·trying to get him released that day --
·8· · · · A· · No.
·9· · · · Q· · -- is that your testimony?
10· · · · A· · No.· Yes, I don't remember.
11· · · · Q· · What did you tell Allen Helton when he came
12· ·into the room with his handcuffs?
13· · · · · · ·MR. WILLIAMS:· I'm sorry, what?· Who did --
14· · · · who are you speaking about?· I'm sorry.
15· · · · Q· · Well, did -- Mr. Pickard, when Allen Helton
16· ·was brought over from the jail in handcuffs, the door
17· ·was closed, and the jail guard was outside.· What did
18· ·you first say to Mr. Helton?
19· · · · · · ·MR. WRIGHT:· I'll object to form.
20· · · · A· · I just asked him what he wanted, to start
21· ·with.
22· · · · Q· · And did Allen Helton tell you that he wanted
23· ·help out on his criminal charges?
24· · · · A· · No.· Not in the beginning, no.
25· · · · Q· · Well, who first brought that up, you or him?




                                                                               PL 1012
                                                                                 YVer1f
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·1· · · · A· · He did.
·2· · · · Q· · What did he say?
·3· · · · A· · He told him that if I would help him on the
·4· ·charges he had against him, that he would tell about the
·5· ·murder.· He knowed some -- had some information on it.
·6· · · · Q· · And you didn't have any -- you said that you
·7· ·made that agreement as long as Allen was telling the
·8· ·truth, is that what you said?
·9· · · · A· · Yes.
10· · · · · · ·MR. WRIGHT:· Object to the form.
11· · · · · · ·MR. WILLIAMS:· Object to the form.· Go ahead.
12· · · · Q· · What investigation did you do to determine
13· ·whether the statement that you and Detective York got
14· ·from Allen Helton on March 8, 2012, what investigation
15· ·did you do to determine whether it was truthful or not?
16· · · · A· · I didn't do anything.
17· · · · Q· · Part of your agreement with him was that you
18· ·would see what you could do on his criminal charges as
19· ·long and he told you the truth, right?
20· · · · A· · Yes.
21· · · · · · ·MR. WRIGHT:· Object to form.
22· · · · Q· · But you didn't do any --
23· · · · · · ·MR. WILLIAMS:· Join.
24· · · · Q· · -- investigation to determine whether he told
25· ·you the truth; is that right?




                                                                               PL 1013
                                                                                 YVer1f
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·1· · · · A· · No, I didn't.
·2· · · · Q· · Was it you or did Detective York, who told Mr.
·3· ·Helton that he would be released on bond if he gave a
·4· ·statement implicating Ms. Hoskins and Mr. Taylor?
·5· · · · · · ·MR. WRIGHT:· Object to form and foundation.
·6· · · · · · ·MR. WILLIAMS:· Object to formation and
·7· · · · foundation.
·8· · · · A· · That wasn't me.
·9· · · · Q· · Did Detective York make that promise to him?
10· · · · A· · I don't remember that.
11· · · · Q· · Was it you or Detective York who told Mr.
12· ·Helton that he would not be charged with murder, so long
13· ·as he gave a statement against Mr. Taylor and Ms.
14· ·Hoskins?
15· · · · · · ·MR. WILLIAMS:· Object to the form.· Assumes
16· · · · facts not in evidence.
17· · · · · · ·MR. WRIGHT:· And I'll join.
18· · · · A· · It wasn't me.
19· ·BY MR. SLOSAR:
20· · · · Q· · Do you recall whether Detective York made that
21· ·statement to Mr. Helton?
22· · · · A· · I don't --
23· · · · · · ·MR. WRIGHT:· Same objection.
24· · · · A· · I don't remember him making that statement.
25· · · · Q· · Not saying it didn't happen, you just don't




                                                                               PL 1014
                                                                                 YVer1f
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·1· ·remember, right?
·2· · · · A· · Right.
·3· · · · · · ·MR. WRIGHT:· Object to the form of that.
·4· · · · Q· · What did Mr. Helton tell you in the six or
·5· ·seven minutes that you talked to him before you called
·6· ·Detective York?
·7· · · · A· · He just -- he told me, you know, to -- who
·8· ·killed Katherine Mills.· And he wanted to give a
·9· ·statement on it and I'm -- I told him that anyone that'd
10· ·help on them -- those charges, I told him that was
11· ·Detective York's case, I would contact him, and if he
12· ·wanted to tell him, you know, I said as long as you're
13· ·telling me the truth.· If you want to tell Jason -- Mr.
14· ·York that, you can.· And I called Jason and it seemed
15· ·like it was a short time thereafter, he came down and --
16· ·and talked to him.
17· · · · Q· · Mr. York did?
18· · · · A· · Yes.
19· · · · Q· · And when Detective York came down there, did
20· ·he come into your sheriff's office?
21· · · · A· · Yes.
22· · · · Q· · Okay.· And was that at the Knox County
23· ·Sheriff's Department?
24· · · · A· · Yes.
25· · · · Q· · What floor was that on?




                                                                               PL 1015
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI   Doc
             The Deposition of JOHN   #: 108-20
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·1· · · · A· · It ain't but one floor.
·2· · · · Q· · One floor?· I'm sorry.· That how you know I'm
·3· ·not from here.· Did you talk to Detective York outside
·4· ·of Mr. Helton's presence at all?
·5· · · · A· · I don't think so, I talked to him in there
·6· ·when he come in.· I just told him what he had.
·7· · · · Q· · And by that time, is it fair to say that Mr.
·8· ·Helton didn't give you any of the specifics that he
·9· ·knew?
10· · · · · · ·MR. WRIGHT:· Object to form.
11· · · · A· · No.
12· · · · Q· · He just told you generally that he was ready
13· ·to give a statement, right?
14· · · · A· · That -- concerning the --
15· · · · Q· · The murder.
16· · · · A· · -- the murder of her.
17· · · · Q· · Yeah.· But he didn't give you any of the
18· ·details of what he knew prior to Detective York getting
19· ·there?
20· · · · A· · Not that I recall, no.
21· · · · Q· · Okay.· So he said that he wanted to give a
22· ·statement on the murder, he wanted some help with his
23· ·pending charges, is that fair to say?
24· · · · A· · Yes.
25· · · · Q· · And you said, "I'm not the lead guy on this




                                                                               PL 1016
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI   Doc
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·1· ·case, I got to get Detective York over here," right?
·2· · · · A· · Yes.
·3· · · · Q· · Did you do any further questioning of Mr.
·4· ·Helton after you called Detective York, but before
·5· ·Detective York got there?
·6· · · · A· · No.
·7· · · · Q· · That's because you were waiting for the lead
·8· ·investigator to come into that room, right?
·9· · · · A· · Yes, I let him do it.
10· · · · Q· · Let him do his thing?
11· · · · A· · Yes.
12· · · · Q· · All right.· Did you record any of the first
13· ·part of that interview?
14· · · · A· · No.
15· · · · Q· · Okay.· Now, when Mr. York -- when Detective
16· ·York came into the room, did he have a conversation with
17· ·Mr. Helton in your presence?
18· · · · A· · Yes.
19· · · · Q· · How long was that?
20· · · · A· · I don't recall.· It wasn't very long --
21· · · · Q· · Okay.
22· · · · A· · -- but I can't recall exactly.
23· · · · Q· · Did Mr. Helton tell Detective York that he
24· ·would give a statement as long as he got some help out
25· ·on those pending charges?




                                                                               PL 1017
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI   Doc
             The Deposition of JOHN   #: 108-20
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·1· · · · · · ·MR. WRIGHT:· Object to form.
·2· · · · A· · I don't recall.
·3· · · · Q· · Did Mr. Helton make any requests of Detective
·4· ·York that he wanted help on his pending cases?
·5· · · · A· · I don't recall how that was brought about.
·6· · · · Q· · But at some point prior to taking this
·7· ·statement, or finishing the statement from Allen Helton,
·8· ·Detective York knew that Allen Helton wanted help on his
·9· ·pending charges in exchange for giving a statement; is
10· ·that right?
11· · · · · · ·MR. WRIGHT:· Object to form and foundation.
12· · · · · · ·MR. WILLIAMS:· Object to form.
13· · · · A· · Yes.
14· · · · Q· · And in fact, wouldn't you have told Detective
15· ·York about the request that Allen Helton made to have
16· ·help on his pending cases in exchange for giving a
17· ·statement?
18· · · · · · ·MR. WRIGHT:· Object to form.
19· · · · · · ·MR. WILLIAMS:· Object to the form.
20· · · · A· · I'm pretty sure I told him what he wanted.
21· · · · Q· · That's not something that you would have
22· ·hidden from Detective York, right?
23· · · · A· · No.
24· · · · Q· · That's an important fact in the case, right?
25· · · · A· · Yes.




                                                                               PL 1018
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI   Doc
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·1· · · · Q· · Is it fair to say that Detective York led
·2· ·Allen Helton's questioning during his recorded
·3· ·statement?
·4· · · · A· · Yes.
·5· · · · · · ·MR. WRIGHT:· Now, object to form on that.
·6· · · · Q· · Well, was Detective York asking questions to
·7· ·Allen Helton on March 8, 2012, in your office?
·8· · · · A· · Yes.
·9· · · · Q· · Were you present when Detective York was
10· ·asking those questions?
11· · · · A· · Yes.
12· · · · Q· · Did you ever leave the room when Detective
13· ·York asked those questions?
14· · · · A· · No.
15· · · · Q· · You were present the whole time, right?
16· · · · A· · Yes.
17· · · · Q· · Okay.· Did you ever make any attempts to stop
18· ·Detective York's questioning of Allen Helton on March 8,
19· ·2012 in your office?
20· · · · A· · No.
21· · · · Q· · So Exhibit 16 is an audio file.· The Bates
22· ·number is PL25962.· It's the audio recorded statement of
23· ·Allen Helton.· I'm going to hand Mr. Pickard Exhibit 17,
24· ·which is the transcript of the Allen Helton recording,
25· ·PL15840 through 15854.· Is that what you were going to




                                                                               PL 1019
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI   Doc
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·1· ·get?
·2· · · · · · · · · ·(EXHIBIT 16 MARKED FOR IDENTIFICATION)
·3· · · · · · · · · ·(EXHIBIT 17 MARKED FOR IDENTIFICATION)
·4· · · · · · ·MR. SLOSAR:· Is that what you were going to
·5· · · · get?
·6· · · · · · ·MR. WRIGHT:· Yeah.· Do you have an extra one?
·7· · · · · · ·MR. SLOSAR:· Yeah.
·8· · · · · · ·MR. WRIGHT:· Okay.
·9· · · · · · ·MR. SLOSAR:· I figured that's --
10· · · · · · ·MR. WILLIAMS:· Take the time to read that over
11· · · · before you answer questions on it.
12· ·BY MR. SLOSAR:
13· · · · Q· · I'm not going to -- we're going to go through
14· ·this bit by bit, Mr. Pickard.· Mr. Pickard, have you
15· ·ever seen this transcribed statement from Allen Helton
16· ·besides today?
17· · · · A· · No.
18· · · · Q· · First time you've seen this?
19· · · · A· · First time I've saw it.
20· · · · Q· · Okay.· Mr. Pickard, is it fair to say that the
21· ·March 8, 2012 statement from Mr. Helton implicates
22· ·Amanda Hoskins and Jonathan Taylor in the murder of
23· ·Katherine Mills?
24· · · · A· · I need to read some of it first.
25· · · · Q· · If you want, the police report is -- you can




                                                                               PL 1020
                                                                                 YVer1f
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·1· ·certainly read through this, but the police report,
·2· ·also, Exhibit 15, is a summary of the transcript.
·3· · · · · · ·MR. WRIGHT:· Why don't we take a minute to go
·4· · · · off the record --
·5· · · · · · ·MR. SLOSAR:· Sure.
·6· · · · · · ·MR. WRIGHT:· -- to let him read it.
·7· · · · · · ·MR. SLOSAR:· That's fine.
·8· · · · · · ·MR. WRIGHT:· Okay?
·9· · · · · · ·MR. WILLIAMS:· Thank you.
10· · · · · · ·MR. SLOSAR:· Yep.
11· · · · · · ·VIDEOGRAPHER:· Off the record.
12· · · · · · · · · ·(OFF THE RECORD)
13· · · · · · ·VIDEOGRAPHER:· Back on the record.
14· ·BY MR. SLOSAR:
15· · · · Q· · Mr. Pickard, do you have Exhibit number 15 in
16· ·front of you?
17· · · · A· · Yes.
18· · · · Q· · Okay.· Now, would you agree that -- so this is
19· ·the police report that Detective York drafted based upon
20· ·the conversation that you and he had with Allen Helton
21· ·on March 8, 2012, right?
22· · · · A· · Yes.
23· · · · Q· · Okay.· Fair to say that the statement from
24· ·Mister -- obtained from Mr. Helton on March 8, 2012,
25· ·implicates Amanda Hoskins and Jonathan Taylor in the




                                                                               PL 1021
                                                                                 YVer1f
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·1· ·murder of Katherine Mills?
·2· · · · A· · Yes.
·3· · · · Q· · Mr. Pickard, would you agree that Mister --
·4· ·Detective York provided information to Allen Helton
·5· ·during his recorded statement on March 8, 2012?
·6· · · · · · ·MR. WRIGHT:· Object to form --
·7· · · · · · ·MR. WILLIAMS:· Object to form.
·8· · · · · · ·MR. WRIGHT:· -- and foundation.
·9· ·BY MR. SLOSAR:
10· · · · Q· · You can answer.
11· · · · A· · Yes.
12· · · · Q· · And I'm going to go through these paragraphs
13· ·with you real quick, okay?· So I'm going to start at the
14· ·second paragraph of the police report.· Yep.· Do you see
15· ·where it says in the second paragraph that, "Allen
16· ·stated."· So this would be the second -- "Allen stated
17· ·Amanda asked him if he wanted to make some money, and
18· ·told him how."· Do you see that?
19· · · · A· · Yes.
20· · · · Q· · Prior to that sentence, it says that this
21· ·conversation happened on Sunday, December 19, 2010 when
22· ·Allen Helton was pumping gas at Escoe's Market, Dewitt,
23· ·right?
24· · · · A· · Yes.
25· · · · Q· · Okay.· Now, according to the report Allen




                                                                               PL 1022
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI   Doc
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·1· ·Helton, provided that information to yourself and
·2· ·Detective York on March 8, 2012, right?
·3· · · · A· · Yes.
·4· · · · Q· · Now, did Detective York provide that
·5· ·information to Mr. Helton on March 8, 2012?
·6· · · · · · ·MR. WRIGHT:· Object to form.
·7· · · · · · ·MR. WILLIAMS:· Requires him to speculate.
·8· · · · A· · Not that I recall, no.
·9· · · · Q· · Okay.· Do you see in the report where it says,
10· ·"Amanda told him about tying an old woman up when she
11· ·came out to tie her in the bathroom --
12· · · · A· · Yes.
13· · · · Q· · -- when she came out to the bathroom."· Do you
14· ·see that?
15· · · · A· · Yes.
16· · · · Q· · It's the third sentence in that second
17· ·paragraph, right?
18· · · · A· · Yes.
19· · · · Q· · Okay.· And according to this report -- well,
20· ·let me ask you it this way:· Did Detective York tell
21· ·Allen Helton this information --
22· · · · · · ·MR. WRIGHT:· Object to form.
23· · · · Q· · -- during the March 8, 2012 interview?
24· · · · A· · I don't recall that, no.
25· · · · Q· · So you're not saying it didn't happen, you're




                                                                               PL 1023
                                                                                 YVer1f
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·1· ·saying you don't recall, right?
·2· · · · A· · I just don't -- no, I don't recall.
·3· · · · Q· · Okay.· But according to this report, Allen
·4· ·Helton is the one that's supposedly is providing this
·5· ·information, right?
·6· · · · A· · Yes.
·7· · · · Q· · All right.· Now, I'm going to go a little bit
·8· ·farther in this paragraph.· Do you see where it says, "I
·9· ·asked Allen if he wanted to be a part of it, he said no.
10· ·Allen also stated Amanda told him that Katherine had
11· ·$15,000."
12· · · · A· · Yes.
13· · · · Q· · Do you see that?
14· · · · A· · Yes.
15· · · · Q· · Okay.· Did Detective York provide that
16· ·information to Allen Helton on March 8, 2012?
17· · · · A· · I'm not aware of that.
18· · · · Q· · Not saying it didn't happen, just saying you
19· ·don't recall, right?
20· · · · A· · I don't recall.
21· · · · Q· · Okay.· Would you agree that according to this
22· ·report, it's supposed to be Allen Helton providing this
23· ·information.· That's the way it reads, right?
24· · · · · · ·MR. WRIGHT:· Object to form.
25· · · · A· · Yes.




                                                                               PL 1024
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI   Doc
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·1· · · · Q· · Okay.· I'm going to go to the last paragraph
·2· ·on this first page.· It says -- about half way down, and
·3· ·it says, "I asked Allen if they have the money that they
·4· ·had stolen from Katherine?· He stated, 'Yes.'· Allen
·5· ·then stated -- or Allen stated Amanda had approximately
·6· ·$4,000 on her.· Allen stated Amanda Hoskins had the
·7· ·money folded up, like, he would put a rubber band on
·8· ·it."· Do you see that, sir?
·9· · · · A· · Yes.
10· · · · Q· · Okay.· Did Detective York provide that
11· ·information to Allen Helton on March 8, 2012?
12· · · · · · ·MR. WRIGHT:· Object to form.
13· · · · A· · Not that I'm aware of.
14· · · · Q· · Do you recall one way or the other?
15· · · · A· · No.
16· · · · Q· · According to this report, though, this is
17· ·supposed to be Allen Helton providing the information to
18· ·York, not the other way around, right?
19· · · · A· · Yes.
20· · · · Q· · Now, turning to the second page, do you see
21· ·where it says, "Allen stated it was true that Mike
22· ·Simpson knew William and Amanda was going to rob
23· ·Katherine, but did not -- they were going to kill her."
24· ·I think it's supposed to say, but they did not know --
25· ·but did not know they were going to kill her.· You see




                                                                               PL 1025
                                                                                 YVer1f
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·1· ·that, sir?
·2· · · · A· · Yes.
·3· · · · Q· · Okay.· And then it says, "Then Mike found out
·4· ·and started crying when Jessie called and told him they
·5· ·were in Florida."· Do you see that?
·6· · · · A· · Yes.
·7· · · · Q· · Okay.· Did Detective York provide that
·8· ·information to Allen Helton in the March 8, 2012
·9· ·interview?
10· · · · A· · Not that I'm aware of.
11· · · · Q· · Do you recall one way or the other?
12· · · · A· · No.
13· · · · Q· · Okay.· According to this report, though, this
14· ·is Allen Helton volunteering this information, right?
15· · · · A· · Yes.
16· · · · · · ·MR. WRIGHT:· Object to the form.
17· · · · Q· · Okay.· And again, after you spoke to -- when
18· ·you spoke to Allen Helton, he didn't give you any
19· ·substantive information about the knowledge that he was
20· ·going -- well, let me withdraw that question.· Prior to
21· ·calling Detective York, Allen Helton basically told you
22· ·that he had information about the Mills' homicide and
23· ·that he wanted a deal; is that right?
24· · · · A· · Yes.
25· · · · Q· · Okay.· You didn't have any substantive




                                                                               PL 1026
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI   Doc
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·1· ·conversations with him about the specific details that
·2· ·he was going to say, right?
·3· · · · · · ·MR. WRIGHT:· Object to the form.
·4· · · · · · ·MR. WILLIAMS:· Join.· You can answer.
·5· · · · A· · No.
·6· · · · Q· · Okay.· And in fact, you waited for Detective
·7· ·York to get there for the questioning to really begin,
·8· ·right?
·9· · · · A· · Yes.
10· · · · Q· · Okay.· And I believe you testified earlier,
11· ·that Detective York spoke very briefly to Allen Helton
12· ·prior to turning on the recorder, right?
13· · · · · · ·MR. WRIGHT:· Object to form, foundation.
14· · · · A· · I don't recall how -- it wasn't very long.
15· · · · Q· · Okay.· Fair to say that Allen Helton didn't
16· ·get into all the details with Jason York before the
17· ·recorder was turned on?
18· · · · A· · Yes.
19· · · · Q· · Okay.· So when the recorder was turned on,
20· ·that was the first time that Mr. Helton was able to tell
21· ·whatever information he knew about the murder of
22· ·Katherine Mills, right?
23· · · · A· · Yes.
24· · · · Q· · Okay.
25· · · · · · ·MR. WILLIAMS: To Mr. Pickard?




                                                                               PL 1027
                                                                                 YVer1f
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·1· · · · · · ·MR. SLOSAR:· To Mr. Pickard -- well, let me --
·2· · · · I'll go into that.
·3· · · · · · ·MR. WILLIAMS:· Okay.
·4· ·BY MR. SLOSAR:
·5· · · · Q· · Prior to the recorder being turned on, Mr.
·6· ·Helton didn't give you any specific details that he knew
·7· ·about the homicide of Katherine Mills, correct?
·8· · · · A· · No.
·9· · · · Q· · Okay.· Prior to the recorder being turned on,
10· ·Mr. Helton didn't give any specific details about the
11· ·murder of Katherine Mills to Detective York, correct?
12· · · · A· · Correct.
13· · · · · · ·MR. WILLIAMS:· At the time of the interview.
14· · · · · · ·MR. SLOSAR:· On March 8, 2012.
15· · · · · · ·MR. WILLIAMS:· Thank you.
16· ·BY MR. SLOSAR:
17· · · · Q· · Okay.· And at no time prior to March 8, 2012
18· ·did you and Detective York question Allen Helton about
19· ·the homicide of Katherine Mills together, right?
20· · · · A· · Not that I'm aware of.
21· · · · Q· · Okay.· So the first time on March 8, 2012, in
22· ·your office, that Allen Helton would have provided
23· ·information in specific details about the murder of
24· ·Katherine Mills, would have been when the recorder was
25· ·turned on; is that right?




                                                                               PL 1028
                                                                                 YVer1f
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·1· · · · A· · Yes.
·2· · · · Q· · And was the recorder ever turned off during
·3· ·the middle of the interview that Detective York and
·4· ·yourself were conducting of Allen Helton in your office?
·5· · · · A· · Not that I recall, no.
·6· · · · Q· · Okay.· You don't have any notes to refresh
·7· ·your memory, right?
·8· · · · A· · No.
·9· · · · Q· · All right.· Sir, I am going to play some Audio
10· ·and I'm just going to ask for you to listen.· I'm going
11· ·to ask you some questions after each audio clip, okay?
12· · · · A· · Okay.
13· · · · Q· · This is all from -- this is Exhibit number --
14· ·I want to say 16, and this is from the audio recorded
15· ·March 8, 2012 interview of Allen Helton.· It's PL25962.
16· · · · · · ·MR. WILLIAMS:· There's a transcript right
17· · · · there.
18· · · · · · ·MR. SLOSAR:· This time stamp is one minute 25
19· · · · seconds through one minute 48 seconds.· And, Mr.
20· · · · Pickard, I don't have a page number for you to
21· · · · follow along.· You certainly are welcome to.· I'll
22· · · · represent to you that this is going to be on page
23· · · · 2, this first one.· But I want you more to listen
24· · · · than read, okay?
25· · · · · · ·MR. WILLIAMS:· We can locate it after you




                                                                               PL 1029
                                                                                 YVer1f
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·1· · · · listen to it.
·2· · · · Q· · Sure.· All right.· So listen to this clip and
·3· ·I'm going to ask you some questions after, all right?
·4· · · · · · · · · ·(AUDIO PLAYED)
·5· · · · Q· · Sir, is that audio from the March 8, 2012
·6· ·recorded statement that yourself and Detective York took
·7· ·of Allen Helton?
·8· · · · A· · Yes.
·9· · · · Q· · And would you agree -- well, was the person
10· ·doing most of the talking in that recording, in that
11· ·clip, Detective York?
12· · · · A· · Yes.
13· · · · Q· · Okay.· And the other voice was Allen Helton,
14· ·right?
15· · · · A· · Yes.
16· · · · Q· · Do you agree that in the recording we just
17· ·listened to, that Detective York told Mr. Helton that he
18· ·saw Ms. Hoskins and Mr. Lester at Escoe's Market while
19· ·he was pumping gas, the day before Katherine was dead?
20· · · · A· · Yes.
21· · · · Q· · In that recorded statement, Mr. Helton did not
22· ·provide that information to yourself and Detective York,
23· ·correct?
24· · · · A· · Correct.
25· · · · Q· · Mr. Helton just agreed with the information




                                                                               PL 1030
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI   Doc
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·1· ·that Detective York provided to him, correct?
·2· · · · · · ·MR. WRIGHT:· Object to form.
·3· · · · A· · Yes.
·4· · · · Q· · And, Mr. Pickard, did you take any steps to
·5· ·stop that process from happening?
·6· · · · A· · No.
·7· · · · · · ·MR. WRIGHT:· Object to form.
·8· · · · · · ·MR. WILLIAMS:· Object to the form.· Lack of
·9· · · · foundation.
10· · · · Q· · All right.· I'm going to play the next clip.
11· ·It's from three minutes and six seconds to three minutes
12· ·and 55 seconds.· The same interview.
13· · · · · · ·MR. WRIGHT:· Do you know what page this is on?
14· · · · Q· · Please listen to this, I may ask you some
15· ·questions.
16· · · · · · ·MR. SLOSAR:· I don't.
17· · · · · · · · · ·(AUDIO PLAYED)
18· · · · Q· · One moment.· Okay.· Sir, is that audio from
19· ·the recorded statement that yourself and Detective York
20· ·took of Allen Helton on March 8, 2012?
21· · · · · · ·MR. WRIGHT:· Object to the form.
22· · · · A· · (No verbal response.)
23· · · · Q· · Would you agree that in the recording that we
24· ·just listened to, that Detective York told Mr. Helton
25· ·that Mr. Lester heard everything that was said by Ms.




                                                                               PL 1031
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI   Doc
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·1· ·Hoskins?
·2· · · · · · ·MR. WRIGHT:· Object.
·3· · · · A· · Yes.
·4· · · · Q· · Would you agree that in the recording we just
·5· ·listed to, that Detective York told Mr. Helton that Ms.
·6· ·Hoskins said, "Do you want to make some money? Williams
·7· ·ex-mother-in-law has 15,000."
·8· · · · A· · Yes.
·9· · · · Q· · Would you agree that in the recording we just
10· ·listened to, that Detective York told Mr. Helton that
11· ·she goes out every morning to use the bathroom?
12· · · · A· · Yes.
13· · · · Q· · Will you agree that in the recording we just
14· ·listened to, that Detective York told Mr. Helton that
15· ·they were either going to tie her up or just lock her
16· ·in?
17· · · · A· · Yes.
18· · · · · · ·MR. WRIGHT:· Object to form.
19· · · · Q· · Would you agree that in the recording we just
20· ·listened to, that Detective York told Mr. Helton that he
21· ·didn't want to talk to them no more that day?
22· · · · · · ·MR. WRIGHT:· Object to form.
23· · · · A· · Could you repeat that question?
24· · · · Q· · Sure.· Would you agree that in the recording
25· ·we just listened to, that Detective York told Allen




                                                                               PL 1032
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI   Doc
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·1· ·Helton that Helton didn't want to talk to them no more
·2· ·that day?
·3· · · · A· · Yes.
·4· · · · · · ·MR. WRIGHT:· Same objection.
·5· · · · Q· · And there were -- in the recorded statement
·6· ·and the part of the recording that we just listened to,
·7· ·is it fair to say that Mr. Helton did not provide that
·8· ·information to you and Detective York?
·9· · · · · · ·MR. WRIGHT:· I'll object to the form.
10· · · · · · ·MR. WILLIAMS:· Object to the form of the
11· · · · question.
12· · · · · · ·MR. WRIGHT:· Foundation.
13· · · · · · ·MR. WILLIAMS:· He can only answer as to what
14· · · · information that Mr. Helton provided to him.
15· · · · Requires him to speculate in what he provided to
16· · · · Mr. York.
17· ·BY MR. SLOSAR:
18· · · · Q· · You can answer.
19· · · · A· · Yes.
20· · · · Q· · Fair to say that Mr. Helton just agreed with
21· ·the information that Detective York was providing to him
22· ·in your office on March 8, 2012?
23· · · · · · ·MR. WRIGHT:· Object to form.· Foundation.
24· · · · · · ·MR. WILLIAMS:· Join.
25· · · · A· · Yes.




                                                                               PL 1033
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI   Doc
             The Deposition of JOHN   #: 108-20
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·1· · · · Q· · All right.· I'm going to play another clip.
·2· ·This is six minutes and 20 seconds through six minutes
·3· ·and 52 seconds.· Please listen and I'm going to ask a
·4· ·question, okay?
·5· · · · · · · · · ·(AUDIO PLAYED)
·6· · · · Q· · Sir, is that audio from the recorded statement
·7· ·that yourself and Detective York took from Allen Helton
·8· ·on March 8, 2012?
·9· · · · A· · Yes.
10· · · · Q· · Would you agree that in the recording we just
11· ·listened to, that Detective York told Allen Helton that
12· ·Amanda Hoskins had a big wad of money?
13· · · · · · ·MR. WRIGHT:· Object to form.
14· · · · A· · Yes.
15· · · · Q· · Would you agree --
16· · · · · · ·MR. WILLIAMS:· I'll join.
17· · · · Q· · -- that in the recording we just listened to,
18· ·that Detective York told Allen Helton that Amanda
19· ·Hoskins' wad of money was either flat or folded over?
20· · · · · · ·MR. WRIGHT:· I'm going to object to the form
21· · · · of that, too.
22· · · · A· · Yes.
23· · · · Q· · Would you agree that the recording we just
24· ·listened to, that Detective York told Allen Helton that
25· ·Amanda Hoskins told him that the money was from the job?




                                                                               PL 1034
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI   Doc
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·1· · · · A· · Yes
·2· · · · Q· · In that recorded statement, Mr. Helton did not
·3· ·provide that information to yourself and Detective York,
·4· ·correct?
·5· · · · · · ·MR. WRIGHT:· Object to form.
·6· · · · · · ·MR. WILLIAMS:· Same objection I made
·7· · · · previously.· He can testify as to what Mr. Helton
·8· · · · said to him.
·9· · · · A· · Yes.
10· · · · Q· · And in fact, Mr. Helton, on March 8, 2012 in
11· ·your office, which was agreeing with the information
12· ·that Detective York was providing to him, correct?
13· · · · · · ·MR. WRIGHT:· Object to form.
14· · · · · · ·MR. WILLIAMS:· Object.· I'll join.
15· · · · A· · (No verbal response.)
16· · · · Q· · I'm going to play eight minutes and 20 seconds
17· ·through nine minute [sic], three seconds.· Please
18· ·listen.· I'm going to ask you some questions.
19· · · · · · · · · ·(AUDIO PLAYED)
20· · · · Q· · Sir, is that audio from the recorded statement
21· ·that you and Detective York took from Allen Helton on
22· ·May 8 -- or March 8, 2012?
23· · · · A· · Yes.
24· · · · Q· · Okay.· Would you agree then that in the
25· ·recording we just listened to, that Detective York told




                                                                               PL 1035
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI   Doc
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·1· ·Allen Helton, "Jessie's testified that Mike started
·2· ·crying about Katherine, and you were in the car with him
·3· ·when he started crying about Katherine, right?"
·4· · · · · · ·MR. WRIGHT:· Object to the form.
·5· · · · · · ·MR. WILLIAMS:· Object to the form, too.
·6· · · · · · ·MR. WRIGHT:· Join.
·7· · · · Q· · Would you agree that Detective York told Mr.
·8· ·Helton, "He knew that they were going to rob her
·9· ·beforehand, but he didn't know they was going to.· They
10· ·weren't supposed to kill her, right?"
11· · · · · · ·MR. WILLIAMS:· Same objection.
12· · · · · · ·MR. WRIGHT:· Same objection.· Join.
13· · · · A· · Yes.
14· · · · Q· · In that recorded statement, Mr. Helton did not
15· ·provide that information to yourself and Detective York,
16· ·correct?
17· · · · · · ·MR. WILLIAMS:· Same objection.
18· · · · · · ·MR. WRIGHT:· Join.
19· · · · · · ·MR. WILLIAMS:· He can testify as to what Mr.
20· · · · Helton said to him.
21· · · · A· · (No verbal response.)
22· ·BY MR. SLOSAR:
23· · · · Q· · And Mr. Helton just agreed with the
24· ·information on March 8, 2012 in your office that
25· ·Detective York was providing to him, correct?




                                                                               PL 1036
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI   Doc
             The Deposition of JOHN   #: 108-20
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·1· · · · A· · Correct.
·2· · · · · · ·MR. WRIGHT:· Object to form.
·3· · · · Q· · I'm going to play nine minutes and 37 seconds
·4· ·through nine minutes and 53 seconds.· Please listen.
·5· ·I'll ask you some questions.
·6· · · · · · · · · ·(AUDIO PLAYED)
·7· · · · Q· · Sir, is that audio from the recorded statement
·8· ·that yourself and Detective York took of Allen Helton on
·9· ·March 8, 2012?
10· · · · A· · Yes.
11· · · · Q· · Would you agree that in the recording we just
12· ·listened to, Detective York told Mr. Helton that Mike
13· ·started crying and he asked Mike what's up, and Mike
14· ·turned to him and said, "They killed her"?
15· · · · A· · Yes.
16· · · · · · ·MR. WRIGHT:· Object to form.
17· · · · · · ·MR. WILLIAMS:· I'll join.
18· · · · Q· · On March 8, 2012 in your office, Mr. Helton
19· ·did not provide that information to yourself and to
20· ·Detective York, correct?
21· · · · · · ·MR. WRIGHT:· Object to form.
22· · · · · · ·MR. WILLIAMS:· Same objection.· He can testify
23· · · · as to what Mr. Helton said to him.
24· ·BY MR. SLOSAR:
25· · · · Q· · You can answer.




                                                                               PL 1037
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI   Doc
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·1· · · · A· · Correct.
·2· · · · Q· · And in fact, Mr. Helton was just agreeing with
·3· ·the information that Detective York was providing to
·4· ·him, correct?
·5· · · · · · ·MR. WRIGHT:· Object to form.
·6· · · · · · ·MR. WILLIAMS:· Requires him to speculate of
·7· · · · what Helton was doing.
·8· · · · A· · Correct.
·9· · · · Q· · And you were present when that was happening,
10· ·correct?
11· · · · A· · Correct.
12· · · · Q· · You didn't take any steps to stop that from
13· ·happening, correct?
14· · · · · · ·MR. WRIGHT:· Object to form.
15· · · · · · ·MR. WILLIAMS:· Objection.· Lack of foundation.
16· · · · Assumes facts not in evidence.
17· ·BY MR. SLOSAR:
18· · · · Q· · Is that correct, sir?
19· · · · A· · Correct.
20· · · · Q· · After listening to the recording, would you
21· ·agree that Detective York provided information for Allen
22· ·Helton to repeat during his March 8, 2012 statement?
23· · · · · · ·MR. WRIGHT:· Object to form.
24· · · · · · ·MR. WILLIAMS:· Requires him to speculate.
25· · · · Q· · You can answer.




                                                                               PL 1038
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI   Doc
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·1· · · · A· · Yes.
·2· · · · Q· · And in fact, Detective York provided
·3· ·information to Allen Helton on March 8, 2012 that
·4· ·implicated Amanda Hoskins and Jonathan Taylor in the
·5· ·murder of Katherine Mills, correct?
·6· · · · · · ·MR. WRIGHT:· Object to form.
·7· · · · A· · Correct.
·8· · · · Q· · And when Detective York's report states that
·9· ·Mr. Helton provided that information to him first,
10· ·that's not correct, right?
11· · · · · · ·MR. WRIGHT:· Object to form.
12· · · · · · ·MR. WILLIAMS:· Requires him to speculate.
13· · · · A· · Could you repeat that?
14· · · · Q· · Sure.· When Detective York says in his police
15· ·report that Allen Helton provided that information to
16· ·Detective York and yourself, when he says that in his
17· ·report, that's not accurate, right?
18· · · · · · ·MR. WRIGHT:· Same objection.
19· · · · · · ·MR. WILLIAMS:· Requires him to speculate.· He
20· · · · can testify as to what Mr. Helton told him.
21· · · · A· · Correct.
22· ·BY MR. SLOSAR:
23· · · · Q· · Now, I know you -- we talked earlier about the
24· ·discussion with Mr. Helton about helping him out on his
25· ·pending charges.· Do you remember that?




                                                                               PL 1039
                                                                                 YVer1f
    Case: 6:17-cv-00184-REW-HAI   Doc
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·1· · · · A· · Yes.
·2· · · · Q· · Okay.· Did you ever take any steps to help Mr.
·3· ·Helton with those charges?
·4· · · · A· · No.
·5· · · · Q· · Do you remember whether Jason York took any
·6· ·steps -- did -- well, let me ask it a different way. Did
·7· ·Jason York ever tell you that he took any steps to help
·8· ·Mr. Helton with those charges?
·9· · · · A· · No.
10· · · · Q· · Okay.· And you know, earlier we talked at
11· ·length about the conversations that happened before the
12· ·recorder got turned on on March 8, 2012; is that right?
13· · · · A· · Yes.
14· · · · Q· · Okay.· Is it fair to say that none of the
15· ·specific facts that are in this report, none of those
16· ·facts were revealed by Allen Helton, Detective York
17· ·[sic], in your presence prior to the recorder being
18· ·turned on on March 8, 2012, right?
19· · · · · · ·MR. WRIGHT:· Object to form.
20· · · · A· · Yes.
21· · · · Q· · Mr. Pickard, you never made any threats to
22· ·Allen Helton before that statement was recorded, right?
23· · · · A· · No.
24· · · · Q· · And after that statement was recorded, you
25· ·didn't make any threats to Allen Helton, right?




                                                                               PL 1040
                                                                                 YVer1f
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·1· · · · A· · No.
·2· · · · Q· · Did Detective York ever tell Allen Helton in
·3· ·your presence on March 8, 2012, that he didn't need to
·4· ·talk to any members of the defense team?
·5· · · · · · ·MR. WRIGHT:· Object to form, foundation.
·6· · · · A· · Not that I'm aware of.
·7· · · · Q· · Sir, I'm going to show you what we'll mark as
·8· · · · · · ·Exhibit number 18.· We're almost done.· Before
·9· ·we get there, Mr. Pickard, let me ask you a couple of
10· ·questions.· The first one is:· Do you know Jackie
11· ·Steele?
12· · · · · · · · · ·(EXHIBIT 18 MARKED FOR IDENTIFICATION)
13· · · · A· · Yes.
14· · · · Q· · Okay.· Did you now Jackie Steele back in April
15· ·of 2012?
16· · · · A· · Yes.
17· · · · Q· · Okay.· Did you ever tell Jackie Steele that
18· ·Detective York was feeding Allen Helton information
19· ·during his March 8, 2012 statement?
20· · · · · · ·MR. WRIGHT:· Object to form, foundation.
21· · · · A· · No.
22· · · · Q· · Did you ever tell Jackie Steele that --
23· · · · · · ·MR. WILLIAMS:· I'll join in that objection.
24· · · · Q· · -- Detective York -- well, sorry.· Today was
25· ·the first time -- is -- was today the first time you saw




                                                                               PL 1041
                                                                                 YVer1f
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·1· ·Detective York's report relating to the March 8, 2012
·2· ·interview of Allen Helton?
·3· · · · A· · Yes.
·4· · · · Q· · Okay.· So you weren't then -- if you read the
·5· ·report and noticed that things were false inside of it -
·6· ·- well, let me strike that question.
·7· · · · · · ·You wouldn't have had an opportunity to inform
·8· ·Jackie Steele that parts of the police report were false
·9· ·because you didn't have an opportunity to review it
10· ·while the case -- the criminal case was still pending;
11· ·is that right?
12· · · · · · ·MR.· WRIGHT:· I'm going to object to the form
13· · · · and foundation.
14· · · · · · ·MR. WILLIAMS:· Assumes facts not in evidence.
15· · · · A· · Yes, I never seen the form before.
16· ·BY MR. SLOSAR:
17· · · · Q· · You were there when the statement was taken,
18· ·but you didn't see what Detective York wrote up after
19· ·that; is that right?
20· · · · A· · Right.
21· · · · Q· · Okay.· Sir, do you recognize this document?
22· · · · A· · I've never seen it before, but I'm familiar
23· ·with it.
24· · · · Q· · All right.· Well, you wrote this letter,
25· ·right?




                                                                               PL 1042
                                                                                 YVer1f
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·1· · · · A· · That's just -- that's when he brought him over
·2· ·to talk to me.
·3· · · · Q· · And I know it says March 27, 2012.· Is that --
·4· ·that's probably a wrong date, right?
·5· · · · A· · Yeah.
·6· · · · · · ·MR. WRIGHT:· Object to form.
·7· · · · A· · It would have to be.
·8· · · · Q· · Because you remember talking to Allen Helton
·9· ·on the same day that he was -- that he gave a statement,
10· ·right?
11· · · · A· · Yes.
12· · · · Q· · Is it possible that you talked to Allen Helton
13· ·on March 7, 2012, and not March 8th?
14· · · · A· · It's possible, but I don't know.
15· · · · Q· · Okay.· I know it's been a long time.               I
16· ·thought that maybe the two in here might have been a
17· ·typo and that maybe you talked to him the day before.
18· · · · A· · No.
19· · · · · · ·MR. WRIGHT:· I'm going to object to the form,
20· · · · foundation.
21· · · · Q· · You don't recall, though, right?
22· · · · A· · No, I don't recall.
23· · · · Q· · Okay.· So it says that Deputy Gambrel,
24· ·according to your letter, that Deputy Gambrel arrested
25· ·Mr. Helton on a warrant for receiving stolen property;




                                                                               PL 1043
                                                                                 YVer1f
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·1· ·is that right?
·2· · · · A· · Yes.
·3· · · · Q· · Okay.· And then Deputy Gambrel brought Mr.
·4· ·Helton to the sheriff's office to speak with you; is
·5· ·that right?
·6· · · · A· · Yes.
·7· · · · Q· · And when Mr. Helton got there, he told you
·8· ·that he would help -- if you had helped him with the
·9· ·receiving stolen property charges, that he would get a
10· ·lot of information on the Mills' murder; is that right?
11· · · · A· · Yes.
12· · · · Q· · And you told Mr. Helton that if this was true,
13· ·that you would see what you could be done with getting
14· ·him a deal on the stolen property charges; is that
15· ·right?
16· · · · A· · Yes.
17· · · · · · ·MR. WILLIAMS:· Object to the form of the
18· · · · question.
19· · · · · · ·MR. WRIGHT:· I join that.
20· ·BY MR. SLOSAR:
21· · · · Q· · And after that, you contacted Detective York
22· ·to come and interview Mr. Helton; is that right?
23· · · · A· · Yes.
24· · · · Q· · All right.· Now, according to this letter, you
25· ·didn't actually assist Mr. Helton with his charges like




                                                                               PL 1044
                                                                                 YVer1f
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·1· ·you had told him that you would, right?
·2· · · · · · ·MR. WRIGHT:· Object to form.
·3· · · · A· · I didn't have to.
·4· · · · Q· · And why was that?
·5· · · · A· · It took care of itself.
·6· · · · Q· · Took care -- what do you mean by that?
·7· · · · · · ·MR. WRIGHT:· Object to form.
·8· · · · A· · The very next day or two, he went to court on
·9· ·it and they settled it in court that morning.
10· · · · Q· · Okay.· So you didn't have a chance to even
11· ·help him?
12· · · · A· · Right.
13· · · · Q· · I understand.· Okay.· Looking at the following
14· ·page, it's going to be the back side because I got these
15· ·double-sided, again.
16· · · · · · ·MR. WILLIAMS:· Did you mark this, Mr. Slosar?
17· · · · · · ·MR. SLOSAR:· Yeah.· This is marked as 18.
18· · · · · · ·MR. WILLIAMS:· Number 18.
19· ·BY MR. SLOSAR:
20· · · · Q· · According to the back side of this, was Allen
21· ·Helton a confidential informant for the Cumberland Tax
22· ·Force, UNITE?
23· · · · A· · I have no idea.
24· · · · Q· · Okay.· Well, will you review these documents
25· ·and let me know if he was or not?




                                                                               PL 1045
                                                                                 YVer1f
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·1· · · · · · ·MR. WILLIAMS:· Counsel, I will let him answer
·2· · · · these questions to the best of his ability, but can
·3· · · · we agree that as far as it relates to confidential
·4· · · · informants and how they're handled, that we'll keep
·5· · · · that portion of the transcript sealed to the
·6· · · · public?
·7· · · · · · ·MR. SLOSAR:· I think, you know, I wouldn't --
·8· · · · I don't have an objection to putting this under the
·9· · · · protective order, but we actually -- our complaint
10· · · · alleges that he was an informant --
11· · · · · · ·MR. WILLIAMS:· Okay.
12· · · · · · ·MR. SLOSAR:· -- so I don't -- I don't have an
13· · · · objection to putting this under seal.· I can't, you
14· · · · know, I think it's pretty public that he was.
15· · · · · · ·MR. WILLIAMS:· Well, if Mr. Helton's disclosed
16· · · · the fact of it to you himself, then I guess the
17· · · · confidentiality is waived.
18· · · · · · ·MR. SLOSAR:· Sure.· Sure.· He has.
19· · · · A· · Pretty obvious that he was.
20· ·BY MR. SLOSAR:
21· · · · Q· · All right.· Well, let me ask you the question
22· ·and we'll move forward, okay?
23· · · · A· · Okay.
24· · · · Q· · All right.· So based upon your review of these
25· ·documents, prior to Allen Helton -- prior to March 8,




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·1· ·2012 when yourself and Mr. York got a statement from
·2· ·Allen Helton, was he a confidential informant for the
·3· ·Cumberland Task Force UNITE unit?
·4· · · · · · ·MR. WRIGHT:· Object to form, foundation.
·5· · · · A· · I don't -- I wouldn't have no way of knowing
·6· ·that.
·7· · · · Q· · All right.· Well, based upon these documents,
·8· ·was it -- is it your belief that Allen Helton was a
·9· ·confidential informant?
10· · · · · · ·MR. WRIGHT:· Object to form, foundation.
11· · · · A· · Yes.
12· · · · Q· · Okay.· All right.· And, Mr. Pickard, you
13· ·participated in questioning Jonathan Taylor during the
14· ·underlying investigation into Katherine Mills' death; is
15· ·that right?
16· · · · A· · I think I was there, I didn't question him.
17· · · · Q· · I appreciate the distinction.· But that
18· ·questioning that you were present for happened at the
19· ·Barbourville Police Department, right?
20· · · · A· · Yes.
21· · · · · · ·MR. WRIGHT:· I'm going to the form,
22· · · · foundation.
23· · · · Q· · And was Detective Broughton and Detective York
24· ·present for Jonathan Taylor's questioning?
25· · · · · · ·MR. FARAH:· Object to the form.




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                                                                                 YVer1f
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·1· · · · · · ·MR. WRIGHT:· Join.
·2· · · · A· · Yes.
·3· · · · Q· · Okay.· And were they the ones primarily
·4· ·responsible for questioning Mr. Taylor at the
·5· ·Barbourville Police Department sometime in 2011 or 2012?
·6· · · · · · ·MR. FARAH:· Object to form.
·7· · · · · · ·MR. WRIGHT:· Join.
·8· · · · A· · I'm not familiar with that.
·9· · · · Q· · You just don't recall exactly who was doing
10· ·the questioning?
11· · · · · · ·MR. WRIGHT:· Object to form, foundation.
12· · · · A· · I don't remember dates.
13· · · · Q· · Okay.
14· · · · A· · I remember being there.
15· · · · Q· · Okay.· And you were there with Detectives
16· ·Broughton and York, too, right?
17· · · · A· · Yes.
18· · · · Q· · And they were questioning Mr. Taylor, right?
19· · · · · · ·MR. FARAH:· Object.
20· · · · · · ·MR. WRIGHT:· Object to form, foundation.
21· · · · A· · I remember us being there and I remember them
22· ·asking some questions, but --
23· · · · Q· · And during that time, Jonathan Taylor is being
24· ·questioned about the murder of Katherine Mills, correct?
25· · · · · · ·MR. WRIGHT:· Object to form and foundation.




                                                                               PL 1048
                                                                                 YVer1f
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·1· · · · Asked and answered.
·2· · · · A· · Yes.
·3· · · · Q· · And I know that you don't recall any of the
·4· ·specific questions that were posed to Mr. Taylor.· Is
·5· ·that fair?
·6· · · · A· · No.
·7· · · · Q· · Was the interview or questioning recorded?
·8· · · · A· · I have no idea.
·9· · · · Q· · Were you taking notes?
10· · · · A· · No.
11· · · · Q· · Were any of your colleagues taking notes?
12· · · · A· · Not that I'm aware of.
13· · · · Q· · And by "colleagues," I'm referring to Mr.
14· ·Broughton and Mr. York.· Were they taking notes that you
15· ·can recall?
16· · · · A· · Not that I know of.
17· · · · Q· · Do you remember whose idea it was to put
18· ·photographs of the crime scene on the table during the
19· ·questioning of Jonathan Taylor?
20· · · · · · ·MR. WILLIAMS:· Asked and answered.
21· · · · · · ·MR. WRIGHT:· Objection to form and foundation.
22· · · · Q· · You can answer.
23· · · · A· · No, I don't.
24· · · · Q· · Do you recall who the first person was during
25· ·that interview to threaten Mr. Taylor that he would be




                                                                               PL 1049
                                                                                 YVer1f
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·1· ·charged with murder?
·2· · · · · · ·MR. WILLIAMS:· Object to the form.
·3· · · · · · ·MR. WRIGHT:· Objection.· Join.
·4· · · · A· · I don't --
·5· · · · · · ·MR. WILLIAMS:· Assumes facts not in evidence.
·6· ·BY MR. SLOSAR:
·7· · · · Q· · Did Mr. Taylor continue maintaining his
·8· ·innocence throughout that questioning?
·9· · · · · · ·MR. WRIGHT:· Object to form, foundation.
10· · · · A· · I don't recall.
11· · · · Q· · Now, prior to participating in the -- well,
12· ·let me withdraw the question.· Prior to being present at
13· ·the questioning of Jonathan Taylor at the Barbourville
14· ·Police Department, you were familiar with the sketch by
15· ·Michael Crump, it's Exhibit 19 --
16· · · · A· · Yes.
17· · · · Q· · -- is that right?
18· · · · · · ·MR. WRIGHT:· Objection to form, foundation.
19· · · · Q· · Okay.· And sometime after this questioning,
20· ·yourself and Detectives York and Broughton participated
21· ·in taking photographs of Mr. Taylor; is that right?
22· · · · · · ·MR. WRIGHT:· Object to the form.
23· · · · A· · I don't remember that.
24· · · · Q· · But you were present when photographs of Mr.
25· ·Taylor were done, right?




                                                                               PL 1050
                                                                                 YVer1f
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·1· · · · A· · I was -- I was there, but I don't remember
·2· ·anybody taking any pictures.
·3· · · · Q· · You don't?
·4· · · · A· · I just don't, no.
·5· · · · Q· · Okay.
·6· · · · A· · I very well could have been outside at that
·7· ·time, I don't know, I don't remember.
·8· · · · Q· · I'm going to show you what we'll mark as
·9· ·Exhibit number 20.· Okay.· Please take a look at this,
10· ·Mr. Pickard.
11· · · · · · ·MR. SLOSAR:· Can you pass that back?
12· · · · Q· · Now, will you take a look at these
13· ·photographs, Mr. Pickard?· Do you recall -- well, whose
14· ·idea was it to give Jonathan Taylor a hoodie to put on
15· ·for these photographs?
16· · · · · · · · · ·(EXHIBIT 20 MARKED FOR IDENTIFICATION)
17· · · · A· · I can't answer that, I don't know.
18· · · · Q· · Were you there when Mr. Taylor was instructed
19· ·to put a hoodie on?
20· · · · A· · I don't remember that, no.
21· · · · Q· · Were you present when Mr. Taylor was
22· ·instructed to put the hoodie over his head?
23· · · · A· · No, I don't remember that.
24· · · · · · ·MR. WRIGHT:· Object to form, foundation.
25· · · · Q· · And it's your testimony that you don't recall




                                                                               PL 1051
                                                                                 YVer1f
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·1· ·anything about these photographs being taken; is that
·2· ·right?
·3· · · · A· · Right.
·4· · · · Q· · Did you have a conversation with Detectives
·5· ·Broughton and York where someone said something to the
·6· ·effect of, "Wait till these pictures make it so that we
·7· ·can charge him with murder"?
·8· · · · · · ·MR. WRIGHT:· Objection to form and foundation.
·9· · · · · · ·MR. FARAH:· Form.
10· · · · A· · No.
11· · · · Q· · Did you have any conversation with Detectives
12· ·York and Broughton about sending photographs of Jonathan
13· ·Taylor to Michael Crump in Oklahoma?
14· · · · A· · No.
15· · · · Q· · No.· Anybody ever tell you that photographs
16· ·were sent of Jonathan Taylor to Oklahoma for Michael
17· ·Crump to view?
18· · · · A· · No, not that I recall.
19· · · · Q· · When was the first time you learned that
20· ·Michael Crump looked at photographs of Jonathan Taylor
21· ·and did not identify him?
22· · · · · · ·MR. WRIGHT:· Object to form and foundation.
23· · · · A· · I don't know that I've ever heard that, I
24· ·don't.
25· · · · Q· · Will you look at Exhibit number 19 which is




                                                                               PL 1052
                                                                                 YVer1f
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·1· ·the sketch of Michael Crump?· And will you pull out the
·2· ·Exhibit number 8, which are the photographs of Mike
·3· ·Simpson?· Not Jonathan Taylor, I'm sorry. Mr. Pickard,
·4· ·does the photographs before you of Exhibit number 8, the
·5· ·picture of Mike Simpson, does he look similar to the
·6· ·sketch from Michael Crump?
·7· · · · · · ·MR. WRIGHT:· Object to form.
·8· · · · · · ·MR. WILLIAMS:· I'll join.
·9· · · · A· · There might be some similarity there.
10· · · · Q· · Okay.
11· · · · A· · I don't know.
12· · · · Q· · His -- the front of his hair looks similar,
13· ·right?
14· · · · · · ·MR. WRIGHT:· Object to form.
15· · · · Q· · The sketch, how it's sticking out of the
16· ·hoodie, he's got -- Mike Simpson has a male version of
17· ·bangs; is that right?
18· · · · A· · Yes.
19· · · · Q· · And the sketch has a mustache, which is
20· ·similar to the one that appears on Mike Simpson's face;
21· ·is that right?
22· · · · · · ·MR. WRIGHT:· Object to form.
23· · · · A· · Yes.
24· · · · Q· · And the profile of their -- of Mike Simpson's
25· ·face looks similar to that in the sketch, which stems




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                                                                                 YVer1f
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·1· ·from Michael Crump's description; is that right?
·2· · · · · · ·MR. WRIGHT:· Object to form.
·3· · · · · · ·MR. WILLIAMS:· I'll join.
·4· · · · A· · Yes.
·5· · · · Q· · Sheriff Pickard, I'm going to ask you some
·6· ·general questions, okay?· Have you ever lied to a
·7· ·witness in a criminal investigation?
·8· · · · A· · No.
·9· · · · Q· · Based upon the -- your knowledge of what a law
10· ·enforcement officer is supposed to do, would it be
11· ·appropriate for an officer to lie to a witness during a
12· ·criminal investigation?
13· · · · · · ·MR. WRIGHT:· Object to form and foundation.
14· · · · · · ·MR. WILLIAMS:· I'll join.
15· · · · A· · I think sometimes you can do that if you're --
16· ·you're working an investigation and I've -- I've let
17· ·people -- I've led them to believe I knowed something I
18· ·didn't.· I don't know whether you call that lying or
19· ·not, but --
20· · · · Q· · Well, would you ever tell a witness that you
21· ·would do something for them when you had no intention of
22· ·doing so?
23· · · · A· · No.
24· · · · · · ·MR. WRIGHT:· Object to form and foundation.
25· · · · Q· · Would you ever tell a witness that you were




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                                                                                 YVer1f
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·1· ·going to charge them with a crime knowing that you
·2· ·didn't have probable cause to do so?
·3· · · · · · ·MR. WRIGHT:· Object to form, foundation.
·4· · · · A· · No.
·5· · · · Q· · Mr. Pickard, have you ever yelled at a witness
·6· ·while questioning them in a criminal investigation?
·7· · · · A· · No.
·8· · · · · · ·MR. WRIGHT:· Object to form, foundation.
·9· · · · Q· · Is that something that you would have accepted
10· ·your deputies at the Knox County Sheriff's Department to
11· ·do?
12· · · · · · ·MR. WRIGHT:· Object to form.
13· · · · · · ·MR. WILLIAMS:· Requires him to speculate, but
14· · · · he can answer.
15· · · · A· · I don't have a problem with yelling, as long
16· ·as that's as far as it goes.
17· · · · Q· · Have you ever threatened a witness in a
18· ·criminal investigation while questioning them?
19· · · · A· · No.
20· · · · Q· · Would that be acceptable of law enforcement
21· ·activity?
22· · · · · · ·MR. WRIGHT:· Object to form, foundation.
23· · · · A· · To an extent, yeah.
24· · · · Q· · You think that that is acceptable for police
25· ·officers to yell at witnesses while they're




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                                                                                 YVer1f
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·1· ·investigating?
·2· · · · · · ·MR. WRIGHT:· Object to form, foundation.
·3· · · · · · ·MR. WILLIAMS:· Object to the form.
·4· · · · A· · No.
·5· · · · Q· · Have you ever swore at a witness while
·6· ·interviewing them in a criminal investigation?
·7· · · · A· · No.
·8· · · · Q· · Is that acceptable behavior from law
·9· ·enforcement officers?
10· · · · · · ·MR. WRIGHT:· Object to form, foundation.
11· · · · A· · I'm really not sure.
12· · · · Q· · Have you ever told a witness that you were
13· ·going to put them in prison unless they told you the
14· ·story that you wanted them to tell?
15· · · · A· · Not that I recall.
16· · · · Q· · Is that acceptable behavior in 2010 of a law
17· ·enforcement officer?
18· · · · · · ·MR. WRIGHT:· Object to form, foundation.
19· · · · A· · I'm not sure.
20· · · · Q· · Have you ever told the witness, "Fuck you,
21· ·fuck you, fuck you," while questioning them?
22· · · · A· · No.
23· · · · · · ·MR. WILLIAMS:· Asked and answered.
24· · · · Q· · Would that be appropriate investigation
25· ·technique in 2012?




                                                                               PL 1056
                                                                                 YVer1f
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·1· · · · · · ·MR. WRIGHT:· Object to form, foundation.
·2· · · · A· · Not to me.
·3· · · · Q· · Have you ever physically assaulted a witness
·4· ·while questioning them?
·5· · · · A· · No.
·6· · · · Q· · Would that be acceptable behavior in 2012?
·7· · · · A· · No.
·8· · · · Q· · Have you ever thrown a chair while questioning
·9· ·a witness in a criminal investigation?
10· · · · A· · No.
11· · · · Q· · Would that be acceptable behavior?
12· · · · A· · No.
13· · · · · · ·MR. WRIGHT:· Object to form, foundation.
14· · · · Q· · Mr. Pickard, I'm going to play what's Exhibit
15· ·number 21.· It's PL27706.· It's a clip.· Please listen.
16· ·I'm going to ask you some questions.
17· · · · · · · · · ·(EXHIBIT 21 IS MARKED FOR
18· · · · · · · · · ·IDENTIFICATION)
19· · · · · · · · · ·(AUDIO PLAYED)
20· · · · Q· · Mr. Pickard, that was an audio recording of
21· ·Detective York and Detective -- Deputy Derek Eubanks
22· ·interviewing Dave Fox in December 3, 2011 during an
23· ·investigation that your department was conducting with
24· ·the Kentucky State Police into the death of Bobby
25· ·Wiggins.· Was that the first time you heard that




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·1· ·recording?
·2· · · · A· · No.
·3· · · · Q· · You heard that recording at Detective York's
·4· ·deposition as well, right?
·5· · · · A· · Yes.
·6· · · · Q· · Had you heard that recording before then?
·7· · · · A· · No.
·8· · · · Q· · At the time that Deputy Eubanks was
·9· ·questioning Dave Fox, were you his supervisor?
10· · · · A· · Yes.
11· · · · Q· · And you heard Detective York's voice in there,
12· ·right?
13· · · · A· · Yes.
14· · · · Q· · You believe that Detective York is a good law
15· ·enforcement officer?
16· · · · · · ·MR. WRIGHT:· Object to form, foundation.
17· · · · A· · Yes.
18· · · · Q· · The conduct that you just heard in that clip,
19· ·is that something that you would have accepted to happen
20· ·under your supervision at Knox County Sheriff's
21· ·Department?
22· · · · · · ·MR. WILLIAMS:· Are you talking --
23· · · · · · ·MR. WRIGHT:· Object to form and foundation.
24· · · · · · ·MR. WILLIAMS:· -- about Detective York's
25· · · · conduct?




                                                                               PL 1058
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·1· · · · · · ·MR. SLOSAR:· Yes.
·2· · · · · · ·MR. WILLIAMS:· Thank you.
·3· · · · · · ·MR. WRIGHT:· Same objection.
·4· · · · A· · I wouldn't allow that personally, but
·5· ·BY MR. SLOSAR:
·6· · · · Q· · Why not?
·7· · · · · · ·MR. WRIGHT:· Objection.
·8· · · · A· · I'm just not that way.
·9· · · · Q· · So you don't coerce witnesses, right?
10· · · · · · ·MR. WRIGHT:· Object to form, foundation.
11· · · · A· · Well, I don't -- I just don't use foul
12· ·language.
13· · · · Q· · Well, did you hear Detective York throw a
14· ·chair in there?
15· · · · · · ·MR. WRIGHT:· Object to form, foundation.
16· · · · · · ·MR. WILLIAMS:· Requires him to speculate.
17· · · · Wasn't present.
18· ·BY MR. SLOSAR:
19· · · · Q· · Detective -- were you here a couple weeks ago
20· ·when Detective York claims that the noise you heard in
21· ·there was not him actually hitting a witness, but
22· ·instead him throwing a chair.· Were you here when you
23· ·testified to that Effect?
24· · · · · · ·MR. WRIGHT:· Object to form --
25· · · · A· · Yes.




                                                                               PL 1059
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·1· · · · · · ·MR. WRIGHT:· -- and foundation.
·2· · · · Q· · Is that a credible explanation to you?
·3· · · · · · ·MR. WRIGHT:· Object to form, foundation.
·4· · · · A· · I -- I wouldn't do that, but everybody's
·5· ·different.
·6· · · · Q· · What would you have done if you were in a room
·7· ·with Detective York?· Would you have stopped him there?
·8· · · · · · ·MR. WRIGHT:· Object to form.
·9· · · · A· · I'm not sure what I'd have done.
10· · · · Q· · Did you ever stop Detective York at any point
11· ·in the investigation into the death of Katherine Mills?
12· · · · A· · No.
13· · · · · · ·MR. SLOSAR:· Let's take a break.
14· · · · · · ·VIDEOGRAPHER:· Off the record.
15· · · · · · · · · ·(OFF THE RECORD)
16· · · · · · ·VIDEOGRAPHER:· Back on the record.
17· · · · · · ·MR. SLOSAR:· Plaintiff has no further
18· · · · questions.· Thank you, Mr. Pickard.
19· · · · · · ·THE WITNESS:· Thank you.
20· · · · · · · · · CROSS EXAMINATION
21· ·BY MR. FARAH:
22· · · · Q· · Sheriff Pickard, I represent Mike Broughton
23· ·and the City of Barbourville.· I just have a couple
24· ·follow-up clarification questions.· Do you have your
25· ·discovery answers in front of you, Exhibit number 13?




                                                                               PL 1060
                                                                                 YVer1f
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·1· · · · · · ·MR. WILLIAMS:· I'll help you get them here.
·2· · · · Q· · I'll direct you to page 7.· Interrogatory
·3· ·number 10.· You there?
·4· · · · A· · Yes.
·5· · · · Q· · And I think you clarified this earlier, but I
·6· ·just want to make sure we're clear on this.· At the end
·7· ·of that answer, you indicated you were present for the
·8· ·interview of Jonathan Taylor.· And then when Mr. Slosar
·9· ·asked you were you -- in the discovery answer it says
10· ·you were present when Mr. Taylor was arrested by Mike
11· ·Broughton, but you testified earlier you don't believe
12· ·that's true; is that correct?
13· · · · · · ·MR. SLOSAR:· Objection to form.· Misstates his
14· · · · testimony.
15· · · · Q· · Go ahead.
16· · · · A· · I didn't have any knowledge that Mike arrested
17· ·him.
18· · · · Q· · Okay.· And I think you're right.· Let me show
19· ·you PL5132.· And I don't have copies.· Elliot, you're
20· ·welcome to give that back to him, to the witness.
21· · · · · · ·MR. SLOSAR:· Sure.· Is this going to be an
22· · · · exhibit?
23· · · · Q· · Yeah.· We'll make it Exhibit --
24· · · · · · ·MR. SLOSAR:· 24.
25· · · · Q· · -- 24.· Sir, I would just ask you, would you




                                                                               PL 1061
                                                                                 YVer1f
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·1· ·identify what this document is?· Thank you, Elliot.
·2· · · · · · · · · ·(EXHIBIT 24 MARKED FOR IDENTIFICATION)
·3· · · · A· · It's an arrest warrant.
·4· · · · Q· · Okay.· And this -- is this the arrest warrant
·5· ·issued to Jonathan Taylor for murder and robbery in the
·6· ·Katherine Mills' investigation?
·7· · · · A· · Yes.
·8· · · · Q· · Okay.· And is that -- is this a Kentucky State
·9· ·Police as the agency on this citation?· At the very top.
10· · · · A· · Yes.
11· · · · Q· · And at the bottom, was this executed by
12· ·Detective Jason York?
13· · · · A· · Yes.
14· · · · Q· · Okay.· Did that help refresh your recollection
15· ·that it was actually Detective York that arrested
16· ·Jonathan Taylor?
17· · · · A· · Yes.
18· · · · Q· · Okay.· And likewise, I'm going to mark this
19· ·next one as Exhibit 25, just to make sure we're clear on
20· ·this.· I know that Mr. Taylor was also arrested on the -
21· ·- for manufacturing meth about a month earlier. I'm
22· ·going to hand you what we'll mark -- sorry, this is
23· ·PL3221.
24· · · · · · ·MR. SLOSAR:· Isn't that part of the group
25· · · · exhibit that I --




                                                                               PL 1062
                                                                                 YVer1f
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·1· · · · Q· · It might be.· I'm not sure if you had
·2· ·introduced it or not.· But let me go on and introduce as
·3· ·Exhibit 25.· Can you take a look at that and tell me if
·4· ·you recognize what this document is?
·5· · · · · · · · · ·(EXHIBIT 25 MARKED FOR IDENTIFICATION)
·6· · · · A· · Yes.
·7· · · · Q· · And tell -- will you tell the jury what that
·8· ·is.
·9· · · · · · ·MR. SLOSAR:· Objection to form.
10· · · · Q· · Go ahead.
11· · · · · · ·MR. SLOSAR:· There's no jury.
12· · · · Q· · Go ahead.
13· · · · A· · It's an arrest warrant on Jonathan Taylor.
14· · · · Q· · And this is for what charge?
15· · · · A· · Manufacturing.
16· · · · Q· · And was this issued by the Knox County
17· ·Sheriff's Department?
18· · · · A· · Yes.
19· · · · Q· · And who was the arresting officer who arrested
20· ·Mr. Taylor on this charge?
21· · · · A· · Derek Eubanks.
22· · · · Q· · Okay.· Thank you.· We'll mark that as Exhibit
23· ·25.· Thank you, Elliot.· So clearly, your discovery
24· ·answer was incorrect, Mike Broughton was not involved in
25· ·the arrest of Jonathan Taylor; is that correct?




                                                                               PL 1063
                                                                                 YVer1f
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·1· · · · · ·(EXHIBIT 25 IS MARKED FOR IDENTIFICATION)
·2· · · · · · ·MR. SLOSAR:· objection to form.
·3· · · · A· · To my knowledge.
·4· · · · Q· · Okay.· Thank you.· Now, go to interrogatory --
·5· ·on that same Exhibit 13, number 4.
·6· · · · A· · Yes.
·7· · · · Q· · You got that number on page 4?
·8· · · · A· · Yes.
·9· · · · Q· · This is the part of the deposition where you
10· ·explained or talked about that Detective -- or
11· ·Defendant, Broughton may have been present during
12· ·questioning of Jonathan Taylor at the Barbourville
13· ·Police Department.
14· · · · A· · Yes.
15· · · · Q· · Okay.· Now, let me go through this with you.
16· ·My understanding was, is that Jonathan Taylor was
17· ·brought to the Barbourville Police Department that day,
18· ·correct?· Whatever date it was for questioning.
19· · · · A· · The best I remember, yes.
20· · · · Q· · Okay.· And I understand that Detective
21· ·Broughton may have been present at the police department
22· ·that day.· Were you actually in the room when questions
23· ·were asked of Mr. Taylor?
24· · · · · · ·MR. SLOSAR:· Objection to form.· Asked and
25· · · · answered.




                                                                               PL 1064
                                                                                 YVer1f
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·1· · · · Q· · Go ahead.· I'm unclear what your testimony was
·2· ·earlier.· Were you actually present when questions were
·3· ·asked?
·4· · · · · · ·MR. SLOSAR:· Objection to form.· Asked and
·5· · · · answered.
·6· · · · Q· · You can answer.
·7· · · · A· · I was present, but I don't know about the
·8· ·whole time.· I could have got up and went out, I don't
·9· ·know.· I did that a lot.
10· · · · Q· · Okay.· Do you know for certain if Detective
11· ·Broughton asked any questions of Mr. Taylor on that day?
12· · · · · · ·MR. SLOSAR:· Objection to form.· Asked and
13· · · · answered.
14· · · · Q· · Go ahead.
15· · · · A· · I don't recall.
16· · · · Q· · And you've been asked today a lot of questions
17· ·about different people that you participated in
18· ·interviews with along with Detective York, you know,
19· ·you've mentioned Allen Helton, Mike Simpson, Jessie
20· ·Lawson, I think Bob Smith, Michael Crump, Kayla Mills.
21· ·When those interviews were conducted, Detective
22· ·Broughton wasn't present on any of those, was he?
23· · · · · · ·MR. SLOSAR:· objection to form.
24· · · · Q· · Go ahead.
25· · · · · · ·MR. SLOSAR:· Misstates his prior testimony.




                                                                               PL 1065
                                                                                 YVer1f
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·1· · · · A· · I wasn't in interviews with all of them.
·2· · · · Q· · Okay.· But Detective Broughton certainly
·3· ·wasn't present, was he?
·4· · · · A· · No.
·5· · · · · · ·MR. SLOSAR:· Objection to form.
·6· · · · Q· · Are you aware of any other interviews of any
·7· ·witnesses, of any witnesses, other than Amanda Hoskins,
·8· ·who I think you recall from a prior deposition, that
·9· ·Detective Broughton was present or participated in.· Are
10· ·you aware of any interviews of any witness, suspect,
11· ·anybody involved in the investigation into the Katherine
12· ·Mills' murder, that Detective Broughton was involved in?
13· · · · A· · Not to my knowledge.
14· · · · Q· · Did you ever have any discussions with
15· ·Detective Broughton about the investigation or about any
16· ·witnesses or anything concerning the investigation into
17· ·the murder of Katherine Mills?
18· · · · A· · Not that I recall.
19· · · · Q· · Do you recall ever sending Detective Broughton
20· ·out or asking him to go interview any witnesses or
21· ·examine any crime scenes or collect any evidence into
22· ·the investigation into the murder of Katherine Mills?
23· · · · A· · No.
24· · · · Q· · Now, I think you testified to this earlier. In
25· ·your mind, in your understanding, this was a Kentucky




                                                                               PL 1066
                                                                                 YVer1f
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·1· ·State Police investigation into the murder of Katherine
·2· ·Mills, correct?
·3· · · · · · ·MR. SLOSAR:· Objection to form.
·4· · · · Q· · And the lead investigator in this was Jason
·5· ·York, correct?
·6· · · · A· · Yes.
·7· · · · · · ·MR. FARAH:· That's all the questions I have.
·8· · · · Thank you, sir.
·9· · · · · · · · · EXAMINATION
10· ·BY MS. KINCER:
11· · · · Q· · Mr. Pickard, I'm Shawna Kincer, and I
12· ·represent the bulk of the KSP defendants that are
13· ·charged today.· My questions are basically the same as
14· ·his, except that, do you know Mark Mefford?
15· · · · A· · Yes.
16· · · · Q· · Do you work with him often?
17· · · · A· · No.
18· · · · Q· · Okay.· Have you worked with him closely on any
19· ·case?
20· · · · A· · One -- one case.
21· · · · Q· · Which case was that?
22· · · · A· · It was a -- where a body was missing --
23· · · · Q· · Okay.
24· · · · A· · -- for like 11 months, I worked with him a
25· ·couple of days on that.




                                                                               PL 1067
                                                                                 YVer1f
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·1· · · · Q· · Just assisting?
·2· · · · A· · We was actually all just searching for a body
·3· ·in a creek, He was there.
·4· · · · Q· · Okay.· Was that before this Katherine Mills
·5· ·murder or after, do you know?
·6· · · · A· · I'm pretty sure it was before.
·7· · · · Q· · In this investigation Of Katherine Mills, did
·8· ·you work at all with Mark Mefford on this case?· Assist,
·9· ·help?
10· · · · A· · Not that I recall.· We was just both there at
11· ·the house.
12· · · · Q· · At Katherine Mills' house?
13· · · · A· · Yes.
14· · · · Q· · On the night of?
15· · · · A· · Yes.
16· · · · Q· · Okay.· Were you present with him during any
17· ·interviews?
18· · · · A· · Not that I recall, no.
19· · · · Q· · Okay.· Let's move on to Brian Johnson.· Do you
20· ·know him?
21· · · · A· · Yes.
22· · · · Q· · Okay.· Have you worked with him before?
23· · · · A· · Very little, if any.· I just don't -- don't
24· ·remember anything working with him.
25· · · · Q· · Okay.· Specifically, anything on this case




                                                                               PL 1068
                                                                                 YVer1f
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·1· ·with Katherine Mills?
·2· · · · A· · No.
·3· · · · Q· · Was he present the night of -- when you went
·4· ·to the crime, the scene of the crime?
·5· · · · A· · Best I recall, he was.
·6· · · · Q· · He was.· Okay.
·7· · · · A· · He was there.
·8· · · · Q· · And Jackie Joseph, do you know her?
·9· · · · A· · Yes.
10· · · · Q· · Okay.· Do you work with her very often?
11· · · · A· · No.
12· · · · Q· · Okay.· Did you work with her on this
13· ·particular case?
14· · · · A· · She was just up there.· I didn't work -- at
15· ·the house.
16· · · · Q· · She was at the house?
17· · · · A· · Yes.
18· · · · Q· · Okay.· And Kelly Farris, you know him?
19· · · · A· · Yes.
20· · · · Q· · Okay.· How often do you work with him?
21· · · · A· · He actually worked for me for a while.
22· · · · Q· · All right.· As a deputy in Knox County?
23· · · · A· · Yes.
24· · · · Q· · After he retired from KSP?
25· · · · A· · Yes.




                                                                               PL 1069
                                                                                 YVer1f
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·1· · · · Q· · Okay.· And was he involved in any way in this
·2· ·case with you?
·3· · · · A· · No.
·4· · · · Q· · Okay.· Was he at the scene?
·5· · · · A· · He was there.· That's all I remember.
·6· · · · Q· · Okay.· And Dallas Eubanks, do you know him?
·7· · · · A· · Yes.
·8· · · · Q· · Okay.· Do you work with him often?
·9· · · · A· · No.
10· · · · Q· · Okay.· Did you work with him in any way,
11· ·shape, form, or fashion in this particular case?
12· · · · A· · He was there at the house.
13· · · · Q· · So the people that I've named, your memory is
14· ·them just being present at the house initially?
15· · · · A· · Yes.
16· · · · Q· · Okay.· Did you have any involvement at all
17· ·with any of them after, that you can remember?
18· · · · A· · There was another case that Johnson was on
19· ·that I was involved with us some, somewhat.
20· · · · Q· · Anderson?
21· · · · A· · Yes.
22· · · · Q· · Okay.
23· · · · A· · Other than that, no.
24· · · · · · ·MS. KINSER:· Okay.· That's all I have.
25· · · · · · · · · EXAMINATION




                                                                               PL 1070
                                                                                 YVer1f
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·1· ·BY MR. WRIGHT:
·2· · · · Q· · Sheriff Pickard, my name is Derek Wright.· I'm
·3· ·the counsel for Defendant, Jason York and Defendant,
·4· ·Jason Bunch.· I'll start with Jason Bunch.· Do you know
·5· ·Trooper Jason Bunch?
·6· · · · A· · Yes.
·7· · · · Q· · Did you work with him at all in the
·8· ·investigation into the murder of Katherine Mills?
·9· · · · A· · Not with him, no.
10· · · · Q· · Okay.
11· · · · A· · That I remember.
12· · · · Q· · You mentioned earlier in your testimony, that
13· ·day, you spoke to Lisa Evans.· Do you recall testifying
14· ·to that?
15· · · · A· · Yes.
16· · · · Q· · When was that?
17· · · · A· · I'm not sure.
18· · · · Q· · Was it before or after the charges against the
19· ·plaintiffs in this case were dismissed; do you know?
20· · · · A· · I think it was in October of '15, but I'm not
21· ·really sure.
22· · · · Q· · Okay.· How did she identify herself to you?
23· · · · A· · To be honest, I don't even remember.
24· · · · Q· · Did she tell you she was an investigator for
25· ·one of the -- for either Ms. Hoskins or Mr. Taylor?




                                                                               PL 1071
                                                                                 YVer1f
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·1· · · · A· · She said that, but I don't remember saying
·2· ·that.
·3· · · · Q· · You don't remember whether she said that or
·4· ·not?
·5· · · · A· · I can't remember her saying that, no.· She
·6· ·could have.· I'm not -- excuse me, but I don't remember.
·7· · · · Q· · Okay.· Did she identify if she worked for any
·8· ·sort of agency?
·9· · · · A· · I -- I remember something like her saying
10· ·about public defender.· That's all I remember.
11· · · · Q· · Was anybody with her?
12· · · · A· · Yeah.
13· · · · Q· · Do you know who that was?
14· · · · A· · I don't know her name.
15· · · · Q· · Did you ask who it was at the time?
16· · · · A· · She told me who she was, but I can't remember.
17· · · · Q· · And to your knowledge, was that conversation
18· ·recorded?
19· · · · A· · It was, I didn't know it at the time.
20· · · · Q· · When did you find out it was recorded?
21· · · · A· · Right before we went to trial.
22· · · · Q· · Right before what went to trial?
23· · · · A· · On the Anderson case.
24· · · · Q· · Was that some of the questioning about the
25· ·Anderson case?




                                                                               PL 1072
                                                                                 YVer1f
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·1· · · · A· · Yes.
·2· · · · Q· · Did she indicate she was an investigator for
·3· ·one of the defendants in that case, criminal defendants,
·4· ·that is?
·5· · · · A· · I don't remember.
·6· · · · · · ·MR. SLOSAR:· There's only one defendant.
·7· · · · · · ·MR. WRIGHT:· Okay.· I'm sorry.
·8· · · · Q· · Your interrogatories, Exhibit number 13,
·9· ·interrogatory number 6 on page 5; do you see that?
10· · · · A· · Yes.
11· · · · Q· · You indicate you have no direct knowledge
12· ·about either plaintiff acting in the killing of Ms.
13· ·Mills; do you see that?
14· · · · A· · Yes.
15· · · · Q· · Are you referring to the personal knowledge?
16· ·What do you mean by direct knowledge?
17· · · · A· · I have no personal knowledge, no.
18· · · · Q· · When you filled out this interrogatory, had
19· ·you read the criminal investigation file that Detective
20· ·York had compiled?
21· · · · A· · I don't think so.
22· · · · Q· · Okay.· There was some testimony about whether
23· ·you went to a children's home, do you recall that
24· ·testimony?
25· · · · A· · Yes.




                                                                               PL 1073
                                                                                 YVer1f
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·1· · · · Q· · And there was reference to receipts, I believe
·2· ·--
·3· · · · A· · Yeah.
·4· · · · Q· · -- do you recall that?· Do you remember what
·5· ·the dates of those receipts were?
·6· · · · A· · No, I don't.
·7· · · · Q· · You mentioned you knew Ms. Hoskins through a
·8· ·prior hit-and-run investigation; is that true?
·9· · · · A· · Yes.
10· · · · Q· · But were you the sheriff at the time?
11· · · · A· · Yes.
12· · · · Q· · Do you recall whether there was any evidence
13· ·that the driver was under the influence when that
14· ·happened, under the influence, being controlled
15· ·substances or alcohol?
16· · · · A· · I'm not really sure.
17· · · · Q· · Okay.· There was testimony regarding Dr. Larry
18· ·Warren.· Do you recall that?
19· · · · A· · Yes.
20· · · · Q· · Do you know of Dr. Larry Warren?
21· · · · A· · I know him.
22· · · · Q· · All right.· You were asked whether you had any
23· ·knowledge of a relationship between him and Ms. Hoskins.
24· ·Do you recall that?
25· · · · A· · Yes.




                                                                               PL 1074
                                                                                 YVer1f
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·1· · · · Q· · Were you present with any interviews of Joe
·2· ·King when he advised that Ms. Hoskins was having an
·3· ·affair with Dr. Warren?
·4· · · · · · ·MR. SLOSAR:· Objection to form.· You can
·5· · · · answer.
·6· · · · A· · No.
·7· · · · Q· · Were you ever in an interview of Joe King with
·8· ·Detective York?
·9· · · · A· · No.
10· · · · Q· · There was testimony earlier, questions asked
11· ·about you being present when Jonathan Taylor was with
12· ·you, Detective Broughton of the Barbourville Police
13· ·Department, and Detective York.· Do you recall that
14· ·testimony?
15· · · · A· · Yes.
16· · · · Q· · Okay.· And am I correct, that you don't recall
17· ·what questions, if any, were asked?
18· · · · A· · No, I don't.
19· · · · Q· · Okay.· If Jonathan Taylor -- do you recall if
20· ·Jonathan Taylor declined to answer any questions?
21· · · · A· · I don't remember.
22· · · · Q· · Okay.· You talked about an encounter with
23· ·Kayla Mills when she was driving recklessly.· Is that --
24· ·do you recall that testimony?
25· · · · A· · Yes.




                                                                               PL 1075
                                                                                 YVer1f
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·1· · · · Q· · Do you remember what -- when that was?
·2· · · · A· · It was after the murder sometime.· I don't
·3· ·know how long.
·4· · · · Q· · Do you remember what car she was driving?
·5· · · · A· · She was driving a little blue, just a small
·6· ·blue car.· I can't remember.
·7· · · · Q· · Can't remember the make and model?
·8· · · · A· · Not really.
·9· · · · Q· · But you recall it being blue?
10· · · · A· · Yeah.
11· · · · Q· · Do you recall any information from Michael
12· ·Crump, that he saw a blue car at the house of Katherine
13· ·Mills on the day she was found dead?
14· · · · · · ·MR. SLOSAR:· Objection to form, foundation.
15· · · · A· · I've heard that statement before.
16· · · · Q· · Do you know whether Kayla Mills was driving
17· ·that same blue car in the December 2010 time period?
18· · · · · · ·MR. SLOSAR:· Objection to form.· Calls for
19· · · · speculation.
20· · · · A· · I don't know.
21· · · · Q· · Don't know?
22· · · · A· · No.
23· · · · Q· · There was testimony about Kayla Mills'
24· ·grandmother.· Do you recall that?
25· · · · A· · Yes.




                                                                               PL 1076
                                                                                 YVer1f
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·1· · · · Q· · I don't believe there was ever a name
·2· ·mentioned.· Who is her grandmother?· And I know she
·3· ·would have more than one, but --
·4· · · · A· · She was a Bingham.· I'm trying to think of her
·5· ·first name.· Sylvia.
·6· · · · Q· · And was that who you were referring to in your
·7· ·testimony, Sylvia Bingham?
·8· · · · A· · Yeah.· That's her grandma.· The only grandma I
·9· ·know.
10· · · · Q· · Okay.· That's what I was getting at.· Could
11· ·you look at Exhibit number 19?
12· · · · A· · It's here somewhere.· Yeah.· There it is.
13· ·Thank you.
14· · · · Q· · Exhibit number 19, to your understanding, is
15· ·that the sketch based on the information provided by
16· ·Michael Crump?
17· · · · A· · To my understanding, yeah.
18· · · · Q· · And I believe you testified that you saw some
19· ·similarity between him and Michael Simpson.· Is that how
20· ·you testified earlier?
21· · · · A· · Some, yes.
22· · · · Q· · Would you also agree that there's some
23· ·similarity between him and Jonathan Taylor?
24· · · · A· · Yes.
25· · · · · · ·MR. SLOSAR:· Objection to form.




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·1· · · · Q· · Could you turn to Exhibit number 15.
·2· · · · A· · What is that?
·3· · · · Q· · That's the report.
·4· · · · A· · Allen Helton report?
·5· · · · Q· · Allen Helton report.· He's got it.· Before I
·6· ·ask that, let me clarify my last question.· Do you find
·7· ·any similarity between the sketch on Exhibit 19 and
·8· ·Jonathan Taylor?
·9· · · · · · ·MR. SLOSAR:· Objection to form, foundation.
10· · · · Thank you.
11· · · · Q· · The sketch, going back to -- I'm sorry, I
12· ·wanted to go back to that one question.
13· · · · A· · They -- they both could --
14· · · · Q· · Fit the --
15· · · · A· · -- resemble that to a point.
16· · · · Q· · Okay.· Now, going to Exhibit number 15, at the
17· ·end of that, does it say that the report is a summary of
18· ·Allen Helton's statement that -- on the back page?
19· · · · · · ·MR. SLOSAR:· It's the last line of the last
20· · · · paragraph.
21· · · · A· · Yes.
22· · · · Q· · And isn't it true that it also says that
23· ·there's a CD for the entire statement?
24· · · · A· · Yes.
25· · · · Q· · Okay.· So if somebody wanted to confirm what




                                                                               PL 1078
                                                                                 YVer1f
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·1· ·was in this report, there was a CD of it, correct?
·2· · · · · · ·MR. SLOSAR:· Objection to form.· Calls for
·3· · · · speculation.
·4· · · · A· · I'm sure, yeah.· Detective York would have
·5· ·that.
·6· · · · Q· · And you were in on that interview -- you were
·7· ·present for the interview, correct?
·8· · · · A· · Yes.
·9· · · · Q· · And to your memory, was it recorded?
10· · · · A· · Yes.
11· · · · Q· · So the reference in this report to, "A CD of
12· ·entire statement," is that consistent with your memory
13· ·that the interview was recorded?
14· · · · A· · Yes.
15· · · · · · ·MR. SLOSAR:· Objection to form.
16· · · · Q· · Now, Exhibit number 17 on page 2, marked line
17· ·25.· It has Detective York referencing, "Earlier, you
18· ·stated to me."· Do you see that?
19· · · · A· · Yes.
20· · · · Q· · Was there statements by Allen Helton to
21· ·Detective York prior to the recording?
22· · · · · · ·MR. SLOSAR:· Objection to form.· Asked and
23· · · · answered.
24· · · · A· · Not that I recall.
25· · · · Q· · You don't remember any discussion between




                                                                               PL 1079
                                                                                 YVer1f
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·1· ·Detective York and Allen Helton before the recording was
·2· ·turned on?
·3· · · · · · ·MR. SLOSAR:· Objection to form.· Asked and
·4· · · · answered.
·5· · · · A· · They talked just a little bit before he
·6· ·actually started recording, but I don't remember.
·7· · · · Q· · The details.
·8· · · · A· · I don't remember the details or how much of it
·9· ·there was.
10· · · · Q· · So that question where he makes that reference
11· ·he says, "You were pumping gas at Escoe's Market."· Do
12· ·you see that?
13· · · · A· · What number you on?
14· · · · Q· · Line 26 of page 2.
15· · · · A· · Yes, I see it now.
16· · · · Q· · So you don't have a memory if that was
17· ·something Allen Helton told Detective York before the
18· ·recorder came on?
19· · · · · · ·MR. SLOSAR:· Objection.
20· · · · A· · No.
21· · · · · · ·MR. SLOSAR:· Objection to form.· Asked and
22· · · · answered.
23· · · · Q· · It may have been asked.· You just -- it may
24· ·have been something spoken, you just don't remember it?
25· · · · · · ·MR. SLOSAR:· Objection to form.· It misstates




                                                                               PL 1080
                                                                                 YVer1f
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·1· · · · his testimony.· He just answered that question.
·2· · · · Q· · You can go ahead.
·3· · · · · · ·MR. SLOSAR:· He just answered it earlier.
·4· · · · A· · I don't recall it, but --
·5· · · · Q· · Okay.· On that same page, do you see in line
·6· ·30 and 31 -- on line 30 where Detective York's -- York
·7· ·asks what the conversation that says curtailed -- I
·8· ·think it was meant to be entailed -- do you see that on
·9· ·line 30?
10· · · · A· · Yes.
11· · · · Q· · And what does Helton answer?
12· · · · A· · "She asked me did I want to make money and --
13· ·I -- and told me how."
14· · · · Q· · And then what did Detective York do?
15· · · · A· · He said, "And how was what [sic]."
16· · · · Q· · How was that?
17· · · · A· · Yeah.
18· · · · Q· · And then isn't it true that according to the
19· ·transcript, Allen Helton says, "By tying this old lady
20· ·up," is that what the next line says?
21· · · · A· · Yes.
22· · · · Q· · And isn't it true that Detective York did not
23· ·provide that information to Allen Helton beforehand?
24· · · · · · ·MR. SLOSAR:· Objection to form.
25· · · · A· · Not that I'm aware of.




                                                                               PL 1081
                                                                                 YVer1f
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·1· · · · · · ·MR. WRIGHT:· Let's go off the record for just
·2· · · · one second.· I'm almost done.
·3· · · · · · ·VIDEOGRAPHER:· Off the record.
·4· · · · · · · · · ·(OFF THE RECORD)
·5· · · · · · ·VIDEOGRAPHER:· Back on the record.
·6· ·BY MR. WRIGHT:
·7· · · · Q· · Yeah.· I have a few more questions.· We're
·8· ·back on the record.· Looking -- continuing to look at
·9· ·this Exhibit number 17.· Do you see on -- if you turn to
10· ·page 4, line 65.· Detective York, the transcript,
11· ·reflects him saying, "She said, do you want to make some
12· ·money."· Do you see that?
13· · · · A· · Yes.
14· · · · Q· · If you flip back to page 2 of the transcript
15· ·on line 31, isn't it true that Helton is saying that she
16· ·said, "I want to make some money," do you see that?
17· · · · A· · Yes.
18· · · · · · ·MR. SLOSAR:· Objection to form.
19· · · · Q· · So by the time that Detective York makes that
20· ·statement on page 4, that information had already been
21· ·provided to him by Allen Helton, hadn't it?
22· · · · · · ·MR. SLOSAR:· Objection to form.
23· · · · A· · Yes.
24· · · · · · ·MR. SLOSAR:· Calls for speculation.
25· · · · Q· · According to the transcript?




                                                                               PL 1082
                                                                                 YVer1f
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·1· · · · A· · Yes.
·2· · · · Q· · On page 4, line 73, Detective York says,
·3· ·"Because earlier you said, 'tie her up.'"· You see that?
·4· · · · A· · Yes.
·5· · · · Q· · If you flip back to page 2, line 33, the
·6· ·transcript reflects Allen Helton explaining, By going in
·7· ·and tying this old lady up, do you see that on line 33?
·8· · · · A· · Yes.
·9· · · · Q· · So by the time that Detective York said that
10· ·on page 4, isn't it true that Allen Helton had already
11· ·provided that information to him, correct?
12· · · · · · ·MR. SLOSAR:· Objection to form.
13· · · · A· · Yes.
14· · · · Q· · If you go to page 8 of the transcript, line
15· ·45, Detective York asks Mr. Helton if it was a big wad
16· ·of money.· Do you see that?
17· · · · A· · Yes.
18· · · · Q· · Line 47 he asks, "Was it flat or folded over?"
19· ·Do you see that?
20· · · · A· · Yes
21· · · · Q· · Prior to those questionings -- questions on
22· ·the same page, isn't it true that Allen Helton said,
23· ·"She had money on her."· Do you see that on line 42?
24· · · · A· · Yes.
25· · · · Q· · And Detective York then asks, How much, on




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                                                                                 YVer1f
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·1· ·line 43.· Do you see that?
·2· · · · A· · Yes.
·3· · · · Q· · Allen Helton describes four-, three-, 35-,
·4· ·four grand.· Do you see that on line 44?
·5· · · · A· · Yes.
·6· · · · Q· · So before he asked if he saw a big wad of
·7· ·money or if it was flat or folded over, isn't it true
·8· ·that Allen Helton had already told Detective York that
·9· ·he had seen 35- to four grand, correct?
10· · · · · · ·MR. SLOSAR:· Objection to form.
11· · · · A· · Yes.
12· · · · Q· · And were you present for any other interviews
13· ·between Detective York and Allen Helton?
14· · · · A· · No.
15· · · · Q· · When you testified earlier that Detective York
16· ·was leaving the interview, were you meaning he was
17· ·leaving the interview as between you and him?
18· · · · A· · Yes.
19· · · · Q· · That he was the one asking the questions?
20· · · · A· · Yes.
21· · · · · · ·MR. WRIGHT:· Okay.· That's all I have.
22· · · · · · · · · EXAMINATION
23· ·BY MR. WILLIAMS.
24· · · · Q· · Mr. Pickard, I just have a few questions I
25· ·want to talk with you about.· It's been a long




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·1· ·deposition and I don't want to keep you any longer than
·2· ·need be, but you were asked some questions about your
·3· ·training and deputy sheriff's training.· To your
·4· ·knowledge, are the qualifications for a sheriff in
·5· ·Kentucky found within the Constitution of Kentucky?
·6· · · · A· · Yes.
·7· · · · Q· · And it sets out the qualifications for a
·8· ·sheriff?
·9· · · · A· · Yes.
10· · · · Q· · As it relates to deputy sheriffs, are you
11· ·familiar with Kentucky having laws which require that
12· ·sheriff's deputies undergo training?
13· · · · A· · Each year, yes.
14· · · · Q· · And is that training conducted at the
15· ·Department of Criminal Justice Training in Richmond,
16· ·Kentucky?
17· · · · A· · Yes.
18· · · · Q· · And deputy sheriffs, after they've worked over
19· ·a certain period of time, have to go through that
20· ·training and complete it, correct?
21· · · · A· · Yes.
22· · · · Q· · And become certified?
23· · · · A· · Yes.
24· · · · Q· · And in fact, even before they are sent to
25· ·Richmond for training, they have to undergo a background




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                                                                                 YVer1f
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·1· ·check and what's called POP certification --
·2· · · · A· · Yes.
·3· · · · Q· · -- is that fair?
·4· · · · A· · Yes.
·5· · · · Q· · Now, to your knowledge, does the State of
·6· ·Kentucky or the Commonwealth of Kentucky, also require
·7· ·that deputy sheriffs undergo yearly freshening or
·8· ·continuing education?
·9· · · · A· · Yes.
10· · · · Q· · And while you were sheriff, did your deputies
11· ·complete that training as required by the Commonwealth?
12· · · · A· · Yes.
13· · · · Q· · In fact, one of the questions you were asked
14· ·relating to your own training had an attachment of the
15· ·record of training of Derek Eubanks, would you agree
16· ·with that?
17· · · · A· · Yes.
18· · · · Q· · In one of the recordings that you were asked
19· ·to comment about or statement that you made, and I'm
20· ·just going to paraphrase because I can't remember the
21· ·exact statement, but you reference someone hanging if
22· ·they're guilty, or if they're found to be guilty.· Did
23· ·you literally mean hang from the gallows?
24· · · · A· · No.
25· · · · Q· · Were you referring to if they're guilty, they




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·1· ·need to face justice?
·2· · · · A· · Yes.
·3· · · · Q· · Mr. Pickard, you were asked some questions
·4· ·about your encounter with Allen Helton at your office, I
·5· ·think, on March 8th --
·6· · · · A· · Yes.
·7· · · · Q· · -- of 2012.· And you've been asked some
·8· ·questions about this, but as I understood your
·9· ·testimony, after -- after Mr. York arrived at the
10· ·sheriff's department, there was a period of time that he
11· ·spoke with Mr. Helton before the recording began.· Is
12· ·that fair?
13· · · · · · ·MR. SLOSAR:· Objection to form.
14· · · · A· · He talked to him.· I don't remember how long,
15· ·but he did talk to him.
16· · · · Q· · As we sit here today, do you remember for how
17· ·long and what was said in that conversation?
18· · · · A· · No.
19· · · · · · ·MR. SLOSAR:· Objection to form.
20· · · · A· · I don't remember.
21· · · · Q· · Do you know whether Detective York would have
22· ·spoke with Allen Helton before March 8th of 2012?
23· · · · A· · Not that I know of.
24· · · · Q· · Okay.· You don't know whether he did or
25· ·didn't?




                                                                               PL 1087
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·1· · · · A· · No, I don't.
·2· · · · Q· · And you were asked by counsel -- and again,
·3· ·I'm paraphrasing questions best as I can recall -- as it
·4· ·relates to the interview of Detective York by -- I'm
·5· ·sorry, the interview of Mr. Helton by Detective York,
·6· ·why you didn't stop it, or you didn't stop it.· Did you
·7· ·see any reason to stop Detective York's interview of Mr.
·8· ·Helton?
·9· · · · A· · No.
10· · · · · · ·MR. WILLIAMS:· Thank you.
11· · · · · · · · · REDIRECT EXAMINATION
12· ·BY MR. SLOSAR:
13· · · · Q· · Mr. Pickard, just a couple questions.· During
14· ·the time of the Katherine Mills' homicide, December of
15· ·2010 through your retirement in 2015, did the Knox
16· ·County Sheriff's Department monitor outside training for
17· ·their employees?
18· · · · A· · From what date now?· From the time I retired?
19· · · · Q· · 2010 to the time you retired.
20· · · · A· · I have no idea what they did.
21· · · · Q· · Okay.· So you didn't take any actions as
22· ·sheriff to monitor any outside training that your
23· ·employees were receiving, correct?
24· · · · A· · No.
25· · · · Q· · And would that be the same prior, between 2003




                                                                               PL 1088
                                                                                 YVer1f
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·1· ·and 2010 as well, that you weren't doing any monitoring
·2· ·of outside training that your deputies or employees were
·3· ·receiving?
·4· · · · A· · Derek Eubanks took care of that.
·5· · · · Q· · Okay.
·6· · · · A· · I didn't, he did.
·7· · · · Q· · Did -- were you aware of any evaluations done
·8· ·at the Knox County Sheriff's Department as to outside
·9· ·training that employees received?
10· · · · A· · No.
11· · · · Q· · Okay.· Mr. Pickard, I know it's been a long
12· ·day.· You participated in an interview of Allen Helton
13· ·on March 8, 2012, right?
14· · · · A· · Yes.
15· · · · Q· · Testified about that a lot today, right?
16· · · · A· · Yes.
17· · · · Q· · Now, Allen Helton had been arrested a number
18· ·of times before March 8, 2012, right?
19· · · · A· · Yes.
20· · · · · · ·MR. WRIGHT:· Object to form, foundation.
21· · · · Q· · You had experiences with Allen Helton being
22· ·arrested prior to that date, right?
23· · · · A· · Yes.
24· · · · Q· · You knew that he was a thief, right?
25· · · · A· · Yes.




                                                                               PL 1089
                                                                                 YVer1f
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·1· · · · Q· · You knew that he wasn't a very credible
·2· ·person, right?
·3· · · · · · ·MR. WRIGHT:· Object to form, foundation.
·4· · · · A· · Yes.
·5· · · · Q· · Do you know that prior to March 8, 2012, did
·6· ·you know that Allen Helton was addicted to pills?
·7· · · · · · ·MR. WRIGHT:· Object to form, foundation.
·8· · · · A· · Yes.
·9· · · · Q· · Prior to March 8, 2012, did you know that
10· ·Allen Helton was dealing pills in the Knox County area?
11· · · · · · ·MR. WRIGHT:· Object to form, foundation.
12· · · · A· · I don't know that he was dealing.
13· · · · Q· · Well, by the time you took his statement on
14· ·March 8, 2012, you knew that Allen Helton and Mike
15· ·Simpson were going on runs to Florida to go buy massive
16· ·amounts of pills, right?
17· · · · A· · Yes.
18· · · · Q· · Okay.
19· · · · · · ·MR. WILLIAMS:· Object to the form.
20· · · · · · ·MR. WRIGHT:· I agree, yeah.· I join that.
21· · · · Q· · At the time that Detective York took Mr.
22· ·Helton's statement on March 8, 2012, did you believe
23· ·that Allen Helton was a very credible person?
24· · · · · · ·MR. WRIGHT:· Object to form, foundation.
25· · · · A· · No.




                                                                               PL 1090
                                                                                 YVer1f
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·1· · · · Q· · Did you believe what came out of his mouth
·2· ·that day?
·3· · · · · · ·MR. WRIGHT:· Object to form, foundation.
·4· · · · A· · I'm not sure.
·5· · · · Q· · Did you do any investigation after March 8,
·6· ·2012, to see whether anything that Allen Helton told
·7· ·Detective York was actually true?
·8· · · · A· · No, I didn't.
·9· · · · Q· · Did -- to your knowledge, did Detective York
10· ·do any investigation into the statements that Allen
11· ·Helton provided, to determine whether they were true or
12· ·not?
13· · · · A· · I'm not aware of anything.
14· · · · Q· · Sitting here today, are you aware of any
15· ·evidence that implicates Amanda Hoskins and Jonathan
16· ·Taylor in the murder of Katherine Mills?
17· · · · · · ·MR. WRIGHT:· Object to form.
18· · · · A· · No.
19· · · · · · ·MR. SLOSAR:· I don't have anything further.
20· · · · Thank you, Mr. Pickard.
21· · · · · · ·THE WITNESS:· Thank you.
22· · · · · · ·VIDEOGRAPHER:· Off the record.
23· · · · · · · · · ·(DEPOSITION CONCLUDED AT 4:43 P.M.)
24
25




                                                                                PL 1091
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·1· · · · · · · · · ·CERTIFICATE OF REPORTER
·2· · · · · · · ·COMMONWEALTH OF KENTUCKY AT LARGE
·3
·4· ·I do hereby certify that the witness in the foregoing
·5· ·transcript was taken on the date, and at the time and
·6· ·place set out on the Title page here of by me after
·7· ·first being duly sworn to testify the truth, the whole
·8· ·truth, and nothing but the truth; and that the said
·9· ·matter was recorded stenographically and mechanically by
10· ·me and then reduced to typwritten form under my
11· ·direction, and constitutes a true record of the
12· ·transcript as taken, all to the best of my skill and
13· ·ability.· I certify that I am not a relative or employee
14· ·of either counsel, and that I am in no way interested
15· ·financially, directly or indirectly, in this action.
16
17
18
19
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21
22· ·JESSICA VAN-TILBURG,
23· ·COURT REPORTER/NOTARY
24· ·COMMISSION EXPIRES:· 06/28/2020
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